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            Exhibit 1A
                                                     Case 1:17-md-02800-TWT Document 87-1 Filed 01/10/18 Page 2 of 114



                                                                              Plaintiffs' Counsel Table
                                                                                     CONSUMER CASES
                                                                In re: Equifax, Inc., Customer Data Security Breach Litigation
                                                                                 Case No. 1:17-md-2800-TWT
                                                                                         MDL No. 2800
        Case Name                   Case Number          Original            Local Counsel           Plaintiffs' Counsel & Contact Information   Email Addresses         Consumer,        Transfer
                                                          Court                                                                                                          Financial or      Status
                                                                                                                                                                        Small Business

      Abraham v. Equifax             1:17-cv-03453    Northern District of Evangelista Worley, LLC                  James M. Evangelista          jme@ewlawllc.com         Consumer           Yes
                                                           Georgia                                                    David J. Worley             david@ewlawll.com
                                                                                                                  Kristi Stahnke McGregor         kristi@ewlawll.com
                                                                                                              EVANGELISTA WORLEY, LLC
                                                                                                               8100 A Roswell Road, Suite 100    wbf@federmanlaw.com
                                                                                                                     Atlanta, GA 30350           clm@federmanlaw.com
                                                                                                                        404-205-8400             jdw@federmanlaw.com

                                                                                                                     William Federman
                                                                                                                     Carin L. Marcussen
                                                                                                                      Joshua D. Wells
                                                                                                                FEDERMAN & SHERWOOD
                                                                                                              10205 North Pennsylvania Avenue
                                                                                                               Oklahoma City, Oklahoma 73120
                                                                                                                       405-235-1560

 Abramowitz et al. v. Equifax        7:17-cv-07642    Southern District of                                           Paul C. Whalen              paul@paulwhalen.com       Consumer      Yes by CTO - 1
           Inc.                                           New York                                        LAW OFFICES OF PAUL C. WHALEN, P.C.
                                                                                                                   768 Plandome Road
                                                                                                                  Manhasset, NY 11030
                                                                                                                      516-627-5610


     Ahmed v. Equifax Inc.           2:17-cv-06576    Eastern District of                                          Edward B. Geller                 epbh@aol.com           Consumer      Yes by CTO - 1
                                                          New York                                            EDWARD B. GELLER, ESQ., P.C.
                                                                                                                   15 Landing Way
                                                                                                                   Bronx, NY 10464
                                                                                                                    914-473-6783


Alexander et al. v. Equifax, Inc.    4:17-cv-00788    Western District of                                                Jason Barnes            jaybarnes5@zoho.com       Consumer      Yes by CTO - 1
                                                          Missouri                                               BARNES & ASSOCIATES             rod.chapel@gmail.com
                                                                                                                219 E. Dunklin Street, Suite A
                                                                                                                  Jefferson City, MO 65101
                                                                                                                        573-634-8884

                                                                                                                   Nimrod T. Chapel, Jr.
                                                                                                              THE CHAPEL LAW GROUP LLC
                                                                                                                 219 E. Duklin St., Suite A
                                                                                                                 Jefferson City, MO 65101
                                                                                                                       573-634-8884




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                                                                         Plaintiffs' Counsel Table
                                                                                CONSUMER CASES
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     Case Name                 Case Number          Original            Local Counsel     Plaintiffs' Counsel & Contact Information           Email Addresses              Consumer,       Transfer
                                                     Court                                                                                                                 Financial or     Status
                                                                                                                                                                          Small Business

Alexander v. Equifax, Inc.      5:17-cv-05230    Northern District of                                      Nicholas A. Carlin                    nac@phillaw.com             Consumer
                                                 California (San Jose                         PHILLIPS ERLEWINE GIVEN & CARLIN LLP
                                                      Division)                                        39 Mesa Street, Suite 201
                                                                                                              The Presidio
                                                                                                        San Francisco, CA 94129
                                                                                                             415-398-0900
Allen et al v. Equifax, Inc.    1:17-cv-04544    Northern District of BARNES LAW GROUP,                      Roy E. Barnes                    roy@barneslawgroup.com         Consumer
                                                      Georgia                LLC                             John R. Bevis                   bevis@barmeslawgroup.com
                                                                                                          J. Cameron Tribble                ctribble@barneslawgroup.com
                                                                                                        Barnes Law Group, LLC
                                                                                                           31 Atlanta Street                   kcanfield@dsckd.com
                                                                                                          Marietta, GA 30060
                                                                                                             770-227-6375                     siegel@stuevesiegel.com
                                                                                                                                              vahle@stuevesiegel.com
                                                                                                           Kenneth S. Canfield                moore@stuevesiegel.com
                                                                                               Doffermyre Shields Canfield & Knowles, LLC
                                                                                                  1355 Peachtree Street, N.E., Suite 1900    jpizzirusso@hausfeld.com
                                                                                                           Atlanta, GA 30309
                                                                                                              404-881-8900

                                                                                                            Norman E. Siegel
                                                                                                             Barrett J. Vahle
                                                                                                             J. Austin Moore
                                                                                                     Stueve Siegel Hanson, LLP -MO
                                                                                                       460 Nichols Road, Suite 200
                                                                                                         Kansas City, MO 64112
                                                                                                              816-714-7100

                                                                                                           James J. Pizzirusso
                                                                                                          Hausfeld, LLP - DC
                                                                                                      1700 K. Street, NW, Suite 650
                                                                                                         Washington, DC 20006
                                                                                                             202-540-7200




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                           Court                                                                                                             Financial or     Status
                                                                                                                                            Small Business

                                                                       Archie I. Grubb, II                archie.grubb@beasleyallenn.com       Consumer
                                                                   W. Daniel "Dee" Miles, III                dee.miles@beasleyallen.com
                                                                       Andrew E. Brashier                andrew.brashier@beasleyallen.com
                                                                          Leslie Pescia                    leslie.pescia@beasleyallen.com
                                                           Beasley Allen Crow Mathvin Portis & Miles
                                                                         P.O. Box 4160                     afriedman@cohenmilstein.com
                                                                      218 Commerce Street                 dmcnamara@cohenmilstein.com
                                                                    Montgomery, AL 36103                  shandmaker@cohenmilstein.com
                                                                         334-269-2343                     eberelovich@cohenmilstein.com

                                                                    Andrew N. Friedman                         alevitt@dlcfirm.com
                                                                    Douglas J. McNamara                       madicello@dlcfirm.com
                                                                       Sally Hanmaker                          akeller@dlcfirm.com
                                                                     Eric S. Berelovich                         dferri@dlcfirm.com
                                                             Cohen, Milstein, Sellers & Toll PLLC
                                                            1100 New York Avenue, N.W., Suite 500
                                                                   Washington, DC 20005
                                                                        202-408-4600

                                                                         Adam J. Levitt
                                                                        Mark A. DiCello
                                                                         Amy E. Keller
                                                                        Daniel R. Ferri
                                                                  DiCello Levitt & Casey LLC
                                                              Ten North Dearborn Street, 11th Floor
                                                                       Chicago, IL 60602
                                                                         312-214-7900
                                                                     John A. Yanchunis                     jyanchunis@forthepeople.com         Consumer
                                                                    Marisa K. Glassman                     mglassman@forthepeople.com
                                                          Morgan & Morgan Complex Litigation Group
                                                               201 N. Franklin Street, 7th Floor           pcipollone@steinmitchell.com
                                                                      Tampa, FL 33602                       rgilmore@steinmitchell.com
                                                                        813-223-5505

                                                                         Pat A. Cipollone
                                                                        Robert B. Gilmore
                                                          Stein Mitchell Cipollone Beato & Missner LLP
                                                                  1100 Connecticut Ave., N.W.
                                                                     Washington, DC 20036
                                                                          202-737-7777




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                                                         Court                                                                                                                 Financial or      Status
                                                                                                                                                                              Small Business

   Amadick et al. v Equifax         0:17-cv-04196   District of Minnesota                                    Thomas J. Lyons                   tlyons@lyonslawfirm.com           Consumer
  Information Services, LLC                         (Minnesota Division)                                   Thomas J. Lyons, Jr.            tommy@consumerjusticecenter.com
                                                                                                       LYONS LAW FIRM, P.A.
                                                                                                          367 Commerce Court
                                                                                                       Vadnais Heights, MN 55127
                                                                                                              651-294-3960
    Amuial v. Equifax, Inc.         1:17-cv-23405    Southern District of                                Scott Adam Edelsberg                  edelsberg@kolawyers.com           Consumer      Yes by CTO - 1
                                                          Florida                                          Robert Cecil Gilbert                   robert@gilbertpa.com
                                                                                                          Avi Robert Kaufman                   akaufman@kolawyers.com
                                                                                                          Jeffrey Miles Ostrow                  ostrow@kolawyers.com
                                                                                                        Jonathan Marc Streisfeld               streisfeld@kolawyers.com
                                                                                             KOPELOWITZ OSTROW FERGUSON WEISELBERG
                                                                                                                GILBERT
                                                                                                  One West Las Olas Boulevard, Suite 500
                                                                                                        Ft. Lauderdale, FL 33301
Anderson et al v. Equifax Inc et    2:17-cv-02825     District of South                                    Kevin Hunter Sharp                  ksharp@sanfordheisler.com         Consumer      Yes by CTO - 1
              al                                          Carolina                                  SANFORD HEISLER SHARP LLP               reecewilliams@callisontighe.com
                                                                                                     611 Commerce Street, Suite 3100
                                                                                                          Nashville, TN 37203
                                                                                                             615-434-7001

                                                                                                        David Reece Williams, III
                                                                                                 CALLISON TIGHE AND ROBINSON, LLC
                                                                                                             PO Box 1390
                                                                                                       Columbia, SC 29202-1390
                                                                                                             803-256-2371

   Anderson v. Equifax, Inc.        2:17-cv-00156    Eastern District of                                      Alex C. Davis                      alex@jonesward.com              Consumer      Yes by CTO - 1
                                                         Kentucky                                           Jasper D. Ward IV                   jasper@jonesward.com
                                                    (Covington Division)                                        The Pointe
                                                                                                     1205 E. Washington St., Suite 111
                                                                                                        Louisville, Kentucky 40206
                                                                                                              502-882-6000
                                                                                                                                              steppler@abbottlawpa.com
                                                                                                             Steven Teppler
                                                                                                         Abbott Law Group, P.A.
                                                                                                        2929 Plummer Cove Road
                                                                                                         Jacksonville, FL 32223
                                                                                                             904-292-1111




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                                                           Court                                                                                                               Financial or      Status
                                                                                                                                                                              Small Business

  Appel et al v. Equifax Inc.         0:17-cv-04488   District of Minnesota                                   Joseph C. Bourne                  jbourne@gustafsongluek.com       Consumer      Yes by CTO - 1
                                                                                                            Kaitlyn Leeann Dennis               kdennis@gustafsongluek.com
                                                                                                             Daniel E. Gustafson              dgustafson@gustafsongluek.com
                                                                                                              Daniel C. Hedlund                dhedlund@gustafsongluek.com
                                                                                                                Eric S. Taubel                  etaubel@gustafsongluek.com
                                                                                                         GUSTAFSON GLUEK PLLC
                                                                                                        120 South 6th Street, Suite 2600
                                                                                                           Minneapolis, MN 55402
                                                                                                                612-333-8844


Astor et al. v. Equifax Inc. et al    6:17-cv-01653    Middle District of                                    Denise B. Crockett               dcrockett@stackfernandez.com       Consumer      Yes by CTO - 1
                                                           Florida                                              Brian J. Stack
                                                                                                     STACK, FERNANDEZ & HARRIS, PA
                                                                                                       1001 Brickell Bay Dr., Suite 2650
                                                                                                            Miami, FL 33131-3255
                                                                                                                305-371-0001                   bstack@stackfernandez.com
                                                                                                                                               jheisler@sanfordheisler.com
                                                                                                               Jeremy Heisler                  amelzer@sanfordheisler.com
                                                                                                               Andrew Melzer                    ksharp@sanfordheisler.com
                                                                                                      SANFORD HEISLER SHARP, LLP
                                                                                                    1350 Avenue of the Americas, Suite 3100
                                                                                                          New York, NY 10019-1004
                                                                                                                646-402-5650

                                                                                                                Kevin Sharp
                                                                                                      SANFORD HEISLER SHARP, LLP
                                                                                                       611 Commerce Street, Suite 3100
                                                                                                          Nashville, TN 37203-7117
                                                                                                               615-434-7001
Atiles et al. v. Equifax, Inc. et     7:17-cv-07493    Southern District of                                 Wesley Martin Mullen                 wmullen@mullenpc.com            Consumer      Yes by CTO - 1
                al.                                        New York                                            MULLEN P.C.
                                                                                                         200 Park Avenue, Suite 1700
                                                                                                            New York, NY 00000
                                                                                                                646-632-3718




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                                                     Court                                                                                                                       Financial or      Status
                                                                                                                                                                                Small Business

Austin v. Equifax, Inc. and    2:17-cv-04045     Eastern District of                                              Jerry Desiderato              JDeSiderato@dilworthlaw.com        Consumer
Equifax Credit Information                         Pennsylvania                                                  Joshua D. Wolson                 jwolson@dilworthlaw.com
      Services, Inc.                               (Philadelphia                                            DILWORTH PAXSON LLP
                                                     Division)                                             1500 Market Street Suite 3500E
                                                                                                              Philadelphia, PA 19102
                                                                                                                   215-575-7000

   Avise v. Equifax Inc.       8:17-cv-01563     Central District of                                           Daniel S. Robinson               drobinson@robinsonfirm.com         Consumer
                                                California (Southern                                      ROBINSON CALCAGNIE INC.
                                                  Division - Santa                                          19 Corporate Plaza Drive
                                                        Ana)                                                Newport Beach, CA 92660
                                                                                                                 888-701-1288

  Ayala et al. v. Equifax      4:17-cv-00462    District of Arizona    Rusing Lopez & Lizardi                 J. William Brammer, Jr.               wbrammer@rllaz.com             Consumer      Yes by CTO - 1
   Incorporated et al.                                                         PLLC                             Michael John Rusing                  mrusing@rllaz.com
                                                                                                         RUSING LOPEZ & LIZARDI PLLC            echapin2@sanfordheisler.com
                                                                                                            6363 N. Swan Rd., Suite 151         dfuschetti@sanfordheisler.com
                                                                                                                 Tucson, AZ 85718                ksharp@sanfordheisler.com
                                                                                                                   520-792-4800

                                                                                                              Edward Dewey Chapin
                                                                                                  SANFORD HEISLER SHARP LLP - SAN DIEGO, CA
                                                                                                           655 W Broadway, Suite 1700
                                                                                                              San Diego, CA 92101
                                                                                                                 619-577-4253

                                                                                                             Danielle Anne Fuschetti
                                                                                                SANFORD HEISLER SHARP LLP - SAN FRANCISCO, CA
                                                                                                             111 Sutter St., Suite 975
                                                                                                            San Francisco, CA 94104
                                                                                                                  415-795-2022

                                                                                                                  Kevin Sharp
                                                                                                  SANFORD HEISLER SHARP LLP - NASHVILLE, TN
                                                                                                          611 Commerce St., Suite 3100
                                                                                                              Nashville, TN 37203
                                                                                                                 615 434 7001




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                                                     Court                                                                                                              Financial or      Status
                                                                                                                                                                       Small Business

Bahnmaier v. Equifax Inc.       4:17-cv-00512    Northern District of                                        Joshua D. Wells               jdw@federmanlaw.com            Consumer
                                                  Oklahoma (Tulsa                                          William B. Federman             wbf@federmanlaw.com
                                                      Division)                                        FEDERMAN & SHERWOOD
                                                                                                        10205 N. Pennsylvania Ave.
                                                                                                         Oklahoma City, OK 73120
                                                                                                              405-235-1560


Bailey v. Equifax Inc. et al    3:17-cv-04211    Southern District of   The Segal Law Firm                Charles Edward Amos, II        edward.amos@segal-law.com        Consumer      Yes by CTO - 1
                                                   West Virginia                                               Jason P. Foster            jason.foster@segal-law.com
                                                                                                                Scott S. Segal             scott.segal@segal-law.com
                                                                                                          THE SEGAL LAW FIRM              ksharp@sanfordheisler.com
                                                                                                        810 Kanawha Boulevard, East
                                                                                                           Charleston, WV 25301
                                                                                                               304-344-9100

                                                                                                               Kevin Sharp
                                                                                                       SANFORD HEISLER SHARP
                                                                                                       611 Commerce St., Suite 3100
                                                                                                           Nashville, TN 37203
                                                                                                              615-434-7001

  Baker v. Equifax, Inc.        0:17-cv-04655   District of Minnesota                                          Marisa C. Katz                 katz@tkkrlaw.com            Consumer      Yes by CTO - 1
                                                                                                              Vildan A. Teske                teske@tkkrlaw.com
                                                                                                  TESKE, KATZ, KITZER & ROCHEL, PLLP
                                                                                                       222 S. Ninth Street, Suite 4050
                                                                                                          Minneapolis, MN 55402
                                                                                                               612-746-1558




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                                                        Court                                                                                                                 Financial or      Status
                                                                                                                                                                             Small Business

 Bakken et al v. Equifax, Inc.    1:17-cv-03676     Northern District of Conley Griggs Partin LLP                     G. John Cento                 ranse@conleygriggs.com      Consumer
                                                         Georgia                                                     Cento Law, LLC
                                                                                                           5915 North College Avenue, Suite 100
                                                                                                                 Indianapolis, IN 46220             vesades@heinsmills.com
                                                                                                                      765-280-3272

                                                                                                                     K. Scott Wagner
                                                                                                                 Kerkman Wagner & Dunn
                                                                                                            839 North Jefferson Street, Suite 400
                                                                                                                  Milwaukee, WI 53202
                                                                                                                       512-338-4605

                                                                                                                     Ranse M. Partin
                                                                                                              Conley Griggs Partin, LLP- GA
                                                                                                                 Building One, Suite 300
                                                                                                               4200 Northside Parkway, NW
                                                                                                                    Atlanta, GA 30327
                                                                                                                      404-467-1155

                                                                                                                     Vincent J. Esades
                                                                                                                Heins Mills & Olson P.L.C.
                                                                                                                   310 Clifton Avenue
                                                                                                                 Minneapolis, MN 55403
                                                                                                                      612-338-4605
    Bakko v. Equifax, Inc.        2:17-cv-013992    Eastern District of                                           Sharon S. Almonrode                ssa@millerlawpc.com        Consumer      Yes by CTO - 3
                                                        Michigan                                                     Emily E. Hughes                eeh@millerlawpc.com
                                                                                                                     E. Powell Miller               epm@millerlawpc.com
                                                                                                                The Miller Law Firm, P.C.
                                                                                                            950 West University Drive, Suite 300
                                                                                                                   Rochester, MI 48307
                                                                                                                      248-841-2200


Bandoh-Aidoo v. Equifax, Inc.     2:17-cv-06658      Central District of                                             Torin A. Dorros                tdorros@dorroslaw.com       Consumer           Yes
  and Does 1 Through 10                             California (Western                                              DORROS LAW
                                                      Division - Los                                        8730 Wilshire Boulevard, Suite 350
                                                         Angeles)                                             Beverly Hills, California 90211
                                                                                                                      310-997-2050




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                                                        Court                                                                                                             Financial or      Status
                                                                                                                                                                         Small Business

Barker v. Equifax, Inc. Does 1-    8:17-cv-01560     Central District of                                  Jerusalem F. Beligan              jbeligan@bisnarchase.com        Consumer
         10, inclusive                              California (Southern                                     Brian D. Chase                  bchase@bisnarchase.com
                                                      Division - Santa                                   BISNAR CHASE LLP
                                                            Ana)                                       1301 Dove Street, Suite 120
                                                                                                       Newport Beach, CA 92660
                                                                                                             949-752-2999

    Barone v. Equifax, Inc.        5:17-cv-05958    Northern District of                                  J. Benjamin Blakeman             ben@lifeinsurance-law.com        Consumer      Yes by CTO - 1
                                                        California                                       ATTORNEY AT LAW
                                                                                                         1259 S. Camden Dr. 2E
                                                                                                         Los Angeles, CA 90017
                                                                                                              213-629-9922

     Beck v. Equifax, Inc.         1:17-cv-03359    District of Maryland                                  Jonathan Barry Nace                  jon@nidellaw.com             Consumer      Yes by CTO - 1
                                                                                                        NIDEL & NACE, PLLC
                                                                                                   5335 Wisconsin Ave., NW, Suite 440
                                                                                                        Washington, D.C. 20015
                                                                                                             202-478-9677

  Becker et al v. Equifax Inc.     5:17-cv-00900    Western District of                                 Eric Andrew Campolo                   eacampolo@gmail.com           Consumer      Yes by CTO - 1
                                                         Texas                                             Paul E. Campolo              pcampolo@maloneyandcampolo.com
                                                                                                             Tim Maloney                     timmaloney@yahoo.com
                                                                                             LAW OFFICES OF MALONEY & CAMPOLO, LLP
                                                                                                            926 S. Alamo
                                                                                                       San Antonio, TX 78205
                                                                                                            210-219-0412




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                                                         Court                                                                                                             Financial or      Status
                                                                                                                                                                          Small Business

Beekman et al. v. Equifax, Inc.    1:17-cv-03492    Northern District of   Law Offices of David A.                    David A. Bain                dbain@bain-law.com        Consumer           Yes
                                                     Georgia (Atlanta           Bain, LLC                  LAW OFFICES OF DAVID A. BAIN, LLC
                                                         Division)                                                1230 Peachtree St, NW
                                                                                                                    Atlanta, GA 30309
                                                                                                                      404-724-9990

                                                                                                                     Timothy G. Blood               tblood@bholaw.com
                                                                                                                   Thomas J. O'Reardon II         toreardon@bholaw.com
                                                                                                            BLOOD HURST & O'REARDON, LLP
                                                                                                               501 West Broadway, Suite 1490
                                                                                                                    San Diego, CA 92101
                                                                                                                       619-338-1100

                                                                                                                    Janine L. Pollack              pollack@whafh.com
                                                                                                                    Correy A. Kamin                 kamin@whafh.com
                                                                                                                   Carl V. Malmstrom              malmstrom@whafh.com
                                                                                                     WOLF HALDENSTEIN ADLER FREEMAN & HERZ LLP
                                                                                                                    270 Madison Ave
                                                                                                                  New York, NY 10016
                                                                                                                      212-545-4600
    Belden v. Equifax Inc.         5:17-cv-05260    Northern District of                                           Mark C. Molumphy              mmolumphy@cpmlegal.com      Consumer
                                                    California (San Jose                                   COTCHETT, PITRE & MCCARTHY LLP
                                                         Division)                                             840 Malcolm Road Suite 200
                                                                                                                 Burlingame, CA 94010
                                                                                                                      650-697-6000

    Belfon v. Equifax Inc.         2:17-cv-06577     Eastern District of                                           Edward B. Geller                   epbh@aol.com           Consumer      Yes by CTO - 1
                                                         New York                                             EDWARD B. GELLER, ESQ., P.C.
                                                                                                                   15 Landing Way
                                                                                                                   Bronx, NY 10464
                                                                                                                    914-473-6783

Benavidez et al v. Equifax Inc.    4:17-cv-04279     Central District of                                             Gregory S. Otsuka            gotsuka@hjlawfirm.com      Consumer      Yes by CTO - 1
            et al.                                        Illinois                                                  Hellmuth & Johnson
                                                                                                                   8050 West 78th Street
                                                                                                                     Edina, MN 55439
                                                                                                                       952-941-4005




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       Case Name                   Case Number           Original           Local Counsel   Plaintiffs' Counsel & Contact Information      Email Addresses             Consumer,        Transfer
                                                          Court                                                                                                        Financial or      Status
                                                                                                                                                                      Small Business

    Benson v. Equifax Inc.          3:17-cv-00564    Western District of                                     Jason T. Ams                    jams@bgdlegal.com           Consumer      Yes by CTO - 1
                                                         Kentucky                                         V. Brandon McGrath               bmcgrath@bgdlegal.com
                                                                                             BINGHAM GREENEBAUM DOLL LLP - LEXINGTON      brett@bluegrassinjury.com
                                                                                                      300 W. Vine Street, Suite 1100
                                                                                                       Lexington, KY 40507-1665
                                                                                                             859-231-8500

                                                                                                          Brett H. Oppenheimer
                                                                                                     BRETT H. OPPENHEIMER, PLLC
                                                                                                        401 Waterfront Park Place
                                                                                                       222 East Witherspoon Street
                                                                                                          Louisville, KY 40202
                                                                                                              502-749-5700
   Benway v. Equifax, Inc.          1:17-cv-03360    District of Maryland                                Benjamin Howard Carney           bcarney@GWCfirm.com            Consumer      Yes by CTO - 1
                                                                                                            Richard S. Gordon             rgordon@GWCfirm.com
                                                                                                           Martin Eugene Wolf              mwolf@GWCfirm.com
                                                                                                   GORDON, WOLF & CARNEY, CHTD
                                                                                                     100 W. Pennsylvania Ave, Ste 100
                                                                                                           Towson, MD 21204
                                                                                                              410-825-2300


Bethea et al v. Equifax, Inc. et    3:17-cv-00648     Eastern District of                                Leonard Anthony Bennett           lenbennet@clalegal.com        Consumer      Yes by CTO - 1
               al                                          Virginia                                      Matthew James Erausquin              matt@clalegal.com
                                                                                                            Elizabeth W. Hanes             elizabeth@clalegal.com
                                                                                                         Craig Carley Marchiando             craig@clalegal.com
                                                                                                  CONSUMER LITIGATION ASSOCIATES
                                                                                                    763 J. Clyde Morris Blvd., Suite 1A
                                                                                                        Newport News, VA 23601
                                                                                                               757-930-3660

    Biles v. Equifax, Inc.          1:17-cv-08224    Northern District of                               Elizabeth Christine Chavez           ecc@fmcolaw.com             Consumer      Yes by CTO - 1
                                                           Illinois                                      Kathleen Currie Chavez              kcc@fmcolaw.com
                                                                                                             Robert M. Foote                 rmf@fmcolaw.com
                                                                                                            Matthew J. Herman                mjh@fmcolaw.com
                                                                                                 FOOT, MIEKEM CHAVEZ & O'NEIL, LLC
                                                                                                       10 W. State Street, Suite 200
                                                                                                             Geneva, IL 60134
                                                                                                              630-232-7450




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                                                         Court                                                                                                                            Financial or      Status
                                                                                                                                                                                         Small Business

    Biorn v. Equifax Inc.           2:17-cv-00071    District of Montana                                            John L. Amsden                     amsden@becklawyers.com               Consumer      Yes by CTO - 1
                                                                                                                     Monte D. Beck                      mbeck@becklawyers.com
                                                                                                                  Anthony F. Jackson                   anthony@becklawyers.com
                                                                                                                    Justin P. Stalpes                   justin@becklawyers.com
                                                                                                               BECK & AMSDEN, PLLC
                                                                                                               1946 Stadium Drive, Suite 1
                                                                                                                  Bozeman, MT 59717
                                                                                                                     406-586-8700

Bitton v. Equifax Information       1:17-cv-05126    Northern District of                                          Amir J. Goldstein                 ajg@consumercounselgroup.com           Consumer
        Services, LLC                                     Georgia                                                591 Broadway Suite 3A
                                                                                                                  New York, NY 10012
                                                                                                                     212-966-5253


Blake et al. v Equifax Inc et al    7:17-cv-06946    Southern District of                                        Esther E. Berezofsky                  eberezofsky@eblawllc.com             Consumer      Yes by CTO - 1
                                                      New York (White                                      BEREZOFSKY LAW GROUP, LLC
                                                       Plains Division)                                      201 Lake Drive East, Suite 101
                                                                                                                 Cherry Hill, NJ 08002
                                                                                                                    856-667-0500

 Block v. Equifax, Inc. et al       1:17-cv-07121      District of New                                             Erik S. Syverson                     esyverson@raineslaw.com             Consumer      Yes by CTO - 1
                                                            Jersey                                             RAINES FELDMAN LLP
                                                                                                           1800 Avenue of the Stars, 12th Floor
                                                                                                                Los Angeles, CA 90067
                                                                                                                    310-440-4100

Bologna et al v. Equifax, Inc.      1:17-cv-03578    Northern District of   Jonathan W. Johnson,                Benjamin Jared Meiselas                  geragos@geragos.com                Consumer
                                                          Georgia                   LLC                             Lori G. Feldman                      feldman@geragos.com
                                                                                                                    Mark G. Geragos
                                                                                                                  Geragos & Geragos
                                                                                                               644 South Figueroa Street
                                                                                                               Historic Engine Co. No. 28
                                                                                                                Los Angeles, CA 90017             jwj@jonathanjohnsonatlantalawyer.com
                                                                                                                      213-625-3900

                                                                                                                Jonathan Wesley Johnson
                                                                                                               Jonathan W. Johnson, LLC
                                                                                                           2296 Henderson Mill Rd., Suite 304
                                                                                                                   Atlanta, GA 30345
                                                                                                                     404-298-0795




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                                                                                                                                                                   Small Business

Boundy et al v. Equifax, Inc.     5:17-05367      Northern District of   Herman Gerel, LLP                  Andrea S. Hirsch                                          Consumer           Yes
                                                       Georgia                                              Leonard A. Davis
                                                                                                              Steve Herman
                                                                                                          HERMAN GEREL, LLP              ahirsch@hermangerel.com
                                                                                                             60 Lenox Pointe
                                                                                                            Atlanta, GA 30324
                                                                                                              404-880-9500

                                                                                                               Arnold Levin
                                                                                                              Daneil C. Levin              alevin@lfsblaw.com
                                                                                                            Charles E. Schaffer
                                                                                                       LEVIN SEDRAN & BERMAN
                                                                                                        510 Walnut Street, Suite 500
                                                                                                          Philadelphia, PA 19106
                                                                                                               215-592-1500
                                                                                                                                            azarf@fdazar.com
                                                                                                            Franklin D. Azar
                                                                                                             Keith Scranton
                                                                                                             Hugh Z. Balkin
                                                                                                    FRANKLIN D. AZAR & ASSOCIATES
                                                                                                        14426 East Evans Avenue
                                                                                                           Aurora, CO 80014
                                                                                                             303-900-5595

  Bradley v. Equifax, Inc.       1:17-cv-03480    Northern District of                                        Julio C. Gomez              jgomez@gomezllc.com         Consumer      Yes by CTO - 1
                                                   Georgia (Atlanta                                            GOMEZ LLC
                                                       Division)                                            The Stucke Building
                                                                                                         111 Quimby Street, Suite 8
                                                                                                            Westfield, NJ 07090
                                                                                                               908-789-1080
   Branch v. equifax Inc.        1:17-cv-07257      District of New                                      Richard Alexander Saveri            rick@saveri.com          Consumer      Yes by CTO - 1
                                                         Jersey                                             Saveri & Saveri, Inc.
                                                                                                            706 Sansome Street
                                                                                                          San Francisco, CA 94111
                                                                                                               415-217-6810




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                                                       Court                                                                                                                  Financial or     Status
                                                                                                                                                                             Small Business

     Brandon v. Equifax           1:17-cv-03454    Northern District of Evangelista Worley, LLC                  James M. Evangelista              jme@ewlawllc.com             Consumer        Yes
                                                        Georgia                                                    David J. Worley                 david@ewlawll.com
                                                                                                               Kristi Stahnke McGregor             kristi@ewlawll.com
                                                                                                           EVANGELISTA WORLEY, LLC
                                                                                                            8100 A Roswell Road, Suite 100        wbf@federmanlaw.com
                                                                                                                  Atlanta, GA 30350               clm@federmanlaw.com
                                                                                                                     404-205-8400                 jdw@federmanlaw.com

                                                                                                                  William Federman
                                                                                                                  Carin L. Marcussen
                                                                                                                   Joshua D. Wells
                                                                                                             FEDERMAN & SHERWOOD                cdukelow@abingtonlaw.com
                                                                                                             10205 N. Pennsylvania Avenue
                                                                                                                 Oklahoma, OK 73120
                                                                                                                    405-235-1560

                                                                                                                 Cornelius P. Dukelow
                                                                                                                Abington Cole + Ellery
                                                                                                          320 South Boston Avenue, Suite 1130
                                                                                                                   Tulsa, OK 74103
                                                                                                                     918-588-3400
Brannan et al v. Equifax, Inc.    1:17-cv-03708    Northern District of   The Finley Firm, P.C.                 James Benjamin Finley           bfinley@thefinleyfirm.com       Consumer
                                                        Georgia                                                   MaryBeth V. Gibson            mgibson@thefinleyfirm.com
                                                                                                                   Robert W. Garrett            wgarrett@thefinleyfirm.com
                                                                                                                 The Finley Firm, P.C.
                                                                                                                 Building 14, Suite 230
                                                                                                                  3535 Piedmont Road
                                                                                                                   Atlanta, GA 30305
                                                                                                                 404-320-9979 ext 241




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                                                          Court                                                                                                                Financial or      Status
                                                                                                                                                                              Small Business

    Broder v. Equifax, Inc.         1:17-cv-03587    Northern District of                                           Andrea Bierstein             dmiceli@simmonsfirm.com         Consumer
                                                          Georgia                                                   David F. Miceli
                                                                                                                     Jayne Conroy
                                                                                                                 Simmons Hanly Conroy
                                                                                                              112 Madison Avenue, 7th Floor
                                                                                                                  New York, NY 10016
                                                                                                                     212-784-6403

                                                                                                                    Emily C. Aldridge
                                                                                                                     Lelsey A. Weaver
                                                                                                                    Matthew S. Weiler
                                                                                                               Bleichmar Fonti & Auld LLP
                                                                                                              1999 Harrison Street, Suite 670
                                                                                                                    Oakland, CA 94612
                                                                                                                      415-445-4003

Brodsky v. Equifax, Inc., et al.    2:17-cv-05528     Eastern District of                                                PRO SE                 demcointerexport@yahoo.com       Consumer      Yes by CTO - 1
                                                          New York                                                     Jay Brodsky
                                                                                                                1585 Round Swamp Road
                                                                                                                  Plainview, NY 11803
                                                                                                                      973-568-1666


Brown et al. v. Equifax Inc. and    1:17-cv-03449    Northern District of Evangelista Worley, LLC                   David J. Worley                 jim@ewlawllc.com             Consumer           Yes
       TrustedID, Inc.                                    Georgia                                                James M. Evangelista               david@ewlawll.com
                                                                                                                Kristi Stahnke McGregor             kristi@ewlawll.com
                                                                                                             EVANGELISTA WORLEY, LLC
                                                                                                              8100 A Roswell Rd, Suite 100       b.barnow@barnowlaw.com
                                                                                                                   Atlanta, GA 30350             e.schork@barnowlaw.com
                                                                                                                      404-205-8400

                                                                                                                       Ben Barnow
                                                                                                                     Erich P. Schork
                                                                                                            BARNOW AND ASSOCIATES, P.C.
                                                                                                               1 North LaSalle Street #4600
                                                                                                                   Chicago, IL 60602
                                                                                                                      312-621-2000
   Brumfield v. Equifax, Inc.       1:17-cv-06459     Eastern District of                                            Gaitri Boodhood            gboodhoo@brualdilawfirm.com      Consumer      Yes by CTO - 1
                                                          New York                                                The Brualdi Law Firm
                                                                                                                 29 Broadway, Suite 2400
                                                                                                                  New York, NY 10006
                                                                                                                      212-952-0602




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                                                           Court                                                                                                          Financial or      Status
                                                                                                                                                                         Small Business

   Bussey v. Equifax Credit          7:17-cv-00158     Middle District of                                              PRO SE                  ronnniebusse@yahoo.com       Consumer      Yes by CTO - 1
           Bureau                                          Georgia                                                  Ronnie Bussey
                                                                                                                   303 Alunza Street
                                                                                                                  Douglas, GA 31533
                                                                                                                     912-292-6522

     Butler v. Equifax Inc.          3:17-cv-02158    Southern District of                                       Stephen F Yunker                  sfy@yslaw.com            Consumer      Yes by CTO - 1
                                                          California                                        655 West Broadway, Suite 1400
                                                                                                                San Diego, CA 92101
                                                                                                                   619-233-5500

 Byas & Drummer v. Equifax,          4:17-cv-00130     Northern District of                                        Daniel E. Morris                                         Consumer
           Inc.                                           Mississippi                                    DANIEL E. MORRIS LAW FIRM, PLLC
                                                      (Greenville Division)                                        P.O. Box 40811
                                                                                                               Baton Rouge, LA 70835

                                                                                                                  Tanisha M. Gates
                                                                                                              DORSEY & GATES, PLLC
                                                                                                                   P.O. Box 158
                                                                                                                 Belzoni, MS 39038
                                                                                                                   662-247-2449

 Cadwallader et al v. Equifax        0:17-cv-04640    District of Minnesota                                      Michael R Cashman             mcashman@hjlawfirm.com       Consumer      Yes by CTO - 1
         Inc. et al                                                                                           Hellmuth & Johnson, PLLC
                                                                                                                8050 West 78th Street
                                                                                                                  Edina, MN 55439
                                                                                                                    952-941-4005


Calderon et al v. Equifax Inc. et    1:17-cv-04389    Northern District of    Kent & Risley, LLC                  Daniel Arthur Kent            dankent@kentrisley.com      Consumer
               al                                          Georgia                                                Kent & Risley, LLC
                                                                                                            5755 North Point Pkwy., Suite 57
                                                                                                                 Alpharetta, GA 30022
                                                                                                                    404-585-4214

                                                                                                                  Gregory S. Otsuka
                                                                                                              Hellmuth & Johnson, PLLC
                                                                                                                8050 West 78th Street
                                                                                                                  Edina, MN 55439
                                                                                                                    952-941-4005




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                                                                          Plaintiffs' Counsel Table
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                                                       Court                                                                                                             Financial or      Status
                                                                                                                                                                        Small Business

  Campbell v. Equifax Inc.       2:17-cv-01657    Western District of                                     McKean J Evans                mevans@pivotallawgroup.com         Consumer      Yes by CTO - 1
                                                    Washingon                                         PIVOTAL LAW GROUP
                                                                                                          IMB BUILDING
                                                                                                     1200 Fifth Ave., Suite 1217
                                                                                                         Seattle, WA 98101
                                                                                                           206-340-2008

   Campos v. Equifax, Inc.       1:17-cv-06579     Eastern District of                                  Edward B. Geller                       epbh@aol.com                Consumer      Yes by CTO - 1
                                                       New York                                  EDWARD B. GELLER, ESQ., P.C.
                                                                                                         15 Landing Way
                                                                                                        Bronx, NY 10464
                                                                                                          914-473-6783
Caplan v. Equifax Information    2:17-cv-04055     Eastern District of                                  Andrew B. Sacks                     asacks@sackslaw.com            Consumer      Yes by CTO - 1
       Services, LLC                                 Pennsylvania                                        John K. Weston                    jweston@sackslaw.com
                                                     (Philadelphia                                 Sacks Weston Diamond LLC
                                                       Division)                                  1845 Walnut Street, Suite 1600            tom@attorneyzim.com
                                                                                                     Philadelphia, PA 19103
                                                                                                          215-925-8200                      notices@dannlaw.com

                                                                                                    Thomas A. Zimmerman, Jr.            dkrieger@hainesandkrieger.com
                                                                                                 ZIMMERMAN LAW OFFICES, P.C.
                                                                                                77 West Washington Street, Suite 1220
                                                                                                         Chicago, IL 60602
                                                                                                           312-440-0020

                                                                                                         Marc E. Dann
                                                                                                          Brian Flick
                                                                                                 THE DANN LAW FIRM CO. LPA
                                                                                                        PO Box 6031040
                                                                                                      Cleveland, OH 44103
                                                                                                         216-373-0536

                                                                                                         David H. Krieger
                                                                                                           George Haines
                                                                                                    HAINES & KRIEGER, LLC
                                                                                                   8985 S. Eastern Ave., Suite 350
                                                                                                       Henderson, NV 89123




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                                                           Court                                                                                                                         Financial or      Status
                                                                                                                                                                                        Small Business

                                                                                                                   Matthew I. Knepper                                                      Consumer
                                                                                                                     Miles N. Clark                  matthew.knepper@knepperclark.com
                                                                                                               KNEPPER & CLARK, LLC                    miles.clark@knepperclark.com
                                                                                                          10040 W. Cheyenne Ave., Suite 170-109
                                                                                                                 Las Vegas, NV 89129                     seanpayne@spaynelaw.com
                                                                                                                     702-825-6060

                                                                                                                      Sean N. Payne
                                                                                                                PAYNE LAW FIRM LLC
                                                                                                           9550 S. Eastern Ave., Suite 253-A213
                                                                                                                   Las Vegas, NV 89123
                                                                                                                       702-952-2733

    Caprio v. Equifax, Inc.           1:17-cv-03358    District of Maryland                                        Nathan Daniel Alder                        nda@nqgrg.com                Consumer      Yes by CTO - 1
                                                                                                        Neuberger Quinn Gielen Rubin and Gibber PV
                                                                                                               One South Street, 27th Floor
                                                                                                                   Baltimore, MD 21202
                                                                                                                       410-332-8516


Carr et al. v. Equifax Inc. et al.    5:17-cv-04089     District of Kansas    Robert B. Sullivan                    Andrew C. Melzer                    amelzer@sanfordheisler.com         Consumer      Yes by CTO - 1
                                                                                                                Sanford Heisler Sharp, LLP
                                                                                                          1350 Avenue of the Americas, 31st Floor
                                                                                                                  New York, NY 10019                     ksharp@sanfordheisler.com
                                                                                                                      646-402-5650

                                                                                                                       Kevin Sharp
                                                                                                                Sanford Heisler Sharp, LLP
                                                                                                               611 Commerce St., Ste. 3100                rbsullivan13@gmail.com
                                                                                                                   Nashville, TN 37203
                                                                                                                      615-434-7001

                                                                                                                    Robert B. Sullivan
                                                                                                                  5704 W. 128th Terrace
                                                                                                                 Overland Park, KS 66209
                                                                                                                      816-309-6840




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                                                                               Plaintiffs' Counsel Table
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                                                         Court                                                                                                                    Financial or      Status
                                                                                                                                                                                 Small Business

Cary III et al. v. Equifax, Inc.    1:17-cv-03433    Northern District of BARNES LAW GROUP,                           Roy E. Barnes                roy@barneslawgroup.com           Consumer           Yes
                                                      Georgia (Atlanta           LLC                                  John R. Bevis               bevis@barneslawgroup.com
                                                          Division)                                                J. Cameron Tribble            ctribble@barneslawgroup.com
                                                                                                               BARNES LAW GROUP, LLC
                                                                                                                  31 Atlanta Street, SE
                                                                                                                  Marietta, GA 30060
                                                                                                                      770-227-6375                 siegel@stuevesiegel.com
                                                                                                                                                   vahle@stuevesiegel.com
                                                                                                                     Norman E. Siegel              moore@stuevesiegel.com
                                                                                                                      Barrett J. Vahle
                                                                                                                     J. Austin Moore
                                                                                                              STUEVE SIEGEL HANSON LLP
                                                                                                                460 Nichols Road, Suite 200
                                                                                                                  Kansas City, MO 64112
                                                                                                                       816-714-7100
    Cederdahl v. Equifax            4:17-cv-00342    Southern District of                                         Jeffery Joseph Cook              jcook@pattersonfirm.com          Consumer      Yes by CTO - 1
 Information Services, LLC                                  Iowa                                              PATTERSON LAW FIRM LLP
                                                                                                                505 Fifth Ave., Suite 729
                                                                                                                 Des Moines, IA 50309
                                                                                                                  515-283-2147 x243

  Chehebar v. Equifax Inc.          3:17-cv-11414      District of New                                            Edward B. Geller                      epbh@aol.com                Consumer      Yes by CTO - 1
                                                            Jersey                                           EDWARD B. GELLER, ESQ., P.C.
                                                                                                                  15 Landing Way
                                                                                                                  Bronx, NY 10464
                                                                                                                   914-473-6783

  Chehebar v. Equifax Inc.          3:17-cv-11417      District of New                                            Edward B. Geller                      epbh@aol.com                Consumer      Yes by CTO - 1
                                                            Jersey                                           EDWARD B. GELLER, ESQ., P.C.
                                                                                                                  15 Landing Way
                                                                                                                  Bronx, NY 10464
                                                                                                                   914-473-6783

  Chenault v. Equifax, Inc.         1:17-cv-03764    Northern District of   Robin Frazer Clark, PC                  Robin Frazer Clark           robinclark@gatriallawyers.net      Consumer
                                                          Georgia                                                Robin Frazer Clark, PC
                                                                                                               Centennial Tower, Suite 2300
                                                                                                                101 Marietta Street, N.W.
                                                                                                                    Atlanta, GA 30303
                                                                                                                      404-873-3700




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                                                         Court                                                                                                                         Financial or      Status
                                                                                                                                                                                      Small Business

   Cherney and Cherney v.          2:17-cv-12966     Eastern District of                                     Nathan J. Fink                       nfink@finkandassociateslaw.com         Consumer
        Equifax, Inc.                                Michigan (Detriot                                       David H. Fink                        dfink@finkandassociateslaw.com
                                                         Division)                                      FINK ASSOCIATES LAW
                                                                                                     38500 Woodward Ave., Suite 350
                                                                                                       Bloomfield Hills, MI 48304
                                                                                                             248-971-2500


   Cho v. Equifax, Inc., et al     2:17-cv-08548     Central District of                                      Gerald S Ohn                              gerald@ohnlaw.com                Consumer      Yes by CTO - 2
                                                        California                                   Law Offices of Gerald S Ohn APC
                                                                                                      25129 The Old Road, Suite 207
                                                                                                       Stevenson Ranch, CA 91381
                                                                                                              661-475-5220


Christen & Coughlin v. Equifax,    1:17-cv-06951      District of New                                        Kevin P. Roddy                            kroddy@wilentz.com                Consumer      Yes by CTO - 1
             Inc.                                     Jersey (Camden                                       Philip A. Tortoreti                        ptortoreti@wilentz.com
                                                         Division)                                           Andrew Grous                              agrous@wilentz.com
                                                                                                  WILENTZ, GOLDMAN & SPITZER, PA
                                                                                               90 Woodbridge Center Drive, Suite 900, Box 10
                                                                                                         Woodbridge, NJ 07095                        b.barnow@barnowlaw.com

                                                                                                               Ben Barnow
                                                                                                     BARNOW & ASSOCIATES, P.C.
                                                                                                    One North LaSalle Street, Suite 4600
                                                                                                            Chicago, IL 60602
                                                                                                              312-621-2000

   Clark et al v. Equifax Inc.     1:17-cv-03497    Northern District of                                    E. Michelle Drake                             emdrake@bm.net                 Consumer
                                                         Georgia                                              Jon Lambiras                               jlambiras@bm.net
                                                                                                            Shanon J. Carson                              scarson@bm.net
                                                                                                            Sherrie R. Savett                              ssavett@bm.net
                                                                                                        Berger & Montague, P.C.
                                                                                                       43 SE Main Street, Suite 505
                                                                                                         Minneapolis, MN 55414
                                                                                                              612-594-5933

   Clark et al v. Equifax Inc.     1:17-cv-01118      District of New                                      Nicholas Koluncich                  nkoluncich@newmexicoclassactions.com      Consumer      Yes by CTO - 1
                                                          Mexico                                  Law offices of Nicholas Koluncich LLC
                                                                                                   500 Marquette Ave NW., Suite 1200
                                                                                                         Albuquerque, NM 87102
                                                                                                               505-881-2228




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                                                                                Plaintiffs' Counsel Table
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                                                            Court                                                                                                             Financial or       Status
                                                                                                                                                                             Small Business

 Coade-Wingate v.Equifax Inc.          1:17-cv-01136    Northern District of                                     Rodney Mark Zerbe                rzerbe@hjlawfirm.com          Consumer      Yes by CTO - 1
           et al                                            New York                                         Hellmuth, Johnson Law Firm
                                                                                                               The Woolworth Building
                                                                                                              233 Broadway., Suite 2208
                                                                                                                New York, NY 10279
                                                                                                                    212-966-4949


Cofield et al v. Equifax Inc. et al    1:17-cv-03119    District of Maryland                                          PRO SE                  supremegrandbishop@gmail.com      Consumer      Transfer Opposed
                                                                                                                Kevin L. Cofield, Sr.                                                            on 12/21/17
                                                                                                                    410-419-6049                 abettercoach@gmail.com
                                                                                                                Dr. Keenan K. Cofield
                                                                                                                    443-554-3715
                                                                                                                 Laverne Thompson
                                                                                                                 4109 Cutty Sark Rd.
                                                                                                                Baltimore, MD 21220

                                                                                                                       PRO SE
                                                                                                                    Berri A. Wells
                                                                                                               7723 English Oak Circle
                                                                                                                 Elkridge, MD 21075
                                                                                                                    301-905-7160
 Cole et al v. Equifax Inc. et al      5:17-cv-00223    District of Vermont    Hayes, Windish &                      Kevin Sharp                ksharp@sanfordheisler.com       Consumer      Yes by CTO - 1
                                                                                  Badgewick                   Saford Heisler Sharp, LLP
                                                                                                           611 Commerce Street, Suite 3100
                                                                                                                Nashville, TN 37203
                                                                                                                    615-434-7000              rwindish@woodstockvtlaw.com

                                                                                                                Richard J. Windish
                                                                                                            Hayes, Windish & Badgewick
                                                                                                                 45 Pleasant Street
                                                                                                               Woodstock, VT 05091
                                                                                                                   802-457-2123




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                                                      Court                                                                                                         Financial or      Status
                                                                                                                                                                   Small Business

  Cole v. Equifax Inc. and       1:17-cv-11712        District of                                          John Roddy                 jroddy@baileyglasser.com        Consumer      Yes by CTO - 1
Equifax Information Services,                        Massachusetts                                       Elizabeth Ryan                eryan@baileyglasser.com
            LLC                                    (Boston Division)                                     Benjamin Lajoie              blajoie@baileyglasser.com
                                                                                                    BAILEY & GLASSER LLP
                                                                                                     99 High Street, Suite 304
                                                                                                        Boston, MA 02110                 nfo@mass-legal.com
                                                                                                          617-439-6730

                                                                                                         Nicholas F. Ortiz
                                                                                             LAW OFFICE OF NICHOLAS F. ORTIZ, P.C.
                                                                                                     99 High Street, Suite 304
                                                                                                        Boston, MA 02110
                                                                                                          617-338-9400
   Collins v. Equifax, Inc.      1:17-cv-00187    Southern District of                                Thomas F. Hetherington         tom.hetherington@emhllp.com      Consumer           Yes
                                                  Texas (Brownsville                                      Kendall J. Burr              kendall.burr@emhllp.com
                                                       Division)                                          Diane S. Wizig               diane.wizig@emhllp.com
                                                                                           EDISON MCDOWELL AND HETHERINGTON LLP
                                                                                                   1001 Fannin Street, Suite 2700
                                                                                                        Houston, TX 77002
                                                                                                          713-337-5580

   Collins v. Equifax, Inc.      8:17-cv-01561     Central District of                                 Timothy G. Blood                  tblood@bholaw.com            Consumer
                                                  California (Southern                          BLOOD HURST & O'REARDON LLP
                                                    Division - Santa                              501 West Broadway, Suite 1490
                                                          Ana)                                        San Diego, CA 92101
                                                                                                         619-338-1100


  Cooper et al. v. Equifax       4:17-cv-00490    District of Arizona                                Leonard Anthony Bennett           lenbennett@clalegal.com        Consumer      Yes by CTO - 1
    Incorporated et al.                                                                          Consumer Litigation Associates PC
                                                                                                 763 J Clyde Morris Blvd., Ste. 1A
                                                                                                    Newport News, VA 23601
                                                                                                          757-930-3660




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                                                      Court                                                                                                             Financial or      Status
                                                                                                                                                                       Small Business

 Cox et al v. Equifax, Inc.     1:17-cv-03586    Northern District of                                     Alex G. Streett                   beng@bsjfirm.com              Consumer
                                                      Georgia                                            James A. Streett
                                                                                                      Streett Law Firm, P.A.
                                                                                                          107 West Main
                                                                                                      Russellville, AR 72801
                                                                                                           479-968-2030

                                                                                                         Benjamin A. Gastel
                                                                                                         Michael G.. Stewart
                                                                                                Branstetter Stranch & Jennings PLLC
                                                                                                        The Freedom Center
                                                                                                223 Rosa L. Parks Avenue, Suite 200
                                                                                                        Nashville, TN 37203
                                                                                                            615-254-8801

 Crossett v. Equifax, Inc.      4:17-cv-02434     Eastern District of                                   D. Todd Mathews                 Todd@GoriJulianLaw.com            Consumer      Yes by CTO - 1
                                                      Missouri                                       GORI AND JULIAN, P.C.
                                                                                                        156 N. Main ST.
                                                                                                      Edwardsville, IL 62025
                                                                                                          618-659-9833


Crow et al. v. Equifax, Inc.    5:17-cv-05355    Northern District of                                Cari Campen Laufenberg           claufenberg@kellerrohrback.com      Consumer      Yes by CTO - 1
                                                     California                                     Gretchen Freeman Cappio             gcappio@kellerrohrback.com
                                                                                                      Keller Rohrback, LLP
                                                                                                  1201 Third Avenue, Suite 3200
                                                                                                     Seattle, WA 98101-3052
                                                                                                           206-623-1900
                                                                                                                                         jflowers@motleyrice.com
                                                                                                     Jodi Westbrook Flowers
                                                                                                      Motley Rice, LLC-SC
                                                                                                     28 Bridgeside Boulevard
                                                                                                      Mt. Pleasant, SC 29464
                                                                                                          843-216-9163




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                                                          Court                                                                                                                Financial or      Status
                                                                                                                                                                              Small Business

  Cuevas v. Equifax Inc. et al      2:17-cv-08604     Central District of                                    Thomas V. Girardi                   caumais@girardikeese.com        Consumer      Yes by CTO - 2
                                                         California                                        Christopher T. Aumais                  tgirardi@girardikeese.com
                                                                                                             Ashkahn Mohamadi                   amohamadi@girardikeese.com
                                                                                                             GIRARDI KEESE
                                                                                                          1126 Wilshire Boulevard
                                                                                                        Los Angeles, California 90017
                                                                                                               213-977-0211

Dash III v. Equifax Information     1:17-cv-07076    Southern District of                                         PRO SE                             no email provided           Consumer      Yes by CTO - 1
         Services LLC                                    New York                                             John P. Dash III
                                                                                                               Gotham BMG
                                                                                                        420 Lexington Ave., Suite 300
                                                                                                            New York, NY 10170


 Dash v . Equifax Information       1:17-cv-00901    Western District of                                          PRO SE                             no email provided           Consumer      Yes by CTO - 1
        Services LLC                                      Texas                                               Dexter K. Dash
                                                                                                               P.O Boc 1431
                                                                                                             Leander, TX 78646


Daughtery et al. v. Equifax Inc.    4:17-cv-00597     Eastern District of                                    Benjamin A. Gastel                      beng@bsjfirm.com            Consumer      Yes by CTO - 1
                                                          Arkansas                                  Branstetter, Stranch & Jennings PLLC
                                                                                                    223 Rosa L. Parks Avenue, Suite 200
                                                                                                             Nashville, TN 37204
                                                                                                                 615-254-8801

  Davis et al. v. Equifax Inc.      7:17-cv-06883    Southern District of                                   Kevin Peter Roddy                       kroddy@wilentz.com           Consumer      Yes by CTO - 1
                                                      New York (White                                       Philip A. Tortoreti                    ptortoreti@wilentz.com
                                                       Plains Division)                                       Andrew Grous                          agrous@wilentz.com
                                                                                                   WILENTZ, GOLDMAN & SPITZER, PA
                                                                                                90 Woodbridge Center Drive, Suite 90,0 Box 10
                                                                                                          Woodbridge, NJ 07095                   b.barnow@barnowlaw.com
                                                                                                               732-636-8000

                                                                                                                Ben Barnow
                                                                                                      BARNOW & ASSOCIATES, P.C.
                                                                                                     One North LaSalle Street, Suite 4600
                                                                                                             Chicago, IL 60602
                                                                                                               312-621-2000




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                                                         Court                                                                                                                      Financial or      Status
                                                                                                                                                                                   Small Business

 Davis et al. v. Equifax Inc.      7:17-cv-01595    Northern District of                                      Steven P Gregory                     steve@gregorylawfirm.us            Consumer      Yes by CTO - 1
                                                         Alabama                                         GREGORY LAW FIRM PC
                                                                                                       2700 Corporate Drive, Suite 200
                                                                                                           Birmingham, AL 35242
                                                                                                                205-314-4874



Dela Cruz v. Equifax Inc. et al    8:17-cv-02084     Central District of                                      Bobby Samini                          bsamini@saminilaw.com             Consumer      Yes by CTO - 2
                                                        California                                         Matthew M. Hoesly                        mhoesly@saminilaw.com
                                                                                                             Bryan C. Oberle                   bryan.oberle.2016@lawmail.usc.edu
                                                                                                           Theodore G. Spanos                         tspanos@ksmllp.com
                                                                                                          Samini Scheinberg PC
                                                                                                         Newport Beach, CA 92663
                                                                                                              949-636-5953


    Derby v. Equifax, Inc.         2:17-cv-01186     Western District of                                   Joseph N. Kravec, Jr.                     jkravec@fdpklaw.com              Consumer       Yes by CTO
                                                         Pennslyvania                           FEINSTEIN DOYLE PAYNE & KRAVEC LLC
                                                    (Pittsburgh Division)                                Law & Finance Building
                                                                                                       429 Fourth Avenue Suite 1300
                                                                                                           Pittsburgh, PA 15219
                                                                                                               412-281-8400


 Dhuka et al v. Equifax, Inc.      1:17-cv-00919    Western District of                                   Andrew Kochanowski                    akochanowski@sommerspc.com            Consumer      Yes by CTO - 1
                                                         Texas                                               Sarah L. Rickard
                                                                                                         Sommers Schwartz, P.C.                    srickard@sommerspc.com
                                                                                                       One Towne Square, Suite 1700
                                                                                                           Southfield, MI 48076                    srickard@sommerspc.com
                                                                                                              248-746-4068

                                                                                                           Randall Adam Swick
                                                                                                            Reid Collins & Tsai
                                                                                                        1301 S Capital of Texas Hwy
                                                                                                           Building C, Suite 300
                                                                                                             Austin, TX 78746
                                                                                                               512-647-6100
     Diaz v. Equifax Inc.          7:17-cv-08175    Southern District of                                 Steven Edward Armstrong               SArmstrong@ArmstrongPLLC.com           Consumer      Yes by CTO - 1
                                                        New York                                The Law Offices of Steven E. Armstrong, PLLC
                                                                                                         61 Broadway, Suite 3000
                                                                                                           New York, NY 10006
                                                                                                               212-837-6824




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                                                       Court                                                                                                            Financial or      Status
                                                                                                                                                                       Small Business

 Dixon et al v. Equifax, Inc.     1:17-cv-03809    Northern District of                                Jodi Westbrook Flowers            jflowers@motleyrice.com          Consumer      Yes by CTO - 1
                                                        Georgia                                             Kevin R. Dean                 kdean@motleyrice.com
                                                                                                        Motley Rice, LLC-SC
                                                                                                       28 Bridgeside Boulevard        claufenberg@kellerrohrback.com
                                                                                                        Mt. Pleasant, SC 29464           gcappio@kellerohrback.com
                                                                                                            843-216-9163

                                                                                                       Cari Campen Laufenberg
                                                                                                      Gretchen Freeman Cappio
                                                                                                        Keller Rohrback, L.L.P
                                                                                                    1201 Third Avenue, Suite 3200
                                                                                                         Seattle, WA 98101
                                                                                                            206-623-1900
Domino et al. v. Equifax, Inc.    0:17-cv-61936    Southern District of                                     Alex Arreaza                 alex@alexmylawyer.com            Consumer      Yes by CTO - 1
                                                        Florida                                     320 W Oakland Park Boulevard
                                                                                                      Wilton Manors, FL 33311             admin@zagerlaw.com
                                                                                                           954-565-7743

                                                                                                             Joseph Zager
                                                                                                          ZAGERLAW, P.A.
                                                                                                   500 E. Broward Blvd., Suite 1820
                                                                                                      Fort Lauderdale, FL 33394
                                                                                                            954-888-8170

Dowgin & Hudson v. Equifax        1:17-cv-06923      District of New                                      Jamie P. Clouser                jamie@clouseresq.com            Consumer
          Inc.                                       Jersey (Camden                                360 West 43rd Street, Suite S14A
                                                        Division)                                       New York, NY 10036
                                                                                                            347-871-6702


  Dremak v. Equifax, Inc.         3:17-cv-01829    Southern District of                                 Timothy G. Blood                   tblood@bholaw.com              Consumer
                                                     California (San                             BLOOD HURST & O'REARDON LLP
                                                    Diego Division)                                501 West Broadway, Suite 1490
                                                                                                       San Diego, CA 92101
                                                                                                          619-338-1100




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                                                        Court                                                                                                                          Financial or      Status
                                                                                                                                                                                      Small Business

     Duke et al v. Equifax        1:17-cv-03765    Northern District of                                               John C. Herman                        jherman@rgrdlaw.com          Consumer
                                                        Georgia                                                       Mark J. Dearborn                       pgeller@rgrdlaw.com
                                                                                                                        Paul J. Geller
                                                                                                         Robbins Geller Rudman & Dowd, LLP - GA
                                                                                                                 Suite 1650, Monarch Plaza               brobbins@robbinsarroyo.com
                                                                                                                 3424 Peachtree Road, NE
                                                                                                                     Atlanta, GA 30326
                                                                                                                        404-504-6500

                                                                                                                     Ashley R. Rifkin
                                                                                                                     Brian J. Robbins
                                                                                                                  Robbins Arroyo, LLP-CA
                                                                                                                  600 B Street, Suite 1900
                                                                                                                   San Diego, CA 92101
                                                                                                                       619-525-3990

Duran & Duran v. Equifax, Inc.    8:17-cv-01571     Central District of                                              Natalie S. Pang                                                     Consumer
                                                   California (Southern                                     KABATECK BROWN KELLNER LLP
                                                     Division - Santa                                           644 South Figueroa Street
                                                           Ana)                                                  Los Angeles, CA 90017
                                                                                                                     866-266-1800

    Duran v. Equifax Inc.         1:17-cv-06584     Eastern District of                                           Edward B. Geller                             epbh@aol.com              Consumer      Yes by CTO - 1
                                                        New York                                             EDWARD B. GELLER, ESQ., P.C.
                                                                                                                  15 Landing Way
                                                                                                                  Bronx, NY 10464
                                                                                                                   914-473-6783


 Durham v. Equifax, Inc. and      1:17-cv-03452    Northern District of Conley Griggs Partin LLP                       Tina Wolfson                      twolfson@ahdootwolfson.com      Consumer           Yes
        Does 1-50                                       Georgia                                                       Theodore Maya                       tmaya@ahdootwolfson.com
                                                                                                                AHDOOT & WOLFSON, PC
                                                                                                                   10728 Lindbrook Drive
                                                                                                                Los Angeles, California 90024
                                                                                                                       310-474-9111
                                                                                                                                                           ranse@conleygriggs.com
                                                                                                                       Ranse M. Partin
                                                                                                              CONLEY GRIGGS PARTIN LLP
                                                                                                      4200 Northside Parkway NW Building One Suite 300
                                                                                                                     Atlanta, GA 303027
                                                                                                                        229-985-5300




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                                                       Court                                                                                                                     Financial or      Status
                                                                                                                                                                                Small Business

 Earl v. Equifax, Inc. et al      1:17-cv-00513      District of New    Nixon Vogelman Barry                         Leslie C. Nixon                lnixon@davenixonlaw.com        Consumer      Yes by CTO - 1
                                                       Hampshire       Slawsky & Simoneau PA           Nixon Vogelman Barry Slawsky & Simoneau PA
                                                                                                                      77 Central St                 ksharp@sanfordheisler.com
                                                                                                                  Manchester, NH 03101
                                                                                                                      603-669-7070

                                                                                                                     Kevin H. Sharp
                                                                                                                Sanford Heisler Sharp LLP
                                                                                                                611 Commerce St, Ste 3100
                                                                                                                   Nashville, TN 37203
                                                                                                                      615-434-7001

Eastman et al v. Equifax Inc.     1:17-cv-03512    Northern District of Conley Griggs Partin LLP                   Robert N. Kaplan                 rkaplan@kaplanfox.com          Consumer
                                                        Georgia                                                   Matthew B. George                 mgeorge@kaplanfox.com
                                                                                                                   Lawrence D. King                  lking@kaplanfox.com
                                                                                                                     Joel B. Strauss                jstrauss@kaplanfox.com
                                                                                                                     Mario M. Choi                   mchoi@kaplanfox.com
                                                                                                                      David Straite                 dstraite@kaplanfox.com
                                                                                                                Kaplan Kilsheimer & Fox
                                                                                                                   850 Third Avenue
                                                                                                                 New York, NY 10022
                                                                                                                     212-687-1980                    ranse@conleygriggs.com

                                                                                                                     Ranse M. Partin
                                                                                                              Conley Griggs Partin, LLP- GA
                                                                                                                 Building One, Suite 300
                                                                                                               4200 Northside Parkway, NW
                                                                                                                    Atlanta, GA 30327
                                                                                                                      404-467-1155

Englert et al v. Equifax, Inc.    1:17-cv-03509    Northern District of Evangelista Worley, LLC                    David James Worley                 david@ewlawllc.com           Consumer
                                                        Georgia                                                   James M. Evangelista                 jim@ewlawllc.com
                                                                                                                Kristi Stahnke McGregor               krisit@ewlawllc.com
                                                                                                                Evangelista Worley, LLC
                                                                                                             8100 A Roswell Road, Suite 100
                                                                                                                   Atlanta, GA 30350
                                                                                                                      404-205-8400




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                                                            Court                                                                                                            Financial or      Status
                                                                                                                                                                            Small Business

     Eppy v. Equifax, Inc.            0:17-cv-61833    Southern District of                                   Joshua Harris Eggnatz           JEggnatz@JusticeEarned.com       Consumer      Yes by CTO - 1
                                                            Florida                                          Michael James Pascucci           MPascucci@JusticeEarned.com
                                                                                                             Eggnatz Pascucci, P.A.
                                                                                                        5400 S. University Drive, Suite 417
                                                                                                                 Davie, FL 33328
                                                                                                                  954-889-3359


     Evans v. Equifax Inc.            5:17-cv-05454    Northern District of                                      Phillip A. Jaret                 pajaret@jaretlaw.com         Consumer      Yes by CTO - 1
                                                           California                                            Robert S. Jaret                   rjaret@jaretlaw.com
                                                                                                                   Jaret & Jaret
                                                                                                              1016 Lincoln Avenue
                                                                                                              San Rafael, CA 94901
                                                                                                                  415-455-1010


Fail et al. v. Equifax Inc. et al.    1:17-cv-03581    Southern District of MADDOX HARGETT &                  Mark E. Maddox                     mmaddox@mhclaw.com            Consumer      Yes by CTO - 1
                                                            Indiana            CARUSO, PC             MADDOX HARGETT & CARUSO, PC
                                                                                                        10100 Lantern Road, Suite 150          ksharp@sanfordheisler.com
                                                                                                              Fishers, IN 46037
                                                                                                                317-598-2040

                                                                                                               Kevin H. Sharp
                                                                                                       SANFORD HEISLER SHARP, LLP
                                                                                                         611 Commerce St., Ste. 3100
                                                                                                             Nashville, TN 37203
                                                                                                                615-434-7001

   Faillace v. Equifax, Inc.          2:17-cv-06721     Central District of                                     Jennifer Sarnelli               jsarnellii@gardylaw.com        Consumer
                                                       California (Western                                 GARDY AND NOTIS LLP
                                                         Division - Los                                   126 East 56th Street, 8th Floor
                                                            Angeles)                                          New York, NY 10022
                                                                                                                 212-905-0509


     Farinella v. Equifax             2:17-cv-05548     Eastern District of                                      Ryan L Gentile                     rlg@lawgmf.com             Consumer      Yes by CTO - 1
  Information Services, LLC                                 New York                                   Law Offices of Gus Michael Farinella
                                                                                                         110 Jericho Turnpike, Suite 100
                                                                                                             Floral Park, NY 11001
                                                                                                                  212-675-6161




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                                                       Court                                                                                                              Financial or      Status
                                                                                                                                                                         Small Business

Fausz v. Equifax Information      3:17-cv-00576    Western District of                                      Nina B. Couch                 couchlawpllc@gmail.com            Consumer      Yes by CTO - 1
       Services, LLC                                   Kentucky                                           Couch Law, PLLC
                                                                                                    2815 Taylorsville Rd., Suite 101
                                                                                                         Louisville, KY 40205            ztaylor@taylorcouchlaw.com
                                                                                                            502-550-4933

                                                                                                          Zachary L. Taylor
                                                                                                   2815 Taylorsville Road, Suite 102
                                                                                                        Louisville, KY 40205
                                                                                                            502-822-2500
Feehrer et al v. Equifax, Inc.    1:17-cv-07803      District of New                                       Joseph R. Santoli               josephsantoli@aol.com            Consumer      Yes by CTO - 1
                                                          Jersey                                           340 Devon Court
                                                                                                         Ridgewood, NJ 07450
                                                                                                             201-926-9200
                                                                                                                                             lee@sfclasslaw.com
                                                                                                          Olimpio L. Squitieri
                                                                                                        Squitieri & Fearon, LLP
                                                                                                     2600 Kennedy Bldv., Suite 1K
                                                                                                         Jersey City, NJ 07306
                                                                                                             201-200-0900

   Feied v. Equifax, Inc.         5:17-cv-05524    Northern District of                                  Gordon M. Fauth, Jr.          gfauth@finkelsteinthompson.com       Consumer      Yes by CTO - 1
                                                       California                                             Of Counsel
                                                                                                           Rosanne L. Mah               rmah@finkelsteinthompson.com
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                                                                                                       San Francisco, CA 94111
                                                                                                            510-238-9610

                                                                                                              Mila Bartos
                                                                                                      Finkelstein Thompson LLP
                                                                                                 3201 New Mexico Ave., NW, Suite 395
                                                                                                       Washington, D.C. 20016
                                                                                                            202-337-8000




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                                                                          Plaintiffs' Counsel Table
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                                                      Court                                                                                                                Financial or      Status
                                                                                                                                                                          Small Business

   Fiore v. Equifax, Inc.        1:17-cv-03456    Northern District of Evangelista Worley, LLC                  James M. Evangelista            jme@ewlawllc.com             Consumer           Yes
                                                   Georgia (Atlanta                                               David J. Worley               david@ewlawll.com
                                                       Division)                                              Kristi Stahnke McGregor           kristi@ewlawll.com
                                                                                                          EVANGELISTA WORLEY, LLC
                                                                                                           8100 A Roswell Road, Suite 100     wbf@federmanlaw.com
                                                                                                                 Atlanta, GA 30350            clm@federmanlaw.com
                                                                                                                    404-205-8400              jdw@federmanlaw.com

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                                                                                                                Carin L. Marcussen
                                                                                                                 Joshua D. Wells
                                                                                                           FEDERMAN & SHERWOOD
                                                                                                           10205 N. Pennsylvania Avenue
                                                                                                               Oklahoma, OK 73120
                                                                                                                  405-235-1560


Flores et al. v. Equifax Inc.    7:17-cv-07088    Southern District of                                          Shelly L Friedland           sfriedland@triefandolk.com      Consumer      Yes by CTO - 1
                                                      New York                                                    Trief and Olk
                                                                                                                150 East 58 Street
                                                                                                               New York, NY 10155
                                                                                                                  212-486-6060




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                                                                                Plaintiffs' Counsel Table
                                                                                       CONSUMER CASES
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                                                             Court                                                                                                            Financial or      Status
                                                                                                                                                                             Small Business

Frank et al. v. Equifax Inc. et al.    5:17-cv-01611    Northern District of BATTLE & WINN LLP;                    Robert E Battle               rbattle@battlewinn.com         Consumer      Yes by CTO - 1
                                                             Alabama         SERIOUS INJURY LAW                     Adam P Plant                 aplant@battlewinn.com
                                                                                 GROUP, P.C.                     Harlan F Winn, III              hwinn@battlewinn.com
                                                                                                               BATTLE & WINN LLP
                                                                                                           2901 2nd Avenue South, Ste. 220     jheisler@sanfordheisler.com
                                                                                                               Birmingham, AL 35233            amelzer@sanfordheisler.com
                                                                                                                    205-397-8161                ksharp@sanfordheisler.com

                                                                                                                  Jeremy Heisler               chuck@chuckjameslaw.com
                                                                                                                  Andrew Melzer
                                                                                                                  Kevin H Sharp
                                                                                                          SANFORD HEISLER SHARP LLP
                                                                                                            1350 Avenue of the Americas
                                                                                                                    31st Floor
                                                                                                               New York, NY 10019
                                                                                                                  646-402-5650

                                                                                                                 Charles James, II
                                                                                                        LAW OFFICES OF CHARLES JAMES II
                                                                                                                 418 Scott Street
                                                                                                                  P O Box 781
                                                                                                              Montgomery, AL 36101
                                                                                                                  334-832-1001


     Frazier v. Equifax Inc.           1:17-cv-06587     Eastern District of                                   Edward B. Geller                      epbh@aol.com               Consumer      Yes by CTO - 1
                                                             New York                                     EDWARD B. GELLER, ESQ., P.C.
                                                                                                               15 Landing Way                  jheisler@sanfordheisler.com
                                                                                                               Bronx, NY 10464
                                                                                                                914-473-6783

      Fried v. Equifax Inc.            3:17-cv-01955    Southern District of                                      Joseph N. Kravec, Jr.          jkravec@fdpklaw.com            Consumer      Yes by CTO - 1
                                                            California                                   Feinstein Doyle Payne & Kravec, LLC
                                                                                                                   429 Fourth Avenue
                                                                                                          Law & Finance Building, Suite 1300
                                                                                                                  Pittsburgh, PA 15219
                                                                                                                      412-281-8400




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                                                                            Plaintiffs' Counsel Table
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                                                       Court                                                                                                              Financial or      Status
                                                                                                                                                                         Small Business

Friedman & Acosta v. Equifax,    1:17-cv-07022      District of New                                            Christopher A. Seeger          cseeger@seegerweiss.com       Consumer
 Inc. and Equifax Information                       Jersey (Camden                                             SEEGER WEISS LLP
         Services LLC                                  Division)                                             550 Broad Street Suite 920
                                                                                                                 Newark, NJ 07102
                                                                                                                   888-610-6574


Fuhrman v. Equifax Inc. et al    2:17-cv-13508     Eastern District of   Aidenbaum Schloff and                     Kevin Sharp               ksharp@sanfordheisler.com      Consumer      Yes by CTO - 1
                                                       Michigan              Bloom PLLC                  SANFORD HEISLER SHARP, LLP
                                                                                                           611 Commerce St., Suite 3100
                                                                                                               Nashville, TN 37203
                                                                                                                  615-434-7003
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                                                                                                                    Ryan Bloom                  eindig@aidenbaum.com
                                                                                                                    Sara Sturing               ssturing@aidenbaum.com
                                                                                                                    Elliott Indig
                                                                                                         Aidenbaum Schloff and Bloom PLLC
                                                                                                          6960 Orchard Lake Road, Ste 250
                                                                                                             West Bloomfield, MI 48322
                                                                                                                   248-865-6500




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                                                     Court                                                                                                             Financial or      Status
                                                                                                                                                                      Small Business

Gallant, Jr. v. Equifax Inc.    8:17-cv-02712    District of Maryland                                  Richard V. Falcon             billy.murphy@murphyfalcon.com       Consumer      Yes by CTO - 1
                                                 (Greenbelt Division)                               William H. Murphy, Jr.          hassan.murphy@murphyfalcon.com
                                                                                                    William H. Murphy, III          richard.falcon@murphyfalcon.com
                                                                                                   Murphy, Falcon & Murphy
                                                                                                   One South Street 23rd Floor        rweltchek@wmwlawfirm.com
                                                                                                     Baltimore, MD 21202
                                                                                                         410-951-8744                    notices@dannlaw.com

                                                                                                      Robert J. Weltchek                  asacks@sackslaw.com
                                                                                           WELTCHEK MALLAHAN & WELTCHEK, LLC             jweston@sackslaw.com
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                                                                                                    Lutherville, MD 21093
                                                                                                        410-825-5287

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                                                                                                        Andrew B. Sacks
                                                                                                         John K. Weston
                                                                                                   Sacks Weston Diamond LLC
                                                                                                  1845 Walnut Street, Suite 1600




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                                                   Court                                                                                                                 Financial or     Status
                                                                                                                                                                        Small Business

                                                                                                 Thomas A. Zimmerman, Jr.                  tom@attorneyzim.com             Consumer
                                                                                              ZIMMERMAN LAW OFFICES, P.C.
                                                                                             77 West Washington Street, Suite 1220     dkrieger@hainesandkrieger.com
                                                                                                      Chicago, IL 60602
                                                                                                        312-440-0020                 matthew.knepper@knepperclark.com
                                                                                                                                       miles.clark@knepperclark.com
                                                                                                       David H. Krieger
                                                                                                        George Haines                    seanpayne@spaynelaw.com
                                                                                                  HAINES & KRIEGER, LLC
                                                                                                 8985 S. Eastern Ave Suite 350
                                                                                                    Henderson, NV 89123
                                                                                                         702-880-5554

                                                                                                     Matthew I. Knepper
                                                                                                       Miles N. Clark
                                                                                                  KNEPPER & CLARK, LLC
                                                                                             10040 W. Cheyenne Ave Suite 170-109
                                                                                                    Las Vegas, NV 89129
                                                                                                        702-825-6060

                                                                                                        Sean N. Payne
                                                                                                   PAYNE LAW FIRM LLC
                                                                                              9550 S. Eastern Ave Suite 253-A213
                                                                                                     Las Vegas, NV 89123
                                                                                                         702-952-2733
Galpern v. Equifax Inc and    5:17-cv-05265    Northern District of                                      Scott E. Cole                      scole@scalaw.com               Consumer
     Trusted ID, Inc.                          California (San Jose                                    Corey B. Bennett                    cbennett@scalaw.com
                                                    Division)                                SCOTT COLE & ASSOCIATES, APC
                                                                                                  1970 Broadway Ninth Floor
                                                                                                      Oakland, CA 94612
                                                                                                         510-891-9800

                                                                                                  Timothy Paul Rumberger
                                                                                         LAW OFFICES OF TIMOTHY P. RUMBERGER
                                                                                                      1339 Bay Street
                                                                                                    Alameda, CA 94501
                                                                                                       510-841-5500




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                                                         Court                                                                                                              Financial or      Status
                                                                                                                                                                           Small Business

Gastineau et al v. Equifax, Inc.    1:17-cv-03769    Northern District of   Holzer & Holzer, LLC                 Alexandria Patel Rankin           arankin@holzerlaw.com      Consumer
                                                          Georgia                                                   Corey D. Holzer                cholzer@holzerlaw.com
                                                                                                                  Holzer & Holzer, LLC
                                                                                                           1200 Ashford Center North, Suite 410
                                                                                                                   Atlanta, GA 30338
                                                                                                                      770-392-0090

                                                                                                                       Jim Wyly
                                                                                                                  Wyly Rommel, PLLC
                                                                                                                    4004 Texas Blvd
                                                                                                                  Texarkana, TX 75503
                                                                                                                     903-334-8646


     Gay v. Equifax, Inc.           1:17-cv-02417    District of Colorado                                               PRO SE                       no email provided        Consumer      Yes by CTO - 1
                                                                                                                   William Alan Gay
                                                                                                                  2084 Creighton Drive
                                                                                                                   Golden, CO 80401


 Geller et al. v. Equifax, Inc.     9:17-cv-81056    Southern District of                                          Steven C. Holzman              scholzmanlaw@gmail.com      Consumer      Yes by CTO - 1
                                                          Florida                                            Law office of Steven C. Holzman
                                                                                                               4400 North Federal Highway         mwites@wklawyers.com
                                                                                                               Lighthouse Point, FL 33064
                                                                                                                      561-789-5366

                                                                                                                    Marc Aaron Wites
                                                                                                                     Wites Law Firm
                                                                                                               4400 North Federal Highway
                                                                                                               Lighthouse Point, FL 33064
                                                                                                                     954-570-8989




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                                                                       Plaintiffs' Counsel Table
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                                                   Court                                                                                                               Financial or     Status
                                                                                                                                                                      Small Business

 Gerstein et al v. Equifax    1:17-cv-05048    Northern District of                                    David H. Krieger                  notices@dannlaw.com             Consumer
Information Services LLC                            Georgia                                             George Haines
                                                                                                   Haines and Krieger, LLC
                                                                                               8985 S. Eastern Avenue, Suite 130
                                                                                                    Henderson, NV 89123
                                                                                                         702-880-5554

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                                                                                                       P.O. Box 6031040
                                                                                                 2728 Euclid Avenue, Suite 300
                                                                                                     Cleveland, OH 44103
                                                                                                         216-373-0539

Gersten and Obradovich v.     3:17-cv-01828    Southern District of                                  Edward D. Chapin                  ksharp@sanfordheisler.com         Consumer        Yes
       Equifax Inc.                              California (San                               SANFORD HEISLER SHARP, LLP             dfuschetti@sanfordheisler.com
                                                Diego Division)                                 655 West Broadway, Suite 1700         echapin2@sanfordheisler.com
                                                                                                    San Diego, CA 92101
                                                                                                       619-577-4250

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                                                                                                   111 Sutter St., Suite 975
                                                                                                  San Francisco, CA 94104
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                                                                                                        Kevin Sharp
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                                                                                                611 Commerce St., Suite 3100
                                                                                                    Nashville, TN 37203
                                                                                                       615-434-7001




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                                                                   Plaintiffs' Counsel Table
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                                               Court                                                                                                                   Financial or      Status
                                                                                                                                                                      Small Business

Gibson v. Equifax Inc.    1:17-cv-00466     District of Hawaii   Bickerton Dang LLP                    James J. Bickerton                 bickerton@bsds.com             Consumer      Yes by CTO - 1
                                                                                                    Bickerton Dang LLLP
                                                                                                   Bridget Gallagher Morgan           echapin2@sandfordheisler.com
                                                                                                         Fort St. Tower               dfuschetti@sanfordheisler.com
                                                                                                   745 Fort Street, Suite 801
                                                                                                      Honolulu, HI 96813                   morgan@bsds.com
                                                                                                         808-599-3811
                                                                                                                                       ksharp@sanfordheisler.com
                                                                                                    Edward Dewey Chapin
                                                                                                  Sanford Heisler Sharp, LLP
                                                                                                 655 W Broadway, Suite 1700
                                                                                                    San Diego, CA 92101
                                                                                                       (619) 577-4253

                                                                                                   Danielle Anne Fuschetti
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                                                                                                   111 Sutter St., Suite 975
                                                                                                  San Francisco, CA 94104
                                                                                                        415-795-2022

                                                                                                         Kevin Sharp
                                                                                                  Sanford Heisler Sharp, LLP
                                                                                                611 Commerce Street, Suite 3100
                                                                                                     Nashville, TN 37203
                                                                                                        615-434-7000




Gibson v. Equifax Inc.    5:17-cv-00973    Western District of                                         Joshua D. Wells                   jdw@federmanlaw.com             Consumer
                                              Oklahoma                                               William B. Federman                 wbf@federmanlaw.com
                                            (Oklahoma City                                       FEDERMAN & SHERWOOD
                                               Division)                                         10205 N. Pennsylvania Avenue
                                                                                                   Oklahoma City, OK 73120
                                                                                                        405-235-1560




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                                                                              Plaintiffs' Counsel Table
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                                                          Court                                                                                                                          Financial or      Status
                                                                                                                                                                                        Small Business

Gladwell et al. v. Equifax, Inc.     5:17-cv-04061    Southern District of                                             Leonard A. Bennett                  lenbennett@clalegal.com         Consumer      Yes by CTO - 1
             et al                                      West Virginia                                                Elizabeth Wilson Hanes                 elizabeth@clalegal.com
                                                                                                                      Craig C. Marchiando
                                                                                                           CONSUMER LITIGATION ASSOCIATES
                                                                                                            763 J. Clyde Morris Boulevard, Suite 1-A
                                                                                                                    Newport News, VA 23601
                                                                                                                          757-930-3660

  Goldweber v. Equifax Inc.          5:17-cv-05586    Northern District of                                           Willem F. Jonckheer               wjonckheer@schubertlawfirm.com      Consumer      Yes by CTO - 1
                                                          California                                                  Noah M. Schubert
                                                                                                                      Robert C. Schubert                      nschubert@sjk.law
                                                                                                               Schubert Jonckheer & Kolbe LLP
                                                                                                             Three Embarcadero Center, Suite 1650       rschubert@schubertlawfirm.com
                                                                                                                   San Francisco, CA 94111
                                                                                                                        (415) 788-4220


Gottesman et al v. Equifax, Inc.     1:17-cv-03498    Northern District of Evangelista Worley, LLC                   David James Worley                      jim@ewlawllc.com              Consumer
                                                           Georgia                                                 Evangelista Worley, LLC                   david@ewlawll.com
                                                                                                                8100 A Roswell Road, Suite 100               kristi@ewlawll.com
                                                                                                                      Atlanta, GA 30350
                                                                                                                        404-205-8400                       ggraigman@kgglaw.com

                                                                                                                       Gary S. Graifman
                                                                                                                          Jay I. Brody
                                                                                                            Kantrowitz, Goldhamer & Graifman, P.C.
                                                                                                                      210 Summit Avenue
                                                                                                                      Montvale, NJ 07645
                                                                                                                         201-391-7600

Gottlieb, et al. v. Equifax, Inc.    1:17-cv-07615      District of New                                              Neil Grossman                            neil@bgandg.com              Consumer      Yes by CTO - 1
                                                             Jersey                                     BRONSTEIN, GEWIRTZ & GROSSMAN, ESQS.
                                                                                                              144 N. Beverqyck Road, #187
                                                                                                                Lake Hiawatha, NJ 07034
                                                                                                                     973-335-6409

Gray & Garthright v. Equifax         6:17-cv-06095    Western District of                                        Annabell L. Patterson                                                     Consumer
 Information Services, LLC                             Arkansas (Hot                                        ANNABELLE LEE PATTERSON, PLC
                                                          Springs)                                                646 Quapaw Avenue
                                                                                                                 Hot Springs, AR 71901
                                                                                                                     501-701-0027




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                                                                                 Plaintiffs' Counsel Table
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                                                          Court                                                                                                                            Financial or      Status
                                                                                                                                                                                          Small Business

  Green et al v. Equifax, Inc.       1:17-cv-03487    Northern District of   Law Offices of David A.                  David Andrew Bain                     dbain@bain-law.com               Consumer
                                                           Georgia                Bain, LLC                    Law Offices of David A. Bain, LLC
                                                                                                                      1050 Promenade II
                                                                                                                   1230 Peachtree Street, NE
                                                                                                                      Atlanta, GA 30309
                                                                                                                         404-724-9990
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                                                                                                                 Goldman Scarlato & Penny, PC
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                                                                                                                       Jashua H. Grabar
                                                                                                                      Graber Law Office
                                                                                                                 1735 Market Street, Suite 3750
                                                                                                                    Philadelphia, PA 19103
                                                                                                                         267-507-6085

    Greenlee v. Equifax, Inc         5:17-cv-01929     Central District of                                             Jared M. Hartman             jared@sandiegoconsumerattorneys.com      Consumer      Yes by CTO - 1
                                                          California                                                     Babak Semnar                 bobsandiegoconsumerattorneys.com
                                                                                                                 SEMNAR & HARTMAN LLP
                                                                                                               400 South Melrose Drive, Suite 209
                                                                                                                        Vista, CA 92081
                                                                                                                         619-500-4187


Greenwald et al. v. Equifax, Inc.    1:17-cv-00438      District of New                                             Charles G. Douglas, III                mail@nhlawoffice.com              Consumer      Yes by CTO - 1
                                                          Hampshire                                              Douglas Leonard & Garvey PC
                                                                                                                      14 South St, Ste 5
                                                                                                                     Concord, NH 03301
                                                                                                                         603 224-1988




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                                                          Court                                                                                                                        Financial or      Status
                                                                                                                                                                                      Small Business

Grossberg et al. v. Equifax Inc.    1:17-cv-05280     Eastern District of                                               Orin R. Kurtz                     okurtz@gardylaw.com            Consumer
                                                     New York (Brooklyn                                           GARDY & NOTIS, LLP
                                                          Division)                                        126 East 56th Street, 8th Floor, Tower 56
                                                                                                                    New York, NY 10022
                                                                                                                        212-905-0509


 Gulley v. Equifax Inc. et al.      4:17-cv-04088    Western District of    Steele, Wright, Gray &                   Marshall Alan Wright              marshallwright@sbcglobal.net      Consumer      Yes by CTO - 1
                                                         Arkansas             Hitchinson, PLLC             Steele, Wright, Gray & Hitchinson, PLLC
                                                                                                                       523 Front Street
                                                                                                                         P.O. Box 588
                                                                                                                    Forrest City, AR 72336              ksharp@sanfordheisler.com
                                                                                                                        (870) 633-8575

                                                                                                                       Kevin Sharp
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                                                                                                              611 Commerce Street, Suite 3100
                                                                                                                   Nashville, TN 37203
                                                                                                                      615-434-7001




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                                                        Court                                                                                                                 Financial or      Status
                                                                                                                                                                             Small Business

Halpin, et al. v. Equifax, Inc.    1:17-cv-03872    Northern District of Evangelista Worley, LLC                   David James Worley                david@ewlawllc.com         Consumer
                                                         Georgia                                                  James M. Evangelista                jim@ewlawllc.com
                                                    (Atlanta Division)                                          Kristi Stahnke McGregor              krisit@ewlawllc.com
                                                                                                                Evangelista Worley, LLC
                                                                                                             8100 A Roswell Road, Suite 100
                                                                                                                   Atlanta, GA 30350
                                                                                                                      404-205-8400                  wbf@federmanlaw.com
                                                                                                                                                    clm@federmanlaw.com
                                                                                                                  William B. Federman               jdw@federmanlaw.com
                                                                                                                   Carin L. Marcussen
                                                                                                                     Joshua D. Wells
                                                                                                                 Federman & Sherwood
                                                                                                              10205 N. Pennsylvania Avenue          gnecf@classcounsel.com
                                                                                                                Oklahoma City, OK 73120
                                                                                                                      405-235-1560

                                                                                                                     Robert S. Green
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                                                                                                                  Green & Noblin, P.C.
                                                                                                          2200 Larkspur Landing Circle, Suite 101
                                                                                                                   Larkspur, CA 94939
                                                                                                                      415-477-6700


Hamilton et al v. Equifax, Inc.    1:17-cv-05266     Central District of   Green & Noblin, P.C.                      Robert S. Green                gnecf@classcounsel.com      Consumer      Yes by CTO - 1
                                                        California                                                 James Robert Noblin
                                                                                                                   Green and Noblin PC
                                                                                                          2200 Larkspur Landing Circle, Suite 101
                                                                                                                   Larkspur, CA 94939
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                                                                                                              10205 N. Pennsylvania Avenue
                                                                                                                Oklahoma City, OK 73120
                                                                                                                      405-235-1560




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                                                                       Plaintiffs' Counsel Table
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     Case Name                 Case Number          Original          Local Counsel   Plaintiffs' Counsel & Contact Information         Email Addresses               Consumer,        Transfer
                                                     Court                                                                                                            Financial or      Status
                                                                                                                                                                     Small Business

  Hamre et al v. Equifax        3:17-cv-00196     District of North                                     Jordan M. Lewis                     jml@kulaw.com               Consumer      Yes by CTO - 1
Information Services, LLC                              Dakota                                            Kelley Uustal
                                                                                                     Courthouse Law Plaza               mmiller@solberglaw.com
                                                                                                  700 SE Third Ave., Suite 300          tmiller@solberglaw.com
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                                                                                                    Todd Michael Miller
                                                                                                SOLBERG STEWART MILLER
                                                                                                       P.O. Box 1897
                                                                                                   Fargo, ND 58107-1897
                                                                                                       701-237-3166


Harper v. Equifax Inc. et al    1:17-cv-11785       District of                                          Jeremy Heisler                jheisler@sanfordheisler.com      Consumer      Yes by CTO - 1
                                                   Massachusetts                                       Andrew C. Melzer                amelzer@sanfordheisler.com
                                                                                                   Sanford Heisler Sharp, LLP          amiller@sanfordheisler.com
                                                                                             1350 Avenue of the Americas, 31st Floor    ksharp@sanfordheisler.com
                                                                                                     New York, NY 10019
                                                                                                        (646) 402-5650

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                                                                                                   Sanford Heisler Sharp, LLP
                                                                                              1666 Connecticut Ave., NW, Suite 300
                                                                                                     Washington, DC 20009
                                                                                                         202-499-5200

                                                                                                       Kevin H. Sharp
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                                                                                                611 Commerce Street, Suite 3100
                                                                                                     Nashville, TN 37203
                                                                                                        615-434-7000




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                                                                              Plaintiffs' Counsel Table
                                                                                    CONSUMER CASES
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                                                          Court                                                                                                                   Financial or      Status
                                                                                                                                                                                 Small Business

 Hebrlee v. Equifax, Inc. et al.    1:17-cv-07120    Northern District of Duncan Law Group, LLC                     Robert R Duncan                rrd@duncanlawgroup.com           Consumer      Yes by CTO - 1
                                                           Illinois                                               James Henry Podolny               jp@duncanlawgroup.com
                                                                                                                 Duncan Law Group, LLC
                                                                                                                 161 N. Clark, Suite 2550          ksharp@sanfordheisler.com
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                                                                                                                   Nashville, TN 37203
                                                                                                                     (615) 434-7001

  Henderson v. Equifax, Inc.        1:17-cv-03829    Northern District of Conley Griggs Partin LLP                    Ranse M. Partin               ranse@conletgriggs.com          Consumer
                                                          Georgia                                              Conley Griggs Partin, LLP- GA
                                                                                                                  Building One, Suite 300
                                                                                                                4200 Northside Parkway, NW
                                                                                                                     Atlanta, GA 30327
                                                                                                                       404-467-1155



Henderson v. Equifax, Inc. et al    0:17-cv-04289    District of Minnesota                                           Joseph C Bourne               jbourne@gustafsongluek.com       Consumer      Yes by CTO - 1
                                                                                                                  Kaitlyn Leeann Dennis            kdennis@gustafsongluek.com
                                                                                                                    Daniel E Gustafson           dgustafson@gustafsongluek.com
                                                                                                                    Daniel C Hedlund              dhedlund@gustafsongluek.com
                                                                                                                       Eric S Taubel               etaubel@gustafsongluek.com
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                                                                                                              120 South 6th Street, Suite 2600      dgallucci@nastlaw.com
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                                                                                                                      612-333-8844                    dnast@nastlaw.com
                                                                                                                                                     jnroda@nastlaw.com
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                                                                                                                      Joseph N. Roda
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                                                                                                               1101 Market Street, Suite 2801
                                                                                                                  Philadelphia, PA 19107
                                                                                                                       215-923-9300




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                                                                           Plaintiffs' Counsel Table
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                                                        Court                                                                                                                Financial or      Status
                                                                                                                                                                            Small Business

Hensley v. Equifax, Inc. and      5:17-cv-04105     Eastern District of                                            Dianne M. Nast                   dnast@nastlaw.com          Consumer      Yes on 12/11/17
Equifax Information Services                           Pennslyvania                                               NASTLAW LLC
            LLC                                    (Allentown Division)                                     1101 Market Street Suite 2801
                                                                                                               Philadelphia, PA 19107
                                                                                                                    215-923-9300



Highfield v. Equifax, Inc. and    5:17-cv-01567    Northern District of POPE MCGLAMRY, P.C.                        Chris T. Hellums              chrish@pittmandutton.com      Consumer           Yes
Equifax Information Solutions,                          Alabama                                                   Johnathan S. Mann              jonm@pittmandutton.com
             LLC                                     (Northeastern                                                Michael C. Bradley             mikeb@pittmandutton.com
                                                        Division)                                                  Austin B. Whitten            austinw@pittmandutton.com
                                                                                                           Pittman, Dutton & Hellums, P.C.
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                                                                                                                    205-322-8880

                                                                                                                  N. Kirkland Pope
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                                                                                                            3391 Peachtree Road, Suite 300
                                                                                                                  Atlanta, GA 30326
                                                                                                                    404-523-7706

  Horne et al v. Equifax Inc.     1:17-cv-03713    Northern District of Robbins Geller Rudman &                     John C. Herman                 jherman@rgrdlaw.com         Consumer
                                                        Georgia               Dowd, LLP                               Paul J. Geller                pgeller@rgrdlaw.com
                                                                                                                  Stuart A. Davidson              sdavidson@rgrdlaw.com
                                                                                                       Robbins Geller Rudman & Dowd, LLP - GA
                                                                                                                     Monarch Plaza                  robl@hbsslaw.com
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                                                                                                             1918 8th Avenue, Suite 3300
                                                                                                                  Seattle, WA 98101
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                                                                   Plaintiffs' Counsel Table
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                                               Court                                                                                                            Financial or      Status
                                                                                                                                                               Small Business

House v. Equifax, Inc.    4:17-cv-00392    Southern District of   Galligan & Reid PC                   Brian P Galligan            bgalligan@galliganlaw.com      Consumer      Yes by CTO - 1
                                                  Iowa                                             GALLIGAN & REID PC              ksharp@sanfordheisler.com
                                                                                                   300 Walnut Street, Suite 5
                                                                                                  Des Moines, IA 50309-2239
                                                                                                        515-282-3333

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                                                                                                611 Commerce Street, Suite 3100
                                                                                                     Nashville, TN 37203
                                                                                                        615-434-7001


House v. Equifax, Inc.    2:17-cv-02523     District of Kansas                                       Mitchell L. Burgess           mitch@burgesslawkc.com         Consumer
                                              (Kansas City                                         BURGESS LAW FIRM
                                                Division)                                       4310 Madison Avenue Suite 100
                                                                                                   Kansas City, MO 64111
                                                                                                       816-471-1700
                                                                                                                                     phyllis@ngkclaw.com
                                                                                                      Phyllis A. Norman
                                                                                                   NORMAN & GRAVES
                                                                                                4310 Madison Avenue Suite 120
                                                                                                   Kansas City, MO 64111
                                                                                                        816-895-8989                 phalenlaw@yahoo.com

                                                                                                      Ralph K. Phalen
                                                                                            RALPH K PHALEN, ATTORNEY AT LAW
                                                                                                4310 Madison Avenue Suite 140
                                                                                                   Kansas City, MO 64111
                                                                                                       816-589-0753




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                                                                            Plaintiffs' Counsel Table
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                                                      Court                                                                                                                     Financial or      Status
                                                                                                                                                                               Small Business

Hyatt v. Equifax Information    1:17-cv-01670     Eastern District of   First Albrecht & Blondis                  Lawrence G Albrecht             lalbrecht@fabattorneys.com      Consumer      Yes by CTO - 1
     Services LLC et al                               Wisonsin                     SC                                 James P End                    jend@fabattorneys.com
                                                                                                                Christopher G Meadows            cmeadows@fabattorneys.com
                                                                                                              First Albrecht & Blondis SC
                                                                                                               158 N Broadway - Ste 600
                                                                                                              Milwaukee, WI 53202-6015
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  Ialacci v. Equifax, Inc.      5:17-cv-05647    Northern District of                                                Harry Shulman               harry@shulmanlawfirm.com         Consumer      Yes by CTO - 1
                                                     California                                                      Shulman Law
                                                                                                                   44 Montgomery St.               weiner@halunenlaw.com
                                                                                                                       Suite 3830
                                                                                                                San Francisco, CA 94104
                                                                                                                     415-901-0505

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                                                                                                                   1650 IDS Center
                                                                                                                80 South Eighth Street
                                                                                                                Minneapolis, MN 55402
                                                                                                                    612-605-4098

   Irwin v. Equifax, Inc.       5:17-cv-05735    Northern District of                                              Derek G. Howard               derek@derekhowardlaw.com         Consumer      Yes by CTO - 1
                                                     California                                                  Ashley Marie Romero             ashley@derekhowardlaw.com
                                                                                                            Derek G. Howard Law Firm, Inc.
                                                                                                                   42 Miller Avenue                dan@jmglawoffices.com
                                                                                                                Mill Valley, CA 94941
                                                                                                                     415-432-7192

                                                                                                                 Daniel Joseph Mulligan
                                                                                                            Jenkins, Mulligan & Gabriel , LLP
                                                                                                          10085 Carroll Canyon Road, Suite 210
                                                                                                                  San Diego, CA 92131
                                                                                                                      858-527-1792




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                                                                           Plaintiffs' Counsel Table
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                                                      Court                                                                                                               Financial or      Status
                                                                                                                                                                         Small Business

  Jimenez v. Equifax, Inc.       1:17-cv-03885    Northern District of   Kevin T Moore, P.C.                   Jeff S. Westerman                ktm@ktmtriallaw.com         Consumer
                                                       Georgia                                                Westerman Law Corp.
                                                                                                        1875 Century Park East, Suite 2200
                                                                                                             Los Angeles, CA 90067
                                                                                                                 310-698-7880

                                                                                                              Kevin Trent Moore
                                                                                                             Kevin T. Moore, P.C.
                                                                                                       6111 Peachtree Dunwoody RD., NE
                                                                                                             Building C, Suite 201
                                                                                                              Atlanta, GA 30328
                                                                                                                 770-396-3622


 Johns et al v. Equifax Inc.     5:17-cv-05372    Northern District of                                           Michael W. Sobol                 msobol@lchb.com           Consumer      Yes by CTO - 1
                                                      California                                     Lieff Cabraser Heimann & Bernstein, LLP
                                                                                                             Embarcadero Center West
                                                                                                            275 Battery Street, 29th Floor
                                                                                                           San Francisco, CA 94111-3339
                                                                                                                  (415) 956-1000

Johnson et al v. Equifax, Inc    3:17-cv-03135    Northern District of                                        Charles Austin Reams             austin@reamslawfirm.com      Consumer      Yes by CTO - 1
                                                        Texas                                                      Reams Law
                                                                                                            9208 North Kelley Avenue
                                                                                                            Oklahoma City, OK 73131
                                                                                                                 405-285-6878




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                                                                                Plaintiffs' Counsel Table
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                                                            Court                                                                                                                     Financial or      Status
                                                                                                                                                                                     Small Business

Johnson et al v. Equifax, Inc et       3:17-cv-02464    Northern District of                                              John Green                      jlgreen488@aol.com            Consumer      Yes by CTO - 1
              al                                              Texas                                            John L Green, CPA, Attorney at Law
                                                                                                                4888 Loop Central Drive, Suite 445    craig.hemphill@ckhlopllc.com
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                                                                                                                         214-517-1929

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                                                                                                                   The Woodlands, TX 77380
                                                                                                                          281- 475-2022

                                                                                                                      Marc H Richman
                                                                                                               Law Offices of Marc H Richman
                                                                                                                304 S Record Street, Suite 200
                                                                                                                      Dallas, TX 75202
                                                                                                                       214-742-3133
    Johnson v. Equifax Inc.            6:17-cv-00100    District of Montana                                          Robert Farris-Olsen                 rfolsen@mswdlaw.com            Consumer      Yes by CTO - 1
                                                                                                       MORRISON, SHERWOOD, WILSON & DEOLA, PLLP
                                                                                                                  401 N Last Chance Gulch
                                                                                                                        PO Box 557
                                                                                                                     Helena, MT 59624
                                                                                                                       406-442-3261


Jones et al. v. Equifax Inc. et al.    3:17-cv-00211    Northern District of Gordon Shaw Law Group,                      Kevin Sharp                   ksharp@sanfordheisler.com        Consumer      Yes by CTO - 1
                                                           Mississippi               PLLC                      SANFORD HEISLER SHARP, LLP
                                                                                                                611 Commerce Street, Suite 3100           ashaw@lawjhg.com
                                                                                                                     Nashville, TN 37203
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                                                                                                                  Covington, TN 38019
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                                                                           Plaintiffs' Counsel Table
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                                                       Court                                                                                                               Financial or      Status
                                                                                                                                                                          Small Business

Joof & Sogomonyan v. Equifax,     2:17-cv-06659     Central District of                                           Armen Kiramijyan               akiramijyan@kaass.com       Consumer           Yes
            Inc.                                   California (Western                                            Hovsep Hovsepyan               hhovsepyan@kaass.com
                                                     Division - Los                                                 KAASS LAW
                                                        Angeles)                                               313 East Broadway # 944
                                                                                                                 Glendale, CA 91209
                                                                                                                    310-943-1171


 Jorge & Durrang v. Equifax       2:17-cv-05404    Eastern District of                                              Ryan L. Gentile                                          Consumer
           Inc.                                    New York (Central                                               Gus M. Farinella
                                                       Division)                                     LAW OFFICES OF GUS MICHAEL FARINELLA
                                                                                                            110 Jericho Turnpike Suite 100
                                                                                                                Floral Park, NY 11001
                                                                                                                     516-326-2333


 Kalmick et al v. Equifax Inc.    1:17-cv-00954    Western District of                                              Paul Colley, Jr.               paul@colleylaw.net        Consumer      Yes by CTO - 1
                                                        Texas                                                         Jarrett Stone               jarrett@colleylaw.net
                                                                                                                   Colley Firm, P.C.
                                                                                                         12912 Hill Country Blvd., Suite F-234
                                                                                                                  Austin, TX 78738
                                                                                                                     512-477-2001

   Katz et al v. Equifax, Inc     1:17-cv-03798    Northern District of Evangelista Worley, LLC                  David James Worley               david@ewlawllc.com         Consumer
                                                        Georgia                                                 James M. Evangelista               jim@ewlawllc.com
                                                                                                              Kristi Stahnke McGregor             kristi@ewlawllc.com
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                                                                                                           8100 A Roswell Road, Suite 100        jabraham@aftlaw.com
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                                                                            Plaintiffs' Counsel Table
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                                                       Court                                                                                                                         Financial or      Status
                                                                                                                                                                                    Small Business

  Kealy et al v. Equifax, Inc.    1:17-cv-03443    Northern District of                                           James M. Evangelista                   jme@ewlawllc.com              Consumer           Yes
                                                    Georgia (Atlanta                                                David J. Worley                      david@ewlawll.com
                                                        Division)                                               Kristi Stahnke McGregor                  kristi@ewlawll.com
                                                                                                            EVANGELISTA WORLEY, LLC
                                                                                                             8100 A Roswell Road, Suite 100
                                                                                                                   Atlanta, GA 30350
                                                                                                                      404-205-8400

  Kemp v. Equifax, Inc. et al     1:17-cv-00147    Northern District of                                            Jason L. Nabors                   jason@langstonlawyers.com         Consumer      Yes by CTO - 1
                                                      Mississippi                                  SMITH, PHILLIPS, MITCHELL & SCOTT - Batesville
                                                                                                                  P.O. Drawer 1586
                                                                                                                Batesville, MS 38606
                                                                                                                   (662) 563-4613

Kendall v. Equifax Information    1:17-cv-06922      District of New      Harris Lowry Manton,                     Javier L. Merino                     jmerino@dannlaw.com            Consumer      Yes by CTO - 1
        Services, LLC                                     Jersey                   LLP                         DANN & MERINO PC
                                                                                                           One Meadowlands Plaza, Suite 200             tom@attorneyzim.com
                                                                                                              East Rutherford, NJ 07073
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                                                                                                                Philadelphia, PA 19103
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                                                                        Plaintiffs' Counsel Table
                                                                              CONSUMER CASES
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                                                    Court                                                                                                               Financial or     Status
                                                                                                                                                                       Small Business

                                                                                                      Matthew I. Knepper            matthew.knepper@knepperclark.com      Consumer
                                                                                                        Miles N. Clark                miles.clark@knepperclark.com
                                                                                                   KNEPPER & CLARK, LLC
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                                                                                                         702-825-6060                     asacks@sackslaw.com
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                                                                                                         Sean N. Payne
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                                                                                                      Las Vegas, NV 89123                molly@hlmlawfirm.com
                                                                                                          702-952-2733

                                                                                                      Stephen G. Lowry
                                                                                                       Jeffrey R. Harris
                                                                                                   Madeline E. McNeeley
                                                                                               HARRIS LOWRY MANTON LLP
                                                                                                 1201 Peachtree St NW # 900
                                                                                                     Atlanta, GA 30361
                                                                                                        404-961-7650
 Kilgore et al. v. Equifax    1:17-cv-00942      District of New                                     Geoffrey R. Romero                   geoff26@hotmail.com             Consumer        Yes
Information Services LLC                             Mexico                                LAW OFFICES OF GEOFFREY R. ROMERO
                                                 (Albuquerque                                      4801 All Saints Rd. NW
                                                    Division)                                      Albuquerque, NM 87120
                                                                                                       502-226-0935
                                                                                                                                         paul@zebrowskilaw.com
                                                                                                        Paul Zebrowski                   tom@zebrowskilaw.com
                                                                                                       Thomas A. Biscup
                                                                                                      ZEBROWSKI LAW
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                                                                                                    Albuquerque, NM 87120
                                                                                                         505-715-5161

  King v. Equifax, Inc.       1:17-cv-03157     Southern District of                                     Irwin B. Levin                ilvein@cohenandmalad.com           Consumer
                                               Indiana (Indianapolis                                   Richard E. Shevitz             rshevitz@cohenandmalad.com
                                                     Division)                                         Vess Allen Miller              vmiller@cohenandmalad.com
                                                                                                        Lynn A. Toops                  ltoops@cohenandmalad.com
                                                                                                   COHEN & MALAD LLP
                                                                                                 One Indiana Square, Suite 1400
                                                                                                    Indianapolis, IN 46204
                                                                                                         317-636-6481




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                                                                               Plaintiffs' Counsel Table
                                                                                      CONSUMER CASES
                                                                 In re: Equifax, Inc., Customer Data Security Breach Litigation
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        Case Name                    Case Number           Original           Local Counsel      Plaintiffs' Counsel & Contact Information         Email Addresses              Consumer,        Transfer
                                                            Court                                                                                                               Financial or      Status
                                                                                                                                                                               Small Business

Kishel et al v. Equifax Inc. et al    1:17-cv-05139    Northern District of                                        Kevin H. Sharp                 ksharp@sanfordheisler.com       Consumer
                                                            Georgia                                           Sanford Heisler Sharp, LLP
                                                                                                           611 Commerce Street , Suite 3100
                                                                                                                 Nashville, TN 37203
                                                                                                                    615-343-7001

 Klavans v. Equifax Inc. et al        1:17-cv-01346    District of Delaware    Shelsby & Leoni                   Robert Joseph Leoni                  rleoni@mslde.com            Consumer      Yes by CTO - 1
                                                                                                                  Gilbert F. Shelsby                 gshelsby@mslde.com
                                                                                                                  Shelsby & Leoni
                                                                                                                   221 Main Street
                                                                                                                 Stanton, DE 19804                amelzer@sanfordheisler.com
                                                                                                                    302-995-6210

                                                                                                                   Andrew Melzer
                                                                                                              Sanford Heisler Sharp, LLP
                                                                                                        1350 Avenue of the Americas, 31st Floor
                                                                                                                New York, NY 10019                ksharp@sanfordheisler.com
                                                                                                                    646-402-5650

                                                                                                                  Kevin H. Sharp
                                                                                                             Sanford Heisler Sharp, LLP
                                                                                                           611 Commerce Street, Suite 3100
                                                                                                                Nashville, TN 37203
                                                                                                                   615-434-7001

   Klein et al v. Equifax Inc.        1:17-cv-05489     Eastern District of                                     Jeremy Alan Lieberman              jalieberman@pomlaw.com         Consumer      Yes by CTO - 1
                                                            New York                                                Pomerantz LLP
                                                                                                                   600 Third Avenue
                                                                                                                 New York, NY 10016
                                                                                                                     212-661-1100




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                                                                              CONSUMER CASES
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                                                    Court                                                                                                              Financial or     Status
                                                                                                                                                                      Small Business

 Knepper et al. v. Equifax    2:17-cv-02368     District of Nevada                                     David H. Krieger              dkrieger@hainesandkrieger.com       Consumer
Information Services, LLC                      (Las Vegas Division)                                     George Haines                ghaines@hainesandkrieger.com
                                                                                                  HAINES & KRIEGER, LLC
                                                                                                 8985 S. Eastern Ave Suite 350
                                                                                                    Henderson, NV 89123
                                                                                                         702-880-5554              matthew.knepper@knepperclark.com
                                                                                                                                     miles.clark@knepperclark.com
                                                                                                     Matthew I. Knepper
                                                                                                       Miles N. Clark
                                                                                                  KNEPPER & CLARK, LLC
                                                                                             10040 W. Cheyenne Ave Suite 170-109
                                                                                                    Las Vegas, NV 89129                seanpayne@spaynelaw.com

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                                                                                              9550 S. Eastern Ave Suite 253-A213
                                                                                                     Las Vegas, NV 89123                 tom@attorneyzim.com

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                                                                                              ZIMMERMAN lAW oFFICES, p.c.               SMM@cliffordlaw.com
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                                                                                                     Chicago, IL 60602

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                                                                                               CLIFFORD LAW OFFICES, P.C.
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                                                                                                     Chicago, IL 60602
                                                                                                        312 899 9090




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                                                                              Plaintiffs' Counsel Table
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       Case Name                   Case Number          Original            Local Counsel          Plaintiffs' Counsel & Contact Information          Email Addresses                   Consumer,        Transfer
                                                         Court                                                                                                                          Financial or      Status
                                                                                                                                                                                       Small Business

Kohn et al v. Equifax Inc. et al    1:17-cv-07257      District of New                                              Julio C. Gomez                     jgomez@gomezllc.com                Consumer      Yes by CTO - 1
                                                            Jersey                                                   GOMEZ LLC
                                                                                                                  The Stucke Building             jkanterman@stonemagnalaw.com
                                                                                                               111 Quimby Street, Suite 8         rmagnanini@stonemagnalaw.com
                                                                                                                  Westfield, NJ 07090               dstone@stonemagnalaw.com
                                                                                                                     908-789-1080

                                                                                                                  Jason S. Kanterman
                                                                                                                 Robert A. Magnanini
                                                                                                                    David S. Stone
                                                                                                             STONE & MAGNANINI LLP
                                                                                                             100 Connell Drive, Suite 2200
                                                                                                              Berkley Heights, NJ 07922
                                                                                                                     973-218-1111

  Krachanus v. Equifax, Inc.        1:17-cv-04694    Northern District of   Jonathan W. Johnson,                Jonathan Wesley Johnson         jwj@jonathanjohnsonatlantalawyer.com      Consumer
                                                          Georgia                   LLC                        Jonathan W. Johnson, LLC
                                                                                                           2296 Henderson Mill Rd., Suite 304          geragos@geragos.com
                                                                                                                   Atlanta, GA 30345
                                                                                                                     404-298-0795

                                                                                                                Benjamin Jared Meiselas
                                                                                                                  Geragos & Geragos
                                                                                                               644 South Figueroa Street
                                                                                                               Historic Engine Co. No. 28
                                                                                                                Los Angeles, CA 90017
                                                                                                                      213-625-3900
   Krawcyk v. Equifax, Inc.         4:17-cv-00760    Western District of                                          Mitchell L. Burgess                 mitch@burgesslawkc.com              Consumer
                                                     Missouri (Kansas                                            Burgess Law Firm PC
                                                      City Division)                                        4310 Madison Avenue, Suite 100             phalenlaw@yahoo.com
                                                                                                                Kansas City, MO 64111
                                                                                                                    816-471-1700

                                                                                                                   Ralph K. Phalen
                                                                                                            4310 Madison Avenue, Suite 140
                                                                                                                Kansas City, MO 64111
                                                                                                                    816-589-0753




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                                                                         Plaintiffs' Counsel Table
                                                                               CONSUMER CASES
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     Case Name                Case Number          Original            Local Counsel          Plaintiffs' Counsel & Contact Information     Email Addresses        Consumer,       Transfer
                                                    Court                                                                                                          Financial or     Status
                                                                                                                                                                  Small Business

Kuhns v. Equifax Inc. et al    1:17-cv-03463    Northern District of                                         David Andrew Bain               dbain@bain-law.com      Consumer
                                                     Georgia                                          Law Offices of David A. Bain, LLC
                                                                                                             1050 Promenade II
                                                                                                          1230 Peachtree Street, NE
                                                                                                             Atlanta, GA 30309
                                                                                                                404-724-9990                    ek@alk.com

                                                                                                               Eduard Korsinsky
                                                                                                          Levi & Korsinsky, LLP -NY
                                                                                                                30 Broad Street
                                                                                                                  24th Floor
                                                                                                             New York, NY 10004
                                                                                                                 212-363-7500
  Kuss v. Equifax, Inc.        1:17-cv-03436    Northern District of   Griffin & Strong, PC                    Rodney K. Strong             rodney@gspclaw.com       Consumer        Yes
                                                 Georgia (Atlanta                                               David J. Maher               david@gspclaw.com
                                                     Division)                                            GRIFFIN & STRONG, P.C.
                                                                                                       235 Peachtree Street NE, Suite 400
                                                                                                              Atlanta, GA 30303
                                                                                                                404-584-9777
                                                                                                                                             sas@chimicles.com
                                                                                                             Benjamin F. Johns               bfj@chimicles.com
                                                                                                        CHIMICLES & TIKELLIS LLP
                                                                                                            One Haverford Centre
                                                                                                           361 West Lancaster Ave
                                                                                                            Haverford, PA 19041
                                                                                                               610-642-8500




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                                                         Court                                                                                                                   Financial or     Status
                                                                                                                                                                                Small Business

LaGasse, et al. v. Equifax Inc.,    1:17-cv-03745    Northern District of        W. Pitts Carr                      Stephen D. Susman*              ssusman@susmangodfrey.com      Consumer
            et al.                                        Georgia             Alex D. Weatherby                  SUSMAN GODFREY LLP
                                                                            CARR & WEATHERBY,                   1000 Louisiana St., Suite 5100
                                                                                     LLP                             Houston, TX 77002                smolo@mololamken.com
                                                                            4200 Northside Parkway                     713-651-9366                  jweiner@mololamken.com
                                                                                     NW                                                             mchurch@mololamken.com
                                                                                 Building 10                          Steven F. Molo*               dmichaeli@mololamken.com
                                                                              Atlanta, GA 30327                      Justin B. Weiner*
                                                                                404-442-9000                      Megan Cunniff Church*
                                                                                                                     Daniel Michaeli*                btsirolly@mololamken.com
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                                                                                                                  300 North LaSalle Street
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                                                                                                                600 New Hampshire Ave. NW
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                                                                                                                       202-556-2000

                                                                                                                        W. Pitts Carr
                                                                                                                     Alex D. Weatherby
                                                                                                                CARR & WEATHERBY, LLP
                                                                                                           4200 Northside Parkway NW, Building 10
                                                                                                                     Atlanta, GA 30327
                                                                                                                        404-442-9000




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                                                                           Plaintiffs' Counsel Table
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                                                       Court                                                                                                            Financial or     Status
                                                                                                                                                                       Small Business

Lang & Pantek v. Equifax          1:17-cv-06519    Northern District of                                            Rusty A. Payton              payton@dannlaw.com        Consumer
Information Services, LLC                           Illinois (Chicago                                              PAYTONDANN
                                                         Division)                                             4422 N. Ravenswood Ave
                                                                                                                  Chicago, IL 60640
                                                                                                                    312-702-1000
                                                                                                                                                nick@attorneyzim.com
                                                                                                              Thomas A. Zimmerman, Jr.          tom@attorneyzim.com
                                                                                                                 Nickolas J. Hagman
                                                                                                          ZIMMERMAN LAW OFFICES, P.C.            rac@cliffordlaw.com
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                                                                                                                 Chicago, IL 60602
                                                                                                                   312-440-0020

                                                                                                                   Robert Clifford
                                                                                                                  Shannon McNulty
                                                                                                           CLIFFORD LAW OFFICES, P.C.
                                                                                                           120 N. LaSalle Street, Suite 3100
                                                                                                                  Chicago, IL 60602
                                                                                                                    312-899-9090
Lapter et al. v. Equifax, Inc.    1:17-cv-03445    Northern District of Evangelista Worley, LLC                 James M. Evangelista             jme@ewlawllc.com         Consumer        Yes
                                                    Georgia (Atlanta                                               David J. Worley               david@ewlawll.com
                                                        Division)                                              Kristi Stahnke McGregor           kristi@ewlawll.com
                                                                                                           EVANGELISTA WORLEY, LLC
                                                                                                            8100A Roswell Road, Suite 100
                                                                                                                  Atlanta, GA 30350             hlongman@ssbny.com
                                                                                                                     404-205-8400                memert@ssbny.com
                                                                                                                                                 mklein@ssbny.com
                                                                                                                 Howard T. Longman               pkslyne@ssbny.com
                                                                                                                    Michael Klein
                                                                                                                    Melissa Emert
                                                                                                                    Patrick Slyne
                                                                                                              STULL, STULL & BRODY
                                                                                                                  6 East 45th Street
                                                                                                                New York, NY 10017
                                                                                                                    212-687-7230




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                                                                             Plaintiffs' Counsel Table
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                                                       Court                                                                                                                               Financial or      Status
                                                                                                                                                                                          Small Business

Larson et al v. Equifax, Inc.    1:17-cv-03905    Northern District of   Law Offices of David A.                    David Andrew Bain                          dbain@bain-law.com            Consumer
                                                       Georgia                Bain, LLC                      Law Offices of David A. Bain, LLC
                                                                                                                    1050 Promenade II
                                                                                                                 1230 Peachtree Street, NE                     goldman@lawgsp.com
                                                                                                                    Atlanta, GA 30309
                                                                                                                       404-724-9990

                                                                                                                     Mark S. Goldman
                                                                                                               Goldman Scarlato & Penny, P.C.
                                                                                                                    Eight Tower Bridge
                                                                                                              161 Washington Street, Suite 1025
                                                                                                                  Conshohocken, PA 19428
                                                                                                                       484-342-0700


  Lawyer v. Equifax Inc.         4:17-cv-03161    Southern District of                                                 Robert C Hilliard                      bobh@hmglawfirm.com            Consumer      Yes by CTO - 1
                                                        Texas                                                   Hilliard Munoz Gonzales LLP
                                                                                                                  719 S Shoreline, Ste 500
                                                                                                                  Corpus Christi, TX 78401
                                                                                                                         361-882-1612

 Lee et al. v. Equifax, Inc.     5:17-cv-05553    Northern District of                                                Gayle Meryl Blatt                          gmb@cglaw.com               Consumer      Yes by CTO - 1
                                                      California                                     Casey Gerry Schenk Francavilla Blatt & Penfield LLP
                                                                                                                      110 Laurel Street
                                                                                                                    San Diego, CA 92101
                                                                                                                       619-238-1811

Levy v. Equifax Information      1:17-cv-05354     Eastern District of                                               Amir J. Goldstein                     ajg@consumercounselgroup.com      Consumer
       Services LLC                               New York (Brooklyn                                               591 Broadway Suite 3A
                                                       Division)                                                    New York, NY 10012
                                                                                                                       212-966-5253




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                                                                           Plaintiffs' Counsel Table
                                                                                 CONSUMER CASES
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     Case Name                  Case Number           Original           Local Counsel            Plaintiffs' Counsel & Contact Information   Email Addresses           Consumer,       Transfer
                                                       Court                                                                                                            Financial or     Status
                                                                                                                                                                       Small Business

   Lewis v. Equifax, Inc.        1:17-cv-03863    Northern District of Conley Griggs Partin LLP                    Ranse M. Partin            ranse@conletgriggs.com      Consumer
                                                       Georgia                                              Conley Griggs Partin, LLP- GA
                                                                                                               Building One, Suite 300
                                                                                                             4200 Northside Parkway, NW
                                                                                                                  Atlanta, GA 30327
                                                                                                                    404-467-1155

                                                                                                                   Lee A. Cirsch
                                                                                                                   W. Mark Lanier
                                                                                                              The Lanier Law Firm - TX
                                                                                                                6810 FM 1960 West
                                                                                                                 Houston, TX 77069
                                                                                                                   713-659-5200

 Lipchitz v. Equifax, Inc.       1:17-cv-03457    Northern District of Evangelista Worley, LLC                  James M. Evangelista           jme@ewlawllc.com           Consumer        Yes
                                                   Georgia (Atlanta                                                David J. Worley             david@ewlawll.com
                                                       Division)                                               Kristi Stahnke McGregor         kristi@ewlawll.com
                                                                                                           EVANGELISTA WORLEY, LLC
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                                                                                                            FEDERMAN & SHERWOOD
                                                                                                            10205 N. Pennsylvania Avenue
                                                                                                                Oklahoma, OK 73120
                                                                                                                   405-235-1560

Lynch et al. v. Equifax, Inc.    4:17-cv-00640     Eastern District of                                           L. Kirstine Rogers                                       Consumer
                                                    Texas (Sherman                                      STECKLER GRESHAM COCHRAN LLP
                                                       Division)                                           12720 Hillcrest Road, Suite 1045
                                                                                                                  Dallas, TX 75203
                                                                                                                   972-387-4040




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                                            Case 1:17-md-02800-TWT Document 87-1 Filed 01/10/18 Page 62 of 114



                                                                       Plaintiffs' Counsel Table
                                                                            CONSUMER CASES
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                                                  Court                                                                                                           Financial or      Status
                                                                                                                                                                 Small Business

 Mallh v. Equifax, Inc.     1:17-cv-05555     Eastern District of                                         Gregory Joseph Allen           greg@gjallenlaw.com        Consumer      Yes by CTO - 1
                                                  New York                                                    Home Office
                                                                                                        120 W Wilson Ave #1135           law@herminalaw.com
                                                                                                          Glendale, CA 91203
                                                                                                             203-535-4636

                                                                                                            John W. Hermina
                                                                                                           Hermina Law Group
                                                                                                            8327 Cherry Lane
                                                                                                            Laurel, MD 20707
                                                                                                             (301)206-3166

Maloney v. Equifax, Inc.    2:17-cv-01238     Eastern District of                                         Mark A. Eldridge              medlridge@ademilaw.com      Consumer
                                                  Wisconsin                                                Shpetim Ademi                 sademi@ademilaw.com
                                                 (Milwaukee                                                John D. Blythin               jblythin@ademilaw.com
                                                  Division)                                                 Jesse Fruchter                 jfruchter@ademilaw
                                                                                                       ADEMI & O'REILLY LLP
                                                                                                        3620 East Layton Ave
                                                                                                         Cudahy, WI 53110
                                                                                                            414-482-8004


Manaher v. Equifax, Inc.    1:17-cv-03447    Northern District of   Webb, Klase & Lemond,                    E. Adam Webb                  adam@webbllc.com         Consumer           Yes
                                              Georgia (Atlanta              LLC                          G. Franklin Lemond, Jr.         flemond@webbllc.com
                                                  Division)                                         WEBB, KLASE & LEMOND, LLC
                                                                                                    1900 The Exchange, SE, Suite 480    jgs@mccunewright.com
                                                                                                           Atlanta, GA 30339            mds@mccunewright.com
                                                                                                              770-444-9325              jbk@mccunewright.com

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                                                                                                   MCCUNE WRIGHT AREVALO LLP
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                                                                                                           610-200-0580

                                                                                                             Thomas Malone
                                                                                                         The Malone Firm, LLC
                                                                                                       1650 Arch Street, Suite 2501
                                                                                                         Philadelphia, PA 19103
                                                                                                              215-561-7700




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                                                                        Plaintiffs' Counsel Table
                                                                               CONSUMER CASES
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                                                     Court                                                                                                          Financial or      Status
                                                                                                                                                                   Small Business

Mann v. Equifax Information    2:17-cv-04100     Eastern District of                                     John Soumilas             jsoumilas@consumerlawfirm.com      Consumer
       Services LLC                                Pennslyvania                                  FRANCIS & MAILMAN,P.C.
                                                   (Philadelphia                                 Land Title Building, 19th Floor
                                                     Division)                                        100 S. BROAD ST.
                                                                                                    Philadelphia, PA 19110
                                                                                                         215-735-8600

  Manopla v. Equifax Inc.      3:17-cv-11419      District of New                                   Edward B. Geller                       epbh@aol.com               Consumer      Yes by CTO - 1
                                                       Jersey                                  EDWARD B. GELLER, ESQ., P.C.
                                                                                                    15 Landing Way
                                                                                                    Bronx, NY 10464
                                                                                                     914-473-6783

  Manopla v. Equifax Inc.      3:17-cv-11424      District of New                                   Edward B. Geller                       epbh@aol.com               Consumer      Yes by CTO - 1
                                                       Jersey                                  EDWARD B. GELLER, ESQ., P.C.
                                                                                                    15 Landing Way
                                                                                                    Bronx, NY 10464
                                                                                                     914-473-6783

  Manopla v. Equifax Inc.      3:17-cv-11440      District of New                                   Edward B. Geller                       epbh@aol.com               Consumer      Yes by CTO - 1
                                                       Jersey                                  EDWARD B. GELLER, ESQ., P.C.
                                                                                                    15 Landing Way
                                                                                                    Bronx, NY 10464
                                                                                                     914-473-6783

  Manopla v. Equifax Inc.      3:17-cv-12275      District of New                                   Edward B. Geller                       epbh@aol.com               Consumer      Yes by CTO - 3
                                                       Jersey                                  EDWARD B. GELLER, ESQ., P.C.
                                                                                                    15 Landing Way
                                                                                                    Bronx, NY 10464
                                                                                                     914-473-6783




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                                                                     Plaintiffs' Counsel Table
                                                                           CONSUMER CASES
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                                                 Court                                                                                                                     Financial or     Status
                                                                                                                                                                          Small Business

Mardock v. Equifax, Inc.    1:17-cv-03499    Northern District of Evangelista Worley, LLC                     Ariana J. Tadler                  atadler@milberg.com          Consumer
                                                  Georgia                                                      Andrei V. Rado                    arado@milberg.com
                                                                                                                Henry Kelston                  hkelston@milberg.com
                                                                                                             Elizabeth McKenna                emckenna@milberg.com
                                                                                                                Melissa Clark                   mclark@milberg.com
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                                                                                                                                                 jim@ewlawllc.com
                                                                                                              David J. Worley                   kristi@ewlawllc.com
                                                                                                           James M. Evangelista
                                                                                                          Kristi Stahnke McGregor
                                                                                                          Evangelista Worley, LLC
                                                                                                      8100 A Roswell Road, Suite 100
                                                                                                             Atlanta, GA 30350
                                                                                                                404-205-8400
 Martin v. Equifax, Inc.    3:17-cv-01246     Middle District of Gordon Shaw Law Group,                        Andrew Melzer                 amelzer@sanfordheisler.com      Consumer        Yes
                                             Tennessee (Nashville PLLC; Lacy, Price &                    Sanford Heisler Sharp, LLP
                                                  Division)           Wagner, P.C.                 1350 Avenue of the Americas, 31st Floor   ksharp@sanfordheisler.com
                                                                                                           New York, NY 10019
                                                                                                                646-402-5650

                                                                                                             Kevin H. Sharp                      ashaw@lawjhg.com
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                                                                                                      611 Commerce Street, Suite 3100
                                                                                                           Nashville, TN 37203
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                                                                                                               901-476-7100

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                                                                                                      249 North Peters Road, Suite 101
                                                                                                           Knoxville, TN 37923
                                                                                                               865-246-0800




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                                                                          Plaintiffs' Counsel Table
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                                                      Court                                                                                                                      Financial or      Status
                                                                                                                                                                                Small Business

  Martin v. Equifax, Inc.        3:17-cv-00174    Northern District of                                      David Malcolm McMullan, Jr          dmcmullan@barrettlawgroup.com      Consumer      Yes by CTO - 1
                                                     Mississippi                                             BARRETT LAW OFFICES
                                                                                                                   P. O. Box 987
                                                                                                               Lexington, MS 39095
                                                                                                                  (662) 834-2376

  Martin v. Equifax, Inc.        1:17-cv-03458    Northern District of Evangelista Worley, LLC                  James M. Evangelista                 jme@ewlawllc.com              Consumer           Yes
                                                   Georgia (Atlanta                                               David J. Worley                    david@ewlawll.com
                                                       Division)                                              Kristi Stahnke McGregor                kristi@ewlawll.com
                                                                                                          EVANGELISTA WORLEY, LLC
                                                                                                           8100 A Roswell Road, Suite 100           wbf@federmanlaw.com
                                                                                                                 Atlanta, GA 30350                  clm@federmanlaw.com
                                                                                                                    404-205-8400                    jdw@federmanlaw.com

                                                                                                                William Federman
                                                                                                                Carin L. Marcussen
                                                                                                                 Joshua D. Wells
                                                                                                           FEDERMAN & SHERWOOD
                                                                                                           10205 N. Pennsylvania Avenue
                                                                                                               Oklahoma, OK 73120
                                                                                                                  405-235-1560

Martin v. Equifax, Inc. et al    3:17-cv-00744    Southern District of                                             Jason L. Nabors                jason@langstonlawyers.com        Consumer      Yes by CTO - 1
                                                      Mississippi                                           Langston & Langston, PLLC
                                                                                                          210 East Capitol Street, Suite 1205
                                                                                                                 Jackson, MS 39201
                                                                                                                    601-969-1356




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                                                         Court                                                                                                              Financial or      Status
                                                                                                                                                                           Small Business

Martinez et al. v. Equifax, Inc.    1:17-cv-23510    Southern District of                                 Robert John Borrello              rborrello@russomanno.com          Consumer      Yes by CTO - 1
                                                          Florida                                      Herman Joseph Russomanno           hrussomanno@russomanno.com
                                                                                                     Herman Joseph Russomanno, III          herman2@russomanno.com
                                                                                                         Russomanno & Borrello
                                                                                                            Museum Tower
                                                                                                     150 W Flagler Street, Suite 2800
                                                                                                           Miami, FL 33130                    david@nunez-law.com
                                                                                                             305-373-2101

                                                                                                         David Anthony Nunez
                                                                                                         Meyer & Nunez, P.A.                tgirardi@girardikeese.com
                                                                                                    150 West Flagler Street, Suite 2700     caumais@girardikeese.com
                                                                                                           Miami, FL 33130
                                                                                                             305-722-9898
                                                                                                                                              rubinoff@krmlegal.com
                                                                                                           Thomas V. Girardi                    moss@krmlegal.com
                                                                                                         Christopher T. Aumais
                                                                                                           GIRARDI KEESE
                                                                                                        1126 Wilshire Boulevard
                                                                                                      Los Angeles, California 90017
                                                                                                             213-977-0211

                                                                                                           Edward G. Rubinoff
                                                                                                              Andrew Moss
                                                                                                     KUTNER, RUBINOFF & MOSS
                                                                                                     2665 S. Bayshore Drive, Ste. 30 I
                                                                                                        Coconut Grove, FL 33133
                                                                                                              305-358-6200
Mashburn et al v. Equifax, Inc.     1:17-cv-04159    Northern District of                                Jodi Westbrook Flowers              jflowers@motleyrice.com          Consumer      Yes by CTO - 1
                                                          Georgia                                             Kevin R. Dean                   kdean@motleyrice.com
                                                                                                          Motley Rice, LLC-SC
                                                                                                         28 Bridgeside Boulevard          claufenberg@kellerrohrback.com
                                                                                                          Mt. Pleasant, SC 29464             gcappio@kellerohrback.com
                                                                                                              843-216-9163

                                                                                                         Cari Campen Laufenberg
                                                                                                        Gretchen Freeman Cappio
                                                                                                          Keller Rohrback, L.L.P
                                                                                                      1201 Third Avenue, Suite 3200
                                                                                                           Seattle, WA 98101
                                                                                                              206-623-1900




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                                                                                                                                                                                Small Business

    Mason v. Equifax, Inc.         4:17-cv-02644      District of South                                                PRO SE                         no email provided            Consumer      Yes by CTO - 1
                                                          Carolina                                                Marcus C. Mason
                                                                                                                   P.O. Box 52020
                                                                                                                Bennettsville, SC 29512


   McCall et al. v. Equifax        2:17-cv-02372     District of Nevada                                             Miles N Clark                miles.clark@knepperclark.com      Consumer
  Information Services LLC                          (Las Vegas Division)                                        Knepper & Clark LLC
                                                                                                         10040 W. Cheyenne Ave., Suite 170-109
                                                                                                                Las Vegas,, NV 89129                 rac@cliffordlaw.com
                                                                                                                    702-825-6060

                                                                                                                  Robert A. Clifford
                                                                                                              120 N. LaSalle St., Ste 3100          notices@dannlaw.com
                                                                                                                  Chicago, IL 60602
                                                                                                                     312-899-9090

                                                                                                                     Marc E. Dann
                                                                                                                The Dann Firm Co., LPA
                                                                                                                   PO Box 6031040
                                                                                                                 Cleveland, OH 44103
                                                                                                                     216-373-0539

McDowell et al v. Equifax, Inc.    1:17-cv-03502    Northern District of Complex Law Group, LLC                  David Michael Cohen               dcohen@complexlaw.com           Consumer
                                                         Georgia                                               Complex Law Group, LLC
                                                                                                               40 Powder Springs Street
                                                                                                                  Marietta, GA 30064
                                                                                                                    770-335-9322
                                                                                                                                                     acarney@cbplaw.com
                                                                                                                James Allen Carney , Jr.
                                                                                                             Carney Bates & Pulliam, PLLC
                                                                                                                    519 W. 7th Street
                                                                                                                 Little Rock, AR 72201
                                                                                                                      501-312-8500




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                                                                                                                                                                               Small Business

  McGonnigal & Spector v.         1:17-cv-03422    Northern District of BARNES LAW GROUP,                         Roy E. Barnes                    roy@barneslawgroup.com         Consumer        Yes
      Equifax, Inc.                                 Georgia (Atlanta           LLC                                John R. Bevis                   bevis@barmeslawgroup.com
                                                        Division)                                              J. Cameron Tribble                ctribble@barneslawgroup.com
                                                                                                            BARNES LAW GROUP, LLC
                                                                                                                31 Atlanta Street                jyanchunis@forthepeople.com
                                                                                                               Marietta, GA 30060                mglassman@forthepeople.com
                                                                                                                  770-227-6375

                                                                                                                 John A. Yanchunis
                                                                                                                Marisa K. Glassman
                                                                                                  MORGAN & MORGAN COMPLEX LITIGATION GROUP
                                                                                                           201 N. Franklin Street, 7th Floor
                                                                                                                  Tampa, FL 33602
                                                                                                                    813-223-5505

McHenry et al v. Equifax, Inc.    1:17-cv-03582    Northern District of Evangelista Worley, LLC                   David J. Worley                    jim@ewlawllc.com             Consumer
                                                        Georgia                                                James M. Evangelista                  david@ewlawll.com
                                                                                                              Kristi Stahnke McGregor                kristi@ewlawll.com
                                                                                                           EVANGELISTA WORLEY, LLC
                                                                                                            8100 A Roswell Rd, Suite 100           ggraigman@kgglaw.com
                                                                                                                 Atlanta, GA 30350
                                                                                                                    404-205-8400

                                                                                                                   Gary S. Graifman
                                                                                                                      Jay I. Brody
                                                                                                        Kantrowitz, Goldhamer & Graifman, P.C.
                                                                                                                  210 Summit Avenue
                                                                                                                  Montvale, NJ 07645
                                                                                                                     201-391-7600




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                                                       Court                                                                                                          Financial or     Status
                                                                                                                                                                     Small Business

 McHill et al. v. Equifax Inc.    3:17-cv-01405     District of Oregon                                    Justin M. Baxter                justin@baxterlaw.com          Consumer
                                                   (Portland Division)                               BAXTER & BAXTER LLP
                                                                                                   8835 SW Canyon Lane, Suite 130      kellydonovanjones@gmail.com
                                                                                                         Portland, OR 97225

                                                                                                           Kelly D. Jones              michael@underdoglawyer.com
                                                                                                KELLY D. JONES ATTORNEY AT LAW
                                                                                                   819 SE Morrison Street, Suite 225
                                                                                                         Portland, OR 97214

                                                                                                          Michael R. Fuller
                                                                                                         OLSEN DAINES PC
                                                                                                          US Bancorp Tower
                                                                                                    111 SW 5th Avenue, Suite 3150
                                                                                                         Portland, OR 97204
                                                                                                            503-201-4570
  McShan et al. v. Equifax,,      2:17-cv-06764     Central District of                                   Craig K Hemphill              craig.ckhlegal@outlook.com      Consumer
  Inc.,Equifax Information                         California (Western                                       CKH Legal
 Services, LLC, and Equifax                          Division - Los                                 5090 Richmond Avenue No 316
Consumer Services, LLC a/k/a                            Angeles)                                         Houston, TX 77056
 Equifax Personal Solutions                                                                                 713-240-6300                  amj.0169@yahoo.com
         a/k/a PSOL
                                                                                                       Arnold Melvin Johnson
                                                                                                    Arnold M Johnson Law Offices
                                                                                                    1200 Wilshire Blvd., Suite 508
                                                                                                     Los Angeles, CA 90017-1934
                                                                                                            213-250-9577




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                                                           Court                                                                                                                 Financial or      Status
                                                                                                                                                                                Small Business

Mead et al. v. Equifax Inc. et al.    3:17-cv-00208     District of Alaska   Lee Holen Law Office                   Edward Chapin               echapin2@sanfordheisler.com        Consumer      Yes by CTO - 1
                                                                                                              Sandford Heisler Sharp, LLP       dfuschetti@sanfordheisler.com
                                                                                                             655 West Broadway, Suite 1700       ksharp@sanfordheisler.com
                                                                                                                 San Diego, CA 92101
                                                                                                                     619-577-4253

                                                                                                                    Kevin H. Sharp                    lhlo@alaska.net
                                                                                                               Sanford Heisler Sharp, LLP
                                                                                                              611 Commerce St., Suite 3100
                                                                                                                  Nashville, TN 37203
                                                                                                                     615-434-7001

                                                                                                                    Mary L. Holen
                                                                                                                 Lee Holen Law Office
                                                                                                                    PO Box 92330
                                                                                                                 Anchorage, AK 99509
                                                                                                                     907-278-0298




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                                                        Court                                                                                                            Financial or      Status
                                                                                                                                                                        Small Business

Meade et al. v. Equifax, Inc.      2:17-cv-00892    Southern District of                                   Brian M Garvine                   brian@garvinelaw.com          Consumer      Yes by CTO - 1
                                                           Ohio                                     Law Office of Brian Garvine LLC
                                                                                                      5 E Long Street, Suite 1100              jheck@lawlh.com
                                                                                                         Columbus, OH 43215
                                                                                                             614-223-0290                  michelle@mlanhamlaw.com

                                                                                                            Jeremiah E Heck                   mlewis@klhlaw.com
                                                                                                     Luftman & Heck and Associates
                                                                                                          580 East Rich Street            Lainie@wagonerlawoffice.com
                                                                                                          Columbus, OH 43215
                                                                                                             614-224-1500

                                                                                                        Michelle Elizabeth Lanham
                                                                                                 Michelle E. Lanham Attorney at Law LLC
                                                                                                    445 Hutchinson Avenue, Suite 100
                                                                                                           Columbus, OH 43235
                                                                                                              614-300-5896

                                                                                                              Mark D Lewis
                                                                                                     Kitrick, Lewis & Harris Co LPA
                                                                                                     445 Hutchinson Ave. Suite 100
                                                                                                           Columbus, OH 43235
                                                                                                               614-224-7711

                                                                                                           Robert J Wagoner
                                                                                                      Robert J. Wagoner Co., L.L.C.
                                                                                                     445 Hutchinson Ave. , Suite 100
                                                                                                          Columbus, OH 42335
                                                                                                              614-796-4110
Melrath v. Equifax, Inc. et al.    1:17-cv-01324    District of Delaware                                  Jesse N. Silverman              jsilverman@dilworthlaw.com       Consumer      Yes by CTO - 1
                                                                                                         Dilworth Paxson LLP
                                                                                                     One Customs House-Suite 500
                                                                                                     704 King Street, P.O. Box 1031
                                                                                                         Wilmington, DE 19801
                                                                                                            (215) 575-7000




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                                                            Court                                                                                                                     Financial or      Status
                                                                                                                                                                                     Small Business

    Menzer v. Equifax, Inc.            1:17-cv-03459    Northern District of Evangelista Worley, LLC                     James M. Evangelista               jme@ewlawllc.com            Consumer           Yes
                                                         Georgia (Atlanta                                                  David J. Worley                  david@ewlawll.com
                                                             Division)                                                 Kristi Stahnke McGregor              kristi@ewlawll.com
                                                                                                                   EVANGELISTA WORLEY, LLC
                                                                                                                    8100 A Roswell Road, Suite 100        wbf@federmanlaw.com
                                                                                                                          Atlanta, GA 30350               clm@federmanlaw.com
                                                                                                                             404-205-8400                 jdw@federmanlaw.com

                                                                                                                         William Federman
                                                                                                                         Carin L. Marcussen
                                                                                                                          Joshua D. Wells
                                                                                                                    FEDERMAN & SHERWOOD
                                                                                                                    10205 N. Pennsylvania Avenue
                                                                                                                        Oklahoma, OK 73120
                                                                                                                           405-235-1560
  Messer, Jr. et al. v. Equifax,       2:17-cv-02694    Western District of                                           Paul Berry Cooper, III              bcooper@mbb-law.com           Consumer      Yes by CTO - 1
              Inc.                                         Tennessee                                          MCNABB BRAGORGOS & BURGESS, PLLC
                                                                                                                   81 Monroe Ave., Sixth Floor
                                                                                                                    Memphis, TN 38103-5402
                                                                                                                          901-624-0640


    Meyers et al. v. Equifax           1:17-cv-06652    Northern District of                                             Thomas A. Demetrio              tad@corboydemetrio.com         Consumer      Yes by CTO - 1
   Information Services LLC                                   Illinois                                                  Kenneth Thomas Lumb              ktl@corboydemetrio.com
                                                                                                                         Corboy & Demetrio
                                                                                                                     33 N. Dearborn Street, #2100
                                                                                                                          Chicago, IL 60602
                                                                                                                           (312) 346-3191

Miller et al. v. Equifax Inc et al.    4:17-cv-00569    Northern District of   Carr & Carr Attorneys at                   Patrick Eugene Carr               pcarr@carrcarr.com          Consumer      Yes by CTO - 1
                                                            Oklahoma                    Law                                 A Laurie Koller                lkoller@carrcarr.com
                                                                                                                  Carr & Carr Attorneys at Law (Tulsa)
                                                                                                                         4416 S. Harvard Ave.            ksharp@sanfordheisler.com
                                                                                                                           Tulsa, OK 74135
                                                                                                                             918-747-1000

                                                                                                                           Kevin H. Sharp
                                                                                                                      Sanford Heisler Sharp, LLP
                                                                                                                     611 Commerce St., Suite 3100
                                                                                                                         Nashville, TN 37203
                                                                                                                            615-434-7001




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                                                        Court                                                                                                           Financial or      Status
                                                                                                                                                                       Small Business

Miller et al. v. Equifax, Inc.    2:17-cv-01872     Eastern District of                                           Richard Morin                rick@rickmorin.net         Consumer           Yes
                                                        California                                       LAW OFFICE OF RICK MORIN, PC
                                                      (Sacremento                                           555 Capitol Mall, Suite 750
                                                        Division)                                             Sacramento, CA 95814
                                                                                                                  916-333-2222


  Minka et al. v. Equifax         2:17-cv-04205     Eastern District of                                         Charles J. Kocher              ckocher@smbb.com           Consumer      Yes by CTO - 1
Information Services, Inc.                            Pennsylvania                                 SALTZ MONGELUZZI BARRETT & BENDESKY PC
                                                                                                           One Liberty Place, 52nd Floor
                                                                                                                 1650 Markey St.
                                                                                                             Philadelphia, PA 19103
                                                                                                                  215-575-3985


 Mirarchi v. Equifax, Inc.        1:17-cv-04600    Northern District of   Faruqi & Faruqi, LLP                   Jeffrey L. Kodroff          rkillorin@faruqilaw.com      Consumer
                                                        Georgia                                             Spector Roseman & Kodroff
                                                                                                                1818 Market Street
                                                                                                                     Suite 2500
                                                                                                              Philadelphia, PA 19103
                                                                                                                   215-496-0300

                                                                                                                Robert W. Killorin
                                                                                                             Faruqi & Faruqi, LLP -Atl
                                                                                                            3975 Roswell Road, Suite A
                                                                                                                Atlanta, GA 30342
                                                                                                                   404-275-7557

Mobbs v. Equifax Inc. et al       5:17-cv-05815    Northern District of                                            Jack Atnip, III            jatnip@hjlawfirm.com        Consumer      Yes by CTO - 1
                                                       California                                           Hellmuth and Johnson PLLC
                                                                                                               8050 West 78th Street
                                                                                                                 Edina, MN 55439
                                                                                                                  (952) 941-4005




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                                                      Court                                                                                                                      Financial or     Status
                                                                                                                                                                                Small Business

Mohamedali et al v. Equifax      1:17-cv-03501    Northern District of   Webb, Klase & Lemond,                     E. Adam Webb                        adam@webbllc.com            Consumer
          Inc.                                         Georgia                   LLC                           G. Franklin Lemond, Jr.               flemond@webbllc.com
                                                                                                          WEBB, KLASE & LEMOND, LLC
                                                                                                          1900 The Exchange, SE, Suite 480
                                                                                                                 Atlanta, GA 30339
                                                                                                                    770-444-9325

                                                                                                                    Bryan L. Clobes               bclobes@caffertyclobes.com
                                                                                                                   Daniel O. Herrera              dherrera@caffertyclobes.com
                                                                                                      Cafferty Clobes Meriwether & Sprengel LLP
                                                                                                             1101 Market Street, Suite 2650
                                                                                                                Philadelphia, PA 19107
                                                                                                                     215-864-2800

   Morris v. Equifax, Inc.       1:17-cv-02178    District of Colorado                                           Kevin S. Hannon                    khannon@hannonlaw.com          Consumer        Yes
                                                   (Denver Division)                                      THE HANNON LAW FIRM, LLC
                                                                                                               1641 Downing Street                 rcaldwell@sawayalaw.com
                                                                                                                Denver, CO 80218
                                                                                                                  303-861-8800

                                                                                                             Robert E. Caldwell, Jr.
                                                                                                    SAWAYA, ROSE, MCCLURE & WILHITE, P.C.
                                                                                                            1600 North Ogden Street
                                                                                                               Denver, CO 80218
                                                                                                                 303-839-1650

Murphy et al v. Equifax, Inc.    1:17-cv-03613    Northern District of Elarbee, Thompson, Sapp                  Joseph Shane Hudson               jhudson@hudsonkinglaw.com        Consumer
                                                       Georgia                 & Wilson                         Hudson & King, LLC
                                                                                                                   P.O. Box 2520
                                                                                                           615 N. Virginia Avenue, Suite A
                                                                                                                  Tifton, GA 31793                connell@elarbeethompson.com
                                                                                                                    229-396-5845                  swilson@elarbeethompson.com

                                                                                                                Justin Beecher Connell
                                                                                                                  Stanford G. Wilson
                                                                                                       Elarbee, Thompson, Sapp & Wilson, LLP
                                                                                                              229 Peachtree Street, N.E.
                                                                                                                800 International Tower
                                                                                                               Atlanta, GA 30303-1614
                                                                                                                     404-659-6700




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                                                        Court                                                                                                               Financial or     Status
                                                                                                                                                                           Small Business

Murphy et al. v. Equifax, Inc.    5:17-cv-05262    Northern District of                                 Jodi Westbrook Flowers               jflowers@motleyrice.com          Consumer       not yet
                                                   California (Oakland                                      MOTLEY RICE
                                                        Division)                                       28 Bridgeside Boulevard
                                                                                                         Mt. Pleasant, SC 29464           claufenberg@kellerrohrback.com
                                                                                                             843-216-9000                   gcappio@kellerrohrback.com

                                                                                                        Cari Campen Laufenberg
                                                                                                       Gretchen Freeman Cappio
                                                                                                         Keller Rohrback, LLP
                                                                                                     1201 Third Avenue, Suite 3200
                                                                                                        Seattle, WA 98101-3052
Myers, Sr. & O'Neal v. Equifax    2:17-cv-01878     Eastern District of                                    Joshua H. Watson                  jwatson@justice4you.com          Consumer        Yes
                                                        California                                          Gina M. Bowden                  gbowden@justice4you.com
                                                      (Sacremento                                     CLAYEO C. ARNOLD, APC
                                                        Division)                                          865 Howe Avenue                jyanchunis@forthepeople.com
                                                                                                         Sacramento, CA 95825             mvalladares@forthepeople.com
                                                                                                              916-924-3100

                                                                                                          John A. Yanchunis
                                                                                                         Marcio W. Valladares
                                                                                               Morgan & Morgan Complex Litigation Group
                                                                                                    201 N. Franklin Street, 7th Floor
                                                                                                           Tampa, FL 33602
                                                                                                             813-223-5505




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                                                     Court                                                                                                                Financial or      Status
                                                                                                                                                                         Small Business

Napier v. Equifax Inc. et al    1:17-cv-00372     District of Maine     Perkins Thompson                   John A. Hobson                  jhobson@perkinsthompson.com      Consumer      Yes by CTO - 1
                                                                                                        PERKINS THOMPSON
                                                                                                           One Canal Plaza
                                                                                                            P.O. BOX 426                    ksharp@sanfordheisler.com
                                                                                                        PORTLAND, ME 04112
                                                                                                            207-774-2635

                                                                                                            Kevin H. Sharp
                                                                                                       Sanford Heisler Sharp, LLP           amelzer@sanfordheisler.com
                                                                                                           611 Commerce St.
                                                                                                               Suite 3100
                                                                                                          Nashville, TX 37203
                                                                                                             615-434-7001

                                                                                                            Andrew Melzer
                                                                                                       Sanford Heisler Sharp, LLP
                                                                                                 1350 Avenue of the Americas, Suite 3100
                                                                                                         New York, NY 10019
                                                                                                             646-402-5650


  Neilan v. Equifax Inc.        1:17-cv-06508    Northern District of                                         Ben Barnow                    b.barnow@barnowlaw.com          Consumer
                                                  Illinois (Chicago                                 BARNOW & ASSOCIATES, P.C.
                                                       Division)                                   One North LaSalle Street, Suite 4600
                                                                                                           Chicago, IL 60602
                                                                                                             312-621-2000




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                                                                              Plaintiffs' Counsel Table
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      Case Name                  Case Number           Original            Local Counsel            Plaintiffs' Counsel & Contact Information        Email Addresses                Consumer,        Transfer
                                                        Court                                                                                                                       Financial or      Status
                                                                                                                                                                                   Small Business

Ogburn v. Equifax, Inc. et al     3:17-cv-00644     Eastern District of                                          Grant Edward Morris, Jr.        grantemorris@sanfordheisler.com      Consumer      Yes by CTO - 1
                                                         Virginia                                               Sanford Heisler Sharp, LLP
                                                                                                            1666 Connecticut Ave NW, Suite 300
                                                                                                                  Washington, DC 20009
                                                                                                                      202-499-5200                 amelzer@sanfordheisler.com

                                                                                                                    Andrew Melzer
                                                                                                            SANFORD HEISLER SHARP, LLP             ksharp@sanfordheisler.com
                                                                                                               1350 6th Avenue, Floor 31
                                                                                                                 New York, NY 10019
                                                                                                                     646-402-5650

                                                                                                                       Kevin Sharp
                                                                                                                Sanford Heisler Sharp, LLP
                                                                                                               611 Commerce St. Suite 3100
                                                                                                                   Nashville, TN 37203
                                                                                                                      615-434-7001

O'Neill v. Equifax, Inc. et al    1:17-cv-03523    Northern District of   Law Offices of David A.                    David A. Bain                    dbain@bain-law.com              Consumer
                                                        Georgia                Bain, LLC                  LAW OFFICES OF DAVID A. BAIN, LLC
                                                                                                                 1230 Peachtree St, NW
                                                                                                                   Atlanta, GA 30309
                                                                                                                     404-724-9990

                                                                                                                     Aaron M. Olsen
                                                                                                                    Alreen Haeggquist
                                                                                                                Haeggquist & Eck, LLP -CA
                                                                                                                 225 Broadway, Suite 2050
                                                                                                                   San Diego, CA 92101
                                                                                                                      619-342-8000

                                                                                                                    Eric A. LaGuardia
                                                                                                                      Laguardia Law
                                                                                                                402 W. Broadway, Suite 800
                                                                                                                   San Diego, CA 92101
                                                                                                                      619-355-4432




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                                                                             Plaintiffs' Counsel Table
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                                                          Court                                                                                                             Financial or      Status
                                                                                                                                                                           Small Business

 O'Neill v. Equifax, Inc. et al.    1:17-cv-07284      District of New                                       David H. Tracey                  dtracey@sanfordheisler.com      Consumer      Yes by CTO - 1
                                                            Jersey                                   SANFORD HEISLER SHARP, LLP
                                                                                                   1350 Avenue of the Americas, 31st Floor
                                                                                                           New York, NY 10019
                                                                                                              646-402-5650

                                                                                                                Kevin Sharp                   ksharp@sanfordheisler.com
                                                                                                         Sanford Heisler Sharp, LLP
                                                                                                        611 Commerce St. Suite 3100
                                                                                                            Nashville, TN 37203
                                                                                                               615-434-7001


Ostoya and Samuel Stephenson        2:17-cv-01550    Northern District of                                Francois M. Blaudeau                francois@southernmedlaw.com      Consumer           Yes
       v. Equifax, Inc.                              Alabama (Southern                                    Evan T. Rosemore                     evan@southernmedlaw.com
                                                          Division)                                           Odeh J. Issis                    odeh@southernmedlaw.com
                                                                                                   HENINGER GARRISON DAVIS, LLC
                                                                                                        2224 1st Avenue North
                                                                                                        Birmingham, AL 35203
                                                                                                             205-548-5525

Pacelli v. Equifax Information      2:17-cv-04246     Eastern District of                                   Brent F. Vullings                 bvullings@vullingslaw.com       Consumer      Yes by CTO - 1
        Services, LLC                                   Pennsylvania                                  VULLINGS LAW GROUP LLC
                                                                                                        3953 Ridge Pike, Suite 102
                                                                                                          Collegeville, PA 19426
                                                                                                              610-489-6060




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                                                   Court                                                                                                                    Financial or       Status
                                                                                                                                                                           Small Business

Pagliaruo v. Equifax, Inc.    1:17-cv-03460    Northern District of Evangelista Worley, LLC                  James M. Evangelista              jme@ewlawllc.com               Consumer             Yes
                                                Georgia (Atlanta                                               David J. Worley                 david@ewlawll.com
                                                    Division)                                              Kristi Stahnke McGregor             kristi@ewlawll.com
                                                                                                       EVANGELISTA WORLEY, LLC
                                                                                                        8100 A Roswell Road, Suite 100        wbf@federmanlaw.com
                                                                                                              Atlanta, GA 30350               clm@federmanlaw.com
                                                                                                                 404-205-8400                 jdw@federmanlaw.com

                                                                                                             William Federman
                                                                                                             Carin L. Marcussen
                                                                                                              Joshua D. Wells
                                                                                                        FEDERMAN & SHERWOOD
                                                                                                        10205 N. Pennsylvania Avenue
                                                                                                            Oklahoma, OK 73120
                                                                                                               405-235-1560

  Pandelakis v. Equifax       2:17-cv-03054    District of Arizona                                           David J. McGlothlin           david@westcoastlitigation.com      Consumer           Case was
Information Services, LLC                      (Phoenix Division)                                           HYDE & SWIGART                                                                   consolidated by
                                                                                                        2633 E. Indian School Rd., 460                                                      mistake; addressed
                                                                                                             Phoenix, AZ 85016                                                               with MDL panel
                                                                                                                                                                                            and case was sent
                                                                                                               Ryan L. McBride                   ryan@kazlg.com                                back to AZ;
                                                                                                            Kazerouni Law Group                                                             settled; dismissal
                                                                                                       2633 Indian School Rd., Suite 460                                                     with prejudice to
                                                                                                              Ph i AZ 85016                                                                     b fil d b




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                                                                           Plaintiffs' Counsel Table
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                                                       Court                                                                                                           Financial or      Status
                                                                                                                                                                      Small Business

Pantaze v. Equifax Information    2:17-cv-01530    Northern District of                                  Jason L. Yearout                  jyearout@yearout.net          Consumer           Yes
        Services LLC                               Alabama (Southern                                YEAROUT & TRAYLOR, PC
                                                        Division)                                   3300 Cahaba Road, Suite 300
                                                                                                      Birmingham, AL 35223
                                                                                                          205-414-8160                     stan@wattsherring.com

                                                                                                         M. Stan Herring
                                                                                                     WATTS & HERRING, LLC                 robert@stonepatton.com
                                                                                                       301 19th Street North
                                                                                                      Birmingham, AL 35203
                                                                                                          205-714-4443

                                                                                                          Robert S. Dooley
                                                                                                STONE, PATTON, KIERCE & FREEMAN
                                                                                                        118 North 18th Street
                                                                                                      Bessemer, Alabama 35020
                                                                                                           205-424-1150



 Parkhill . Equifax Inc. et al    4:17-cv-02931    Southern District of                                Craig Carley Marchiando           ccm@caddellchapman.com          Consumer      Yes by CTO - 1
                                                         Texas                                      Consumer Litigation Associates
                                                                                                  763 J Clyde Morris Blvd., Suite 1-A
                                                                                                    Newport News, VA 23601-1533
                                                                                                            757-930-3660

   Partridge et al v. Equifax     2:17-cv-01017      District of Utah                                  Steven A. Christensen            stevenchristensen@gmail.com      Consumer
  Incorporated and Equifax                          (Central Division)                       CHRISTENSEN YOUNG & ASSOCIATES PLLC
  Information Services, LLC                                                                             9980 S. 300 W #200
                                                                                                         Sandy, UT 84070
                                                                                                           801-676-6447




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                                                         Court                                                                                                                      Financial or      Status
                                                                                                                                                                                   Small Business

  Partridge v. Equifax, Inc.       1:17-cv-00423    Southern District of                                          Steven A. Martino               stevemartino@taylormartino.com      Consumer      Yes by CTO - 1
                                                         Alabama                                                 W. Lloyd Copeland                    lloyd@taylormartino.com
                                                                                                               William Bradford Kittrell             bkittrell@taylormartino.com
                                                                                                                 Taylor Martino P.C.
                                                                                                                     P.O. Box 894
                                                                                                                  Mobile, AL 36601
                                                                                                                    (251) 433-3131                     richard@lawrrr.com

                                                                                                                 Richard R. Rosenthal
                                                                                                        Law Offices of Richard R. Rosenthal, PC
                                                                                                                    200 Title Bldg.
                                                                                                          300 N. Richard Arrington Jr. Blvd.
                                                                                                               Birmingham, AL 35203
                                                                                                                     205-533-9909


     Paul v. Equifax, Inc.         2:17-cv-06588     Eastern District of                                       Edward B. Geller                           epbh@aol.com                Consumer      Yes by CTO - 1
                                                         New York                                         EDWARD B. GELLER, ESQ., P.C.
                                                                                                               15 Landing Way
                                                                                                               Bronx, NY 10464
                                                                                                                914-473-6783

Pavesi, Jr. & Turok v. Equifax,    1:17-cv-03476    Northern District of   Harris Lowry Manton,                     Page A. Pate                       page@pagepate.com              Consumer           Yes
              Inc.                                   Georgia (Atlanta               LLP                           Jess B. Johnson                      jess@pagepate.com
                                                         Division)                                            PATE & JOHNSON, LLC
                                                                                                            101 Marietta St NW Suite 3300
                                                                                                                 Atlanta, GA 30303
                                                                                                                   404-223-3310                       steve@hlmlawfirm.com
                                                                                                                                                       jeff@hlmlawfirm.com
                                                                                                                Stephen G. Lowry                       jed@hlmlawfirm.com
                                                                                                                 Jeffrey R. Harris                    molly@hlmlawfirm.com
                                                                                                                  Jed D. Manton
                                                                                                              Madeline E. McNeeley
                                                                                                          HARRIS LOWRY MANTON LLP
                                                                                                            1201 Peachtree St. NE # 900
                                                                                                                Atlanta, GA 30361
                                                                                                                  404-961-7650




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                                                                                 Plaintiffs' Counsel Table
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                                                          Court                                                                                                                                 Financial or      Status
                                                                                                                                                                                               Small Business

 Pavitt et al. v. Equifax Inc.       2:17-cv-01363    Western District of                                           Catherine Jura Fleming                        catherine@stritmatter.com       Consumer
                                                      Washington (Seattle                              STRITMATTER KESSLER WHELAN KOEHLER MOORE
                                                          Division)                                                    KAHLER (SEA)
                                                                                                                  3600 15th Ave W, Suite 300
                                                                                                                      Seattle, WA 98119
                                                                                                                        206-826-8232


Pellitteri et al v. Equifax, Inc.    1:17-cv-03881    Northern District of   Law Offices of David A.                    David Andrew Bain                           dbain@bain-law.com            Consumer
                                                           Georgia                Bain, LLC                      Law Offices of David A. Bain, LLC
                                                                                                                        1050 Promenade II
                                                                                                                     1230 Peachtree Street, NE                  g.blanchfield@rwblawfirm.com
                                                                                                                        Atlanta, GA 30309
                                                                                                                           404-724-9990

                                                                                                                     Garrett D. Blanchfield , Jr.
                                                                                                                  Reinhardt Wendorf & Blanchfield
                                                                                                                        332 Minnesota Street
                                                                                                                 E-1250 First National Bank Building
                                                                                                                         St. Paul, MN 55101
                                                                                                                            651-287-2100
   Perkins et al. v. Equifax         1:17-cv-03479    Northern District of    Daniel DeWoskin                            Jeremiah Frei-Pearson                   jfrei-pearson@fbfglaw.com        Consumer
                                                           Georgia         DeWoskin Law Firm, LLC                         D. Greg Blankinship                    gblankinship@gbfglaw.com
                                                                                                                           Chantal L. Khalil                         ckhalil@fbfglaw.com
                                                                                                         Finkelstein, Blankinship, Frei-Pearson & Garber, LLP
                                                                                                                    445 Hamilton Avenue, Suite 605
                                                                                                                        White Plains, NY 10601
                                                                                                                             844-431-0695



   Perkins v. Equifax Inc.           3:17-cv-00727    Northern District of                                          Joseph A. Zarzaur, Jr.                          joe@zarzaurlaw.com            Consumer      Yes by CTO - 1
                                                           Florida                                            ZARZAUR LAW PA - PENSACOLA FL
                                                                                                                      11 E.. Romana St.
                                                                                                                   P.O. Box 12305 [32591]
                                                                                                                     Pensacola, FL 32502
                                                                                                                        850-444-9299




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                                                                                 Plaintiffs' Counsel Table
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                                                           Court                                                                                                                             Financial or      Status
                                                                                                                                                                                            Small Business

     Peters et al. v. Equifax        8:17-cv-01634     Central District of                                              Amir J. Goldstein                    ajg@consumercounselgroup.com      Consumer      Yes by CTO - 1
Information Services, LLC et al.                          California                                              Amir J. Goldstein Law Offices
                                                                                                                 8032 West Third Street, Suite 201
                                                                                                                     Los Angeles, CA 90048
                                                                                                                          323-937-0400


Pierre et al. v. Equifax, Inc. et    2:17-cv-10520     Eastern District of    Williamson, Fontenot,                   Robert Leonard Campbell                 robb@lawyerbatonrouge.com        Consumer      Yes by CTO - 1
                al                                         Louisiana         Campbell & Whittington,     Williamson, Fontenot, Campbell & Whittington, LLC
                                                                                      LLC                                 955 McClung St
                                                                                                                           P.O. Box 3035
                                                                                                                      Baton Rouge, LA 70821
                                                                                                                           225-383-4010                        ksharp@sanfordheisler.com

                                                                                                                       Kevin Hunter Sharp
                                                                                                                    Sanford Heisler Sharp, LLP
                                                                                                                        611 Commerce St.
                                                                                                                            Suite 3100
                                                                                                                       Nashville, TX 37203
                                                                                                                          615-434-7001

   Pino v. Equifax Inc. et al        1:17-cv-05140    Northern District of                                               Kevin H. Sharp                        ksharp@sanfordheisler.com       Consumer
                                                           Georgia                                                  Sanford Heisler Sharp, LLP
                                                                                                                  611 Commerce Street, Suite 3100
                                                                                                                       Nashville, TN 37203
                                                                                                                          615-343-7001



 Pleasant et al v. Equifax, Inc.     1:17-cv-03507    Northern District of     Office of George E.                    George Edwin Butler , II                     geb@lawyers.com             Consumer
                                                           Georgia                  Butler, II                      Office of George E. Butler, II
                                                                                                                         132 Hawkins Street
                                                                                                                       Dahlonega, GA 30533
                                                                                                                            404-873-2544                         jrr@rhineslawfirm.com

                                                                                                                          Joel R. Rhine
                                                                                                                Law Office of Rhine Law Firm, P.C.
                                                                                                                            Suite 300
                                                                                                                    1612 Military Cutoff Road
                                                                                                                     Wilmington, NC 28403
                                                                                                                          910-772-9960




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                                                                             Plaintiffs' Counsel Table
                                                                                    CONSUMER CASES
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                                                         Court                                                                                                      Financial or      Status
                                                                                                                                                                   Small Business

Podalsky et al. v. Equifax, Inc.    1:17-cv-23465    Southern District of                              Rebecca Newman Casamayor         rcasamayor@dhaberlaw.com      Consumer      Yes by CTO - 1
                                                          Florida                                           Haber Slade, P.A.
                                                                                                     201 S. Biscayne Blvd. Suite 1205
                                                                                                             Miami, FL 33131
                                                                                                              305-379-2400                  samilow@aol.com

                                                                                                        Steven Frederick Samilow
                                                                                                            7777 Glades Road
                                                                                                                Suite 100                 rslade@dhaberlaw.com
                                                                                                          Boca Raton, FL 33434
                                                                                                              561-245-4633

                                                                                                              Roger Slade
                                                                                                            Haber Slade, P.A.
                                                                                                        201 South Biscayne Blvd.
                                                                                                               Suite 1205
                                                                                                            Miami, FL 33131
                                                                                                          305-379-2400 ext 105

 Powers et al v. Equifax Inc.       6:17-cv-02510     District of South                                    James L Ward, Jr             jward@mcgowanhood.com         Consumer      Yes by CTO - 1
                                                          Carolina                                   McGowan Hood and Felder LLC
                                                                                                       321 Wingo Way, Suite 103
                                                                                                         Mt Pleasant, SC 29464
                                                                                                             843-388-7202
                                                                                                                                        steppler@abbottlawpa.com
                                                                                                         Steven W. Teppler, Esq.
                                                                                                         Abbott Law Group, P.A.
                                                                                                         2929 Plummer Cove Rd.
                                                                                                         Jacksonville, FL 32223
                                                                                                              904-292-1111

Prejean et al. v. Equifax, Inc.     1:17-cv-00468     District of Hawaii                                    Brandee J. Faria                                          Consumer      Yes by CTO - 1
                                                                                                             John F. Perkin              bjkfaria@perkinlaw.com
                                                                                                             James J. Wade                perkin@perkinlaw.com
                                                                                                             Perkin & Faria               jwade@perkinlaw.com
                                                                                                      841 Bishop Street, Suite 1000
                                                                                                          Honolulu, HI 96813
                                                                                                             808-523-2300




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                                                                              Plaintiffs' Counsel Table
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                                                          Court                                                                                                                        Financial or      Status
                                                                                                                                                                                      Small Business

   Pugliese v. Equifax, Inc.         1:17-cv-03461    Northern District of Evangelista Worley, LLC                  James M. Evangelista                 jme@ewlawllc.com                Consumer           Yes
                                                       Georgia (Atlanta                                               David J. Worley                    david@ewlawll.com
                                                           Division)                                              Kristi Stahnke McGregor                kristi@ewlawll.com
                                                                                                              EVANGELISTA WORLEY, LLC
                                                                                                               8100 A Roswell Road, Suite 100           wbf@federmanlaw.com
                                                                                                                     Atlanta, GA 30350                  clm@federmanlaw.com
                                                                                                                        404-205-8400                    jdw@federmanlaw.com

                                                                                                                    William Federman
                                                                                                                    Carin L. Marcussen
                                                                                                                     Joshua D. Wells
                                                                                                               FEDERMAN & SHERWOOD
                                                                                                               10205 N. Pennsylvania Avenue
                                                                                                                   Oklahoma, OK 73120
                                                                                                                      405-235-1560

Quagliani v. Equifax, Inc. et al.    3:17-cv-01668        District of                                                  Steven J. Moore            steven.moore@withersworldwide.com      Consumer      Yes by CTO - 1
                                                         Connecticut                                                   James E. Nealon            james.nealon@withersworldwide.com
                                                                                                                   Withers Bergman, LLP
                                                                                                             1700 East Putnam Avenue, Suite 400
                                                                                                                   Greenwich, CT 06870
                                                                                                                        203-302-4069

     Raffin v. Equifax, Inc.         2:17-cv-06620     Central District of                                         Todd M. Friedman                    tfriedman@toddflaw.com            Consumer           Yes
                                                      California (Western                                           Adrian R. Bacon                      abacon@toddflaw.com
                                                        Division - Los                                    LAW OFFICES OF TODD M. FRIEDMAN
                                                           Angeles)                                           21550 Oxnard Street, Suite 780
                                                                                                                Woodland Hills, CA 91367
                                                                                                                     424-285-6006


    Rajput v. Equifax, Inc.          5:17-cv-01606    Northern District of                                            Eric J Artrip                   artrip@mastandoartrip.com          Consumer      Yes by CTO - 1
                                                           Alabama                                                Dennis A. Mastando                  tony@mastandoartrip.com
                                                                                                               MASTANDO & ARTRIP LLC
                                                                                                                 301 Washington Street
                                                                                                                       Suite 302
                                                                                                                  Huntsville, AL 35801
                                                                                                                     256-532-2222




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                                                                                Plaintiffs' Counsel Table
                                                                                       CONSUMER CASES
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                                                             Court                                                                                                         Financial or      Status
                                                                                                                                                                          Small Business

     Ramsay v. Equifax Inc.            4:17-cv-02783    Southern District of                                  George H Lugrin, IV          glugrin@hallmaineslugrin.com      Consumer      Yes by CTO - 1
                                                              Texas                                          Westmoreland Hall PC
                                                                                                         2800 Post Oak Blvd, Suite 6400
                                                                                                              Houston, TX 77056
                                                                                                                 713-586-4286

    Ray v. Equifax Inc. et al          1:17-cv-01331    District of Delaware                                        PRO SE                     mike@myfedlaw.com             Consumer      Yes by CTO - 1
                                                                                                               Michael R. Ray
                                                                                                                 P.O. Box 100
                                                                                                            Myrtle Beach, SC 29578
                                                                                                                 843-448-1515


Ressetar et al. v. Equifax, Inc. et    3:17-cv-01670     Middle District of                                  Christopher Markos             cmarkos@williamscedar.com        Consumer      Yes by CTO - 1
                al.                                       Pennsylvania                                        Gerald J. Williams           gwilliams@williamscedar.com
                                                                                                                Williams Cedar
                                                                                                              1515 Market Street
                                                                                                                  Suite 1300
                                                                                                            Philadelphia, PA 19102
                                                                                                                 215.557.0099

                                                                                                                Michael J. Quirk
                                                                                                             Berezofsky Law Group
                                                                                                         1515 Market Street, Suite 1300
                                                                                                          Philadelphia, PA 19102-1929
                                                                                                                 215-557-0099

      Reyes v. Equifax Inc.            1:17-cv-06589     Eastern District of                                Edward B. Geller                      epbh@aol.com               Consumer      Yes by CTO - 1
                                                             New York                                  EDWARD B. GELLER, ESQ., P.C.
                                                                                                            15 Landing Way
                                                                                                            Bronx, NY 10464
                                                                                                             914-473-6783


      Reyes v. Equifax Inc.            2:17-cv-06590     Eastern District of                                Edward B. Geller                      epbh@aol.com               Consumer      Yes by CTO - 1
                                                             New York                                  EDWARD B. GELLER, ESQ., P.C.
                                                                                                            15 Landing Way
                                                                                                            Bronx, NY 10464
                                                                                                             914-473-6783




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                                                        Court                                                                                                                Financial or      Status
                                                                                                                                                                            Small Business

  Rice et al. v. Equifax, Inc.     1:17-cv-00156    Northern District of                                           James A. Gianola               jgianola@gbwlaw.net          Consumer
                                                      West Virginia                                                 John F. Gianola            john.gianola@gbbjlaw.com
                                                       (Clarksburg                                           Gianola, Barnum & Wigal, LC
                                                         Division)                                                 1714 Mileground
                                                                                                               Morgantown, WV 26505            Dhartley@hartleylawgrp.com
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                                                                                                               Hartley Law Group, PLLC
                                                                                                               2001 Main St., Suite 600
                                                                                                                 Wheeling, WV 26003
                                                                                                                     304-233-0777

 Rich v. Equifax Information       3:17-cv-00229    Western District of                                            James A. Naddeo               naddeolaw@verizon.net         Consumer      Yes by CTO - 3
        Services, LLC                                 Pennsylvania                                               207 East Market Street
                                                                                                                     P.O. Box 552
                                                                                                                  Clearfield, PA 16830
                                                                                                                     814-765-1601


Richmond et al v. Equifax, Inc.    1:17-cv-03477    Northern District of Evangelista Worley, LLC                  James M. Evangelista            jme@ewlawllc.com             Consumer
                                                         Georgia                                                    David J. Worley               david@ewlawll.com
                                                                                                                Kristi Stahnke McGregor           kristi@ewlawll.com
                                                                                                            EVANGELISTA WORLEY, LLC
                                                                                                             8100 A Roswell Road, Suite 100
                                                                                                                   Atlanta, GA 30350
                                                                                                                      404-205-8400               wbf@federmanlaw.com
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                                                                                                                  William Federman               jdw@federmanlaw.com
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                                                                                                             FEDERMAN & SHERWOOD
                                                                                                             10205 N. Pennsylvania Avenue
                                                                                                                 Oklahoma, OK 73120
                                                                                                                    405-235-1560




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                                                                                                                                                                            Small Business

 Ruscitto v. Equifax, Inc.      1:17-cv-03444    Northern District of McConnell & Sneed, LLC                 Andrew Joseph Coomes                ajc@mcconnellsneed.com        Consumer        Yes
                                                  Georgia (Atlanta                                          McConnell & Sneed, LLC
                                                      Division)                                                    Suite 840
                                                                                                              990 Hammond Drive                  jgoldenberg@gs-legal.com
                                                                                                               Atlanta, GA 30328
                                                                                                                 404-220-9994

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                                                                                                                1 West 4th Street
                                                                                                              Cincinnati, OH 45202
                                                                                                                  513-345-8291                     gmason@wbmllp.com

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                                                                                                            2712 Observatory Avenue
                                                                                                              Cincinnati, OH 45208
                                                                                                                 513-723-1600

                                                                                                               Gary Edward Mason
                                                                                                       Whitfield Bryson & Mason, LLP - DC
                                                                                                    1625 Massachusetts Avenue, N.W., Suite 605
                                                                                                              Washington, DC 20036
                                                                                                                   202-429-2290
Rust et al. v. Equifax, Inc.    1:17-cv-03471    Northern District of   Faruqi & Faruqi, LLP                    Robert W. Killorin               rkillorin@faruqilaw.com       Consumer
                                                  Georgia (Atlanta                                                Timothy J. Peter                 tpeter@faruqilaw.com
                                                      Division)                                                James M. Wilson, Jr.               jwilson@faruqilaw.com
                                                                                                            Faruqi & Faruqi, LLP -Atl
                                                                                                           3975 Roswell Road, Suite A
                                                                                                                Atlanta, GA 30342
                                                                                                                   404-275-7557




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                                                      Court                                                                                                              Financial or     Status
                                                                                                                                                                        Small Business

Salinas and Ribons v. Equifax    3:17-cv-05284    Northern District of                                    Bruce L. Simon                        bsimon@pswlaw.com          Consumer
            Inc.                                  California (San Jose                                  Alexander L. Simon                      asimon@pswlaw.com
                                                       Division)                               PEARSON, SIMON & WARSHAW, LLP
                                                                                                  44 Montgomery Street, Suite 2450
                                                                                                   San Francisco, California 94104
                                                                                                           415-433-9000

                                                                                                        Daniel L. Warshaw
                                                                                                        Michael H. Pearson                     dwarshaw@pswlaw.com
                                                                                               PEARSON SIMON & WARSHAW, LLP                    mpearson@pswlaw.com
                                                                                                 15165 Ventura Boulevard, Suite 400
                                                                                                   Sherman Oaks, California 91403
                                                                                                           818-788-8300


   Samson v. Equifax, Inc.       1:17-cv-03448    Northern District of                                      Lisa L. Heller                    lheller@robbinsfirm.com      Consumer        Yes
                                                   Georgia (Atlanta                          Robbins Ross Alloy Belinfante Littlefield, LLC
                                                       Division)                                999 Peachtree Street, N.E., Suite 1120
                                                                                                          Atlanta, GA 30309                     jdancona@ktmc.com
                                                                                                            678-701-9381                         namjed@ktmc.com

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                                                                                                        Cooper & Kirk, PLLC
                                                                                                  1523 New Hampshire Avenue, N.W.
                                                                                                        Washington, DC 20036
                                                                                                           202-220-9600




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                                                        Court                                                                                                              Financial or      Status
                                                                                                                                                                          Small Business

 Sander v. Equifax Inc. et al      1:17-cv-02119    District of Columbia                                H. Vincent McKnight, Jr.          vmcknight@sandfordheisler.com      Consumer      Yes by CTO - 1
                                                                                                   SANFORD HEISLER SHARP, LLP
                                                                                                 1666 Connecticut Avenue, NW, Suite 300
                                                                                                         Washington, DC 20009
                                                                                                             202-499-5211                  amelzer@sanfordheisler.com
                                                                                                                                           jheisler@sanfordheisler.com
                                                                                                           Jeremy Heisler
                                                                                                           Andrew Melzer
                                                                                                   SANFORD HEISLER SHARP, LLP               ksharp@sanfordheisler.com
                                                                                                      1350 6th Avenue, Floor 31
                                                                                                        New York, NY 10019
                                                                                                            646-402-5650

                                                                                                            Kevin H. Sharp
                                                                                                       Sanford Heisler Sharp, LLP
                                                                                                     611 Commerce Street,Suite 3100
                                                                                                          Nashville, TN 37203
                                                                                                             615-343-7001




Santomauro et al. v. Equifax       1:17-cv-01852     District of D.C.                                         Troy Giatras                   troy@tjewvlawfirm.com           Consumer
          Inc.                                      (Washington, D.C.                                 GIATRAS LAW FIRM, PLLC
                                                        Division)                                      118 Capitol Street, 4th Floor
                                                                                                         Charleston, WV 25301
                                                                                                             304-343-2900


Schifano et al. v. Equifax Inc.    2:17-cv-06996     Central District of                                  Rosemary M. Rivas                      rrivas@zlk.com              Consumer      Yes by CTO - 1
                                                        California                                        Quentin A. Roberts                    qroberts@zlk.com
                                                                                                        Levi and Korsinsky LLP
                                                                                                     44 Montgomery Street Suite 650
                                                                                                        San Francisco, CA 94104
                                                                                                             415-291-2420




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                                                        Court                                                                                                             Financial or      Status
                                                                                                                                                                         Small Business

     Scott v. Equifax Inc.         2:17-cv-06715     Central District of                                   Lionel Zevi Glancy               lglancy@glancylaw.com           Consumer
                                                    California (Western                                      Marc L. Godino                mgodino@glancylaw.com
                                                      Division - Los                                      Danielle L. Manning              dmanning@glancylaw.com
                                                         Angeles)                                             Kevin F. Ruf                    kruf@glancylaw.com
                                                                                                     Glancy Prongay and Murray LLP
                                                                                                    1925 Century Park East Suite 2100
                                                                                                         Los Angeles, CA 90067
                                                                                                              310-201-9150

    Seror v. Equifax Inc.          3:17-cv-11437      District of New                                   Edward B. Geller                        epbh@aol.com                Consumer      Yes by CTO - 1
                                                           Jersey                                  EDWARD B. GELLER, ESQ., P.C.
                                                                                                        15 Landing Way
                                                                                                        Bronx, NY 10464
                                                                                                         914-473-6783


Seymore et al. v. Equifax, Inc.    3:17-cv-01871    Southern District of                                   Tyler Jay Belong               tbelong@hoguebelonglaw.com        Consumer
                                                      California (San                                      Eric Dos Santos              edossantos@hoguebelongloaw.com
                                                     Diego Division)                                       Jeffrey L. Hogue                jhogue@hoguebelonglaw.com
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                                                                                                         San Diego, CA 92103
                                                                                                            619-238-4720




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                                                      Court                                                                                                                        Financial or      Status
                                                                                                                                                                                  Small Business

Sievers v. Equifax Inc. et al    4:17-cv-00103    District of Montana Edwards, Frickle & Culver                    Triel D. Culver                 jenny@edwardslawfirm.com          Consumer      Yes by CTO - 1
                                                                                                                 A. Clifford Edwards
                                                                                                           EDWARDS FRICKLE & CULVER
                                                                                                              1648 Poly Drive, Suite 206           triel@edwardslawfirm.com
                                                                                                                 Billings, MT 59102
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                                                                                                              San Francisco, CA 94104
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                                                                                                            611 Commerce St., Suite 3100
                                                                                                                Nashville, TN 37203
                                                                                                                   615-434-7001




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                                                           Court                                                                                                                        Financial or      Status
                                                                                                                                                                                       Small Business

Sikes et al. v. Equifax Inc. et al    1:17-cv-00258    Western District of   Grimes Teich Anderson                        Jeremy Heisler                 jheisler@sanfordheisler.com      Consumer      Yes by CTO - 1
                                                        North Carolina               LLP                                Andrew C. Melzer                 amelzer@sanfordheisler.com
                                                                                                               1350 Avenue of the Americas, 31st Floor    ksharp@sanfordheisler.com
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                                                                                                                        Jessica E. Leaven
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                                                                                                                        535 College Street
                                                                                                                       Asheville, NC 28801
                                                                                                                          828-251-0800

Simmons et al v. Equifax Inc. et      1:17-cv-03659    Northern District of Byrne Davis & Hicks, P.C.                    Paul Jay Pontrelli                 pjp1460@gmail.com             Consumer
              al                                            Georgia                                                  Byrne Davis & Hicks, P.C.
                                                                                                                     3565 Piedmont Road, N.E.
                                                                                                                       Building 4, Suite 380
                                                                                                                        Atlanta, GA 30305
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                                                                                                                          Andrew Melzer
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                                                                                                                         Kevin H. Sharp
                                                                                                                    Sanford Heisler Sharp, LLP
                                                                                                                  611 Commerce Street, Suite 3100
                                                                                                                       Nashville, TN 37203
                                                                                                                          615-343-7001

                                                                                                                          Jason Paul Sander
                                                                                                                    Jason Sander, Attorney at Law
                                                                                                                         4314 Feagan Street
                                                                                                                         Houston, TX 77007
                                                                                                                            713-899-9784




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                                                          Court                                                                                                                         Financial or      Status
                                                                                                                                                                                       Small Business

     Skye v. Equifax Inc.            1:17-cv-11742        District of                                       Theodore M. Hess-Mahan                thess-mahan@hutchingsbarsamian.com      Consumer
                                                         Massachusetts                          Hutchings, Barsamian, Cross and Mandelcorn, LLP
                                                       (Boston Division)                                         110 Cedar St.
                                                                                                           Wellesley Hills, MA 02481
                                                                                                                 781-431-2231                            okurtz@gardylaw.com

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                                                                                                                   8th Floor
                                                                                                         Tower 56, 126 East 56th Street
                                                                                                            New York, NY 10022
                                                                                                                212 905-0509

Smith et al.v. Equifax Inc. et al    1:17-cv-02183    Northern District of                                      Kevin H. Sharp                        ksharp@sanfordheisler.com           Consumer      Yes by CTO - 1
                                                             Ohio                                            Sanford Heisler Sharp
                                                                                                                   Ste. 3100
                                                                                                             611 Commerce Street
                                                                                                             Nashville, TN 37203
                                                                                                                615-434-7001



Smith et al.v. Equifax Inc. et al    4:17-cv-02939    Southern District of                                     Salar Ali Ahmed                          aahmedlaw@gmail.com               Consumer      Yes by CTO - 1
                                                            Texas                                              One Arena Place
                                                                                                        7322 Southwest Frwy, Suite 1920
                                                                                                              Houston, TX 77074
                                                                                                                713-223-1300


Southwick et al v. Equifax Inc.      5:17-cv-01184    Western District of                                      C. Austin Reams                         austin@reamslawfirm.com            Consumer      Yes by CTO - 1
             et al                                       Oklahoma                                                Reams Law
                                                       (Oklahoma City                                         9208 N Kelley Ave
                                                          Division)                                        Oklahoma City, OK 73131
                                                                                                                405-285-6878




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                                                         Court                                                                                                                     Financial or     Status
                                                                                                                                                                                  Small Business

Spicer & Gutierrez v. Equifax       5:17-cv-05228    Northern District of                                           Aaron Blumenthal                   ab@classlawgroup.com          Consumer
   Inc. and TrustedID Inc.                           California (San Jose                                           Amy Marie Zeman                  amz@classlawgroup.com
                                                          Division)                                               David Michael Berger            davidberger@classlawgroup.com
                                                                                                                      Eric H. Gibbs                   ehg@classlawgroup.com
                                                                                                                GIBBS LAW GROUP LLP
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                                                                                                                   Oakland, CA 94612                  aep@girardgibbs.com
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                                                                                                             601 California Street, 14th Floor
                                                                                                                San Francisco, CA 94108
                                                                                                                      415-987-4800
Sprecher v. Equifax Inc et al       1:17-cv-05141    Northern District of                                           Kevin H. Sharp                  ksharp@sanfordheisler.com        Consumer
                                                          Georgia                                              Sanford Heisler Sharp, LLP
                                                                                                             611 Commerce Street, Suite 3100
                                                                                                                  Nashville, TN 37203
                                                                                                                     615-343-7001


St. Clair et al v. Equifax, Inc.    1:17-cv-04792    Northern District of Evangelista Worley, LLC                    Ariana J. Tadler                  atadler@milberg.com           Consumer
                                                          Georgia                                                     Andrei V. Rado                    arado@milberg.com
                                                                                                                       Henry Kelston                  hkelston@milberg.com
                                                                                                                    Elizabeth McKenna                emckenna@milberg.com
                                                                                                                       Melissa Clark                   mclark@milberg.com
                                                                                                           Milberg Tadler Phillips Grossman LLP
                                                                                                            One Pennsylvania Plaza, Suite 1920         david@ewlawllc.com
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                                                                                                                   Atlanta, GA 30350
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                                                           Court                                                                                                     Financial or      Status
                                                                                                                                                                    Small Business

Stabenow et al v. Equifax, Inc.      8:17-cv-02289     Middle District of                                      Jay P. Lechner            lechnerj@thefllawirm.com      Consumer      Yes by CTO - 1
                                                           Florida                                            Jason M. Melton             jason@thefllawfirm.com
                                                                                                             Whittel & Melton
                                                                                                         200 Central Ave Ste 400
                                                                                                         St. Petersburg, FL 33701
                                                                                                               727-822-1111


Stanfield et al. v. Equifax Inc.     3:17-cv-01102    Southern District of                                Kenneth J. Brennan             kbrennan@thlawyer.com         Consumer      Yes by CTO - 1
                                                            Illinois                                        Tor A. Hoerman                  tor@thlawyer.com
                                                                                                           Tyler J. Schneider              tyler@thlawyer.com
                                                                                                         TorHoerman Law LLC
                                                                                                         210 South Main Street
                                                                                                         Edwardsville, IL 62025
                                                                                                             618-656-4400

Stewart et al. v. Equifax Inc. et    4:17-cv-02433     Eastern District of                                       PRO SE                     no email provided          Consumer      Yes by CTO - 1
               al.                                         Missouri                                           James Stewart
                                                                                                              Eileen Stewart
                                                                                                           6634 McCune Ave.
                                                                                                          St. Louis, MO 63139
                                                                                                              314-398-5403




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                                                      Court                                                                                                                      Financial or      Status
                                                                                                                                                                                Small Business

 Stiles v. Equifax Inc. et al    3:17-cv-00144    Western District of    Boehl Stopher & Graves,                   Jeremy Heisler                 jheisler@sanfordheisler.com      Consumer      Yes by CTO - 1
                                                      Kentucky                    LLP                              Andrew Melzer                  amelzer@sanfordheisler.com
                                                                                                           SANFORD HEISLER SHARP, LLP              ksharp@sanfordheisler.com
                                                                                                              1350 6th Avenue, Floor 31
                                                                                                                New York, NY 10019
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                                                                                                                  Nashville, TN 37203
                                                                                                                     615-343-7001

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                                                                                                          Boehl Stopher & Graves, LLP - Paducah
                                                                                                                   410 Broadway Street
                                                                                                                   Paducah, KY 42001
                                                                                                                      270-442-4369

Strauchman v. Equifax, Inc.      1:17-cv-03482    Northern District of                                            Christopher B. Hood                chood@hgdlawfirm.com          Consumer
                                                       Georgia                                                 James F. McDonough , III           jmcdonough@hgdlawfirm.com
                                                                                                                    Travis E. Lynch                  tlynch@hgdlawfirm.com
                                                                                                                 W. Lewis Garrison, Jr.            wlgarrison@hgdlawfirm.com
                                                                                                          Heninger Garrison & Davis, LLC - AL
                                                                                                                2224 1st Avenue North
                                                                                                                Birmingham, AL 35203
                                                                                                                     205-326-3336




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                                                           Court                                                                                                                 Financial or      Status
                                                                                                                                                                                Small Business

  Tada et al. v. Equifax, Inc.        2:17-cv-06666     Central District of                                      Stephen R. Basser                    sbasser@barrack.com          Consumer           Yes
                                                       California (Western                                        Samuel M. Ward                       sward@barrack.com
                                                         Division - Los                                  BARRACK, RODOS & BACINE
                                                                                                   One America Plaza, 600 West Broadway Suite 900
                                                            Angeles)
                                                                                                               San Diego, CA 92101
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                                                                                                             Philadelphia , PA 19103
                                                                                                                  215-963-0600


Taenzer et al. v. Equifax, Inc. et    4:17-cv-00349    Southern District of                               Roxanne Barton Conlin                          roxlaw@aol.com            Consumer      Yes by CTO - 1
               al.                                            Iowa                                   ROXANNE CONLIN & ASSOCIATES
                                                                                                         3721 SW 61ST St., Suite C
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                                                                                                             Edina, MN 55439
                                                                                                               952-941-4005




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                                                                              Plaintiffs' Counsel Table
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                                                          Court                                                                                                                Financial or      Status
                                                                                                                                                                              Small Business

 Tanks and Dixon v. Equifax,         3:17-vc-01832    Southern District of                                  Tammy Gruder Hussin                    tammy@hussinlaw.com           Consumer
            Inc.                                        California (San                                          Hussin Law
                                                            Diego)                                        1596 N. Coast Highway 101
                                                                                                             Encinitas, CA 92024
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                                                                                                                 760-942-8505

   Tate et al v. Equifax, Inc.       3:17-cv-00555    Western District of                                      Robert L. Burchette                 rburchette@jahlaw.com         Consumer      Yes by CTO - 1
                                                       North Carolina                                           Martin L. White                     mwhite@jahlaw.com
                                                                                                            Johnston, Allison & Hord
                                                                                                             1065 East Morehead St
                                                                                                              Charlotte, NC 28202
                                                                                                                 704-332-1181


Tepfenhart et al v. Equifax, Inc.    1:17-cv-03571    Northern District of                                      Eric J. Artrip                    artrip@mastandoartrip.com      Consumer
                                                           Georgia                                         Mastando & Artrip, LLC
                                                                                                          301 Washington Street, NW
                                                                                                             Huntsville, AL 35801                    rrouco@qcwdr.com
                                                                                                                256-532-2222                        rweaver@qcwdr.com
                                                                                                                                                    twarren@qcwdr.com
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                                                                                                             Birmingham, AL 35203
                                                                                                                  205-870-9989




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                                                           In re: Equifax, Inc., Customer Data Security Breach Litigation
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                                                     Court                                                                                                           Financial or      Status
                                                                                                                                                                    Small Business

Thomson et al v. Equifax Inc.    3:17-cv-02468   Northern District of                                   Eric W. Buether               eric.buether@bjciplaw.com        Consumer      Yes by CTO - 1
                                                       Texas                                           Brian A. Carpenter            brian.carpenter@bjciplaw.com
                                                                                                       Christopher M. Joe               chris.joe@bjciplaw.com
                                                                                                  Buether Joe & Carpenter LLC
                                                                                                 1700 Pacific Avenue, Suite 4750
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                                                                                                         214-466-1271


   Tipping v. Equifax Inc.       3:17-cv-01273   Middle District of                                    Benjamin C. Aaron              baaron@nealharwell.com           Consumer      Yes by CTO - 1
                                                    Tennessee                                           Charles F. Barrett            cbarrett@nealharwell.com
                                                                                                      Neal & Harwell, PLC
                                                                                                1201 Demonbreun Street, Suite 1000
                                                                                                       Nashville, TN 37203
                                                                                                          615-238-3535


Tirelli & Merino v. Equifax      7:17-cv-06868   Southern District of                                   Javier Luis Merino              jmerino@dannlaw.com            Consumer
Information Services, LLC                         New York (White                                           Dann Law
                                                   Plains Division)                                   1 Meadowlands Plaza
                                                                                                             Suite 200
                                                                                                     E. Rutherford, NJ 07073
                                                                                                          216-373-0539




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                                                                      Plaintiffs' Counsel Table
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                                                   Court                                                                                                      Financial or      Status
                                                                                                                                                             Small Business

  Tomlin et al. v. Equifax    2:17-cv-00158    Eastern District of                                      Miles N. Clark                                          Consumer
Information Services, LLC                          Kentucky                                           Matthew I. Knepper               rac@cliffordlaw.com
                                              (Covington Division)                                   Knepper & Clark, LLC
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                                                                                                     Henderson, NV 89123
                                                                                                          702-880-5554



Tomlinson v. Equifax Inc.     3:17-cv-00087    Eastern District of                                        PRO SE                        no email provided       Consumer      Yes by CTO - 1
                                                   Kentucky                                          Cole T. Tomlinson
                                                                                                 Dutton & Associates, PLLC
                                                                                                      513 Main Street
                                                                                                        P.O. Box 967
                                                                                                   Shelbyville, KY 40065
                                                                                                       502-633-0504




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                                                                         Plaintiffs' Counsel Table
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                                                     Court                                                                                                               Financial or      Status
                                                                                                                                                                        Small Business

Torrey v. Equifax Informaton     1:17-cv-01922   Northern District of                                   Jason R. Bristol                    jbristol@crklaw.com            Consumer
       Services, LLC                              Ohio (Cleveland                                      Joshua R. Cohen                      jcohen@crklaw.com
                                                      Division)                                        Ellen M. Kramer                        emk@crklaw.com
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Trevino v. Equifax Inc et al.    2:17-cv-07180   Central District of                                      Tina Wolfson                 twolfson@ahdootwolfson.com          Consumer      Yes by CTO - 1
                                                    California                                           Theodore Maya                   tmaya@ahdootwolfson.com
                                                                                                         Bradley K. King                 bking@ahdootwolfson.com
                                                                                                          Robert Ahdoot                 rahdoot@adhootwolfson.com
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                                                                                                      10728 Lindbrook Drive
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   Turner v. Equifax Inc.        3:17-cv-02041   Southern District of                                  Alexander Schack                 alexschack@amslawoffice.com        Consumer      Yes by CTO - 1
                                                     California                                         Shannon Nocon                 shannonnocon@amdlawoffice.com
                                                                                                       Natasha N. Serino               natashaserino@amslawoffice.com
                                                                                            LAW OFFICE OF ALEXANDER M. SCHACK
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                                                                                                          858-485-6535


 Tweeddale v. Equifax, Inc.      6:17-cv-01936   Middle District of                                     Lewis S. Eidson, Jr                  mike@colson.com               Consumer      Yes by CTO - 1
                                                     Florida                                              Julie B. Kane                      julie@colson.com
                                                                                                         Curtis B. Miner                     curt@colson.com
                                                                                                    COLSON HICKS EIDSON
                                                                                                   255 Alhambra Cir., Penthouse
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                                                                         Plaintiffs' Counsel Table
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                                                   Court                                                                                                                     Financial or     Status
                                                                                                                                                                            Small Business

  Vice v. Equifax Inc.         1:17-cv-04250   Northern District of Robbins Geller Rudman &                     C. Jacob Gower                 dcharest@burnscharest.com       Consumer
                                                    Georgia               Dowd, LLP                           Burns Charest, LLP
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                                                                                                                Atlanta, GA 30326
                                                                                                                   404-504-6500

Vita et al v. Equifax, Inc.    1:17-cv-03484   Northern District of   The Pratt Law Firm, PC                     Bradley W. Pratt                bradley@prattclay.com         Consumer
                                                    Georgia                                                    Brian C. Mickelson                chuck@chuckclay.com
                                                                                                               Charles L. Clay, Jr.
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                                                 Court                                                                                                              Financial or      Status
                                                                                                                                                                   Small Business

   VonWiller v. Equifax      3:17-cv-01839   Southern District of                                    Jack Fitzgerald                 jack@jackfitzgeraldlaw.com       Consumer      Yes by CTO - 1
Information Services, LLC                      California (San                                        Trevor Flynn                  trevor@jackfitzgeraldlaw.com
                                                   Diego)                                         Melanie R. Persinger             melanie@jackfitzgeraldlaw.com
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                                                                          Plaintiffs' Counsel Table
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                                                                                                                                                                         Small Business

                                                                                                          David H. Krieger              dkrieger@hainesandkrieger.com       Consumer
                                                                                                           George Haines                ghaines@hainesandkrieger.com
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                                                                                                            702-952-2733




Walker et al. v. Equifax, Inc.    5:17-cv-01527   Northern District of                                 Dennis A. Mastando                 tony@mastandoartip.com            Consumer        Yes
                                                       Alabama                                             Eric J. Artrip                 artip@mastandoartip.com
                                                    (Northeastern                                      D. Anthony Mastando
                                                       Division)                                   MASTANDO & ARTRIP, LLC
                                                                                                  301 Washington Street, Suite 302
                                                                                                       Huntsville, AL 35801
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                                                                           Plaintiffs' Counsel Table
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                                                        Court                                                                                                                    Financial or      Status
                                                                                                                                                                                Small Business

Washburn et al. v. Equifax, Inc.    1:17-cv-03451   Northern District of Doffermyre Shields                      Kenneth S. Canfield                 kcanfield@dsckd.com           Consumer           Yes
                                                     Georgia (Atlanta Canfield & Knowles, LLC     DOFFERMYRE SHIELDS CANFIELD & KNOWLES, LLC
                                                         Division)                                       1355 Peachtree Street, NE Suite 1900
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                                                                                                         Ten North Dearborn Street, 11th Floor
                                                                                                                  Chicago, IL 60602
                                                                                                                    312-214-7900

 Weaver et al v. Equifax, Inc.      1:17-cv-00268   Western District of                                         Katherine Langley                  klangley@burtlangley.com        Consumer      Yes by CTO - 1
                                                     North Carolina                                          BURT LANDGLEY, P.C.
                                                                                                               149 South Lexington
                                                                                                               Asheville, NC 28801
                                                                                                                  828-367-7090




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                                                                           Plaintiffs' Counsel Table
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                                                        Court                                                                                                        Financial or      Status
                                                                                                                                                                    Small Business

Whipper et al v. Equifax Inc. et    1:17-cv-00248   Western District of                                   Jeremy Heisler              jheisler@sanfordheisler.com      Consumer      Yes by CTO - 1
              al                                      Pennsylvania                                        Andrew Melzer               amelzer@sanfordheisler.com
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                                                    Court                                                                                                          Financial or      Status
                                                                                                                                                                  Small Business

White et al. v. Equifax, Inc.    2:17-cv-07991   Central District of                                 Christopher T. Aumais           caumais@girardikeese.com        Consumer      Yes by CTO - 1
                                                    California                                         Robert W. Finnerty            rfinnerty@girardikeese.com
                                                                                                       Thomas V. Girardi              tgirardi@girardikeese.com
                                                                                                       GIRARDI KEESE
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                                                         Court                                                                                                                Financial or      Status
                                                                                                                                                                             Small Business

Whitfill et al v. Equifax Inc. et    4:17-cv-00771   Northern District of                                         Shane F. Langston             shane@ langstonlawyers.com      Consumer      Yes by CTO - 1
                al                                         Texas                                                   Jason L. Nabors
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                                                                                                                  Fort Worth, TX 76102
                                                                                                                      817-276-6000

 Whittington v. Equifax, Inc.        1:17-cv-04940   Northern District of Evangelista Worley, LLC                  Carin L. Marcussen              david@ewlawllc.com           Consumer
                                                          Georgia                                                 Federman & Sherwood               jim@ewlawllc.com
                                                                                                                10205 N. Pennsylvanis Ave          kristi@ewlawllc.com
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                                                                                                                New York, NY 10119-0165
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                                                                            Plaintiffs' Counsel Table
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                                                       Court                                                                                                                                   Financial or      Status
                                                                                                                                                                                              Small Business

  Wilkins v. Equifax, Inc.        1:17-cv-03972   Northern District of    Robbins Ross Alloy                             Lisa L. Heller                          lheller@robbinsfirm.com         Consumer
                                                       Georgia         Belinfante Littlefield, LLC      Robbins Ross Alloy Belinfante Littlefield, LLC -Atl
                                                                                  -Atl                        999 Peachtree Street, N.E., Suite 1120
                                                                                                                       Atlanta, GA 30309                        dhthompson98@gmail.com
                                                                                                                         678-701-9381

                                                                                                                      David H. Thompson                            jdancona@ktmc.com
                                                                                                                     Cooper & Kirk, PLLC                            namjed@ktmc.com
                                                                                                               1523 New Hampshire Avenue, N.W.
                                                                                                                     Washington, DC 20036
                                                                                                                        202-220-9600

                                                                                                                       Joshua E. D'Ancona
                                                                                                                        Naumon A. Amjed
                                                                                                             Kessler Topaz Meltzer & Check, LLP-PA
                                                                                                                     280 King of Prussia Road
                                                                                                                        Radnor, PA 19087
                                                                                                                          610-667-7706


  Williams v. Equifax Inc.        1:17-cv-06591    Eastern District of                                              Edward B. Geller                                 epbh@aol.com                Consumer      Yes by CTO - 1
                                                       New York                                                EDWARD B. GELLER, ESQ., P.C.
                                                                                                                    15 Landing Way
                                                                                                                    Bronx, NY 10464
                                                                                                                     914-473-6783



Williams v. Equifax Inc. et al    1:17-cv-02803   District of Maryland                                              Herbert V. McKnight, Jr.                  vmcknight@sandfordheisler.com      Consumer      Yes by CTO - 1
                                                                                                              SANFORD HEISLER KIMPEL, LLP
                                                                                                              1666 Connecticut Ave. NW, Suite 300
                                                                                                                    Washington, DC 20009                       jheisler@sanfordheisler.com
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                                                                                                                        Andrew Melzer
                                                                                                                        Kevin H. Sharp
                                                                                                               SANFORD HEISLER SHARP LLP
                                                                                                             1350 Avenue of the Americas, 31st Floor
                                                                                                                     New York, NY 10019
                                                                                                                        646-402-5655




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                                                                              Plaintiffs' Counsel Table
                                                                                     CONSUMER CASES
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                                                                                         MDL No. 2800
        Case Name                    Case Number         Original            Local Counsel   Plaintiffs' Counsel & Contact Information         Email Addresses              Consumer,        Transfer
                                                          Court                                                                                                             Financial or      Status
                                                                                                                                                                           Small Business

 Williams v. Equifax Inc. et al       2:17-cv-13307   Eastern District of                                 Richard H. Hagstrom                 rhagstrom@hjlawfirm.com         Consumer      Yes by CTO - 1
                                                          Michigan                                    HELLMUTH & JOHNSON PLLC
                                                                                                          8050 West 78th Street
                                                                                                            Edina, MN 55439
                                                                                                             952-941-4005




Wiltz et al v. Equifax, Inc. et al    4:17-cv-02778   Southern District of                                    Jeremy Heisler                 amelzer@sanfordheisler.com       Consumer      Yes by CTO - 1
                                                            Texas                                             Andrew Melzer                  jheisler@sanfordheisler.com
                                                                                                     SANFORD HEISLER SHARP, LLP
                                                                                                   1350 Avenue of the Americas, Suite 3100   vmckight@sanfordheisler.com
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                                                                                                          Herbert V. McKnight, Jr.
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                                                                                                           Washington, DC 20009
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                                                                                                               Kevin Sharp
                                                                                                     SANFORD HEISLER SHARP, LLP
                                                                                                      611 Commerce Street, Suite 3100
                                                                                                         Nashville, TN 37203-7117
                                                                                                              615-434-7001




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                                                                         Plaintiffs' Counsel Table
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     Case Name                Case Number         Original             Local Counsel          Plaintiffs' Counsel & Contact Information         Email Addresses                  Consumer,        Transfer
                                                   Court                                                                                                                         Financial or      Status
                                                                                                                                                                                Small Business

   Wolf v. Equifax, Inc.       1:17-cv-03450   Northern District of   Webb, Klase & Lemond,                   E. Adam Webb                         adam@webbllc.com                Consumer           Yes
                                                Georgia (Atlanta              LLC                         G. Franklin Lemond, Jr.                flemond@webbllc.com
                                                    Division)                                         WEBB, KLASE & LEMOND, LLC
                                                                                                      1900 The Exchange SE, Suite 480        dfink@finkandassociateslaw.com
                                                                                                            Atlanta, GA 30339              dbressack@finkandassociateslaw.com
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                                                                                                         FINK + ASSOCIATES LAW
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                                                                                                       Bloomfield Hills, Michigan 48304
                                                                                                                248-971-2500




Wong v. Equifax, Inc. et al    1:17-cv-00489    District of Rhode        Alger Law LLC                        Melody A. Alger                    malger@algerlaw.com               Consumer      Yes by CTO - 1
                                                      Island                                                   Alger Law LLC
                                                                                                       400 Westminster Street, Suite 401
                                                                                                            Providence, RI 02903
                                                                                                                401-277-1090
                                                                                                                                               ksharp@sanfordheisler.com
                                                                                                                Kevin Sharp
                                                                                                         Sanford Heisler Sharp, LLP
                                                                                                        611 Commerce St., Suite 3100
                                                                                                            Nashville, TN 97203
                                                                                                               615-434-7001




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       Case Name                  Case Number         Original           Local Counsel        Plaintiffs' Counsel & Contact Information       Email Addresses             Consumer,        Transfer
                                                       Court                                                                                                              Financial or      Status
                                                                                                                                                                         Small Business

Woods et al v. Equifax, Inc. et    4:17-cv-00660   Eastern District of                                      Shane F. Langston                                               Consumer      Yes by CTO - 1
              al                                         Texas                                               Jason L. Nabors
                                                                                                      LANGSTON & LANGSTON, PLLC              shane@langstonlawyers.com
                                                                                                            1161 La Mirada Ct.               jason@langstonlawyers.com
                                                                                                           Southlake, TX 76092
                                                                                                              601-969-1356

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                                                                                                     BAILEY & GALYEN - FORT WORTH
                                                                                                        1300 Summit Avenue, Suite 650
                                                                                                            Fort Worth, TX 76102
                                                                                                                817-276-6000


    Young v. Equifax Inc.          2:17-cv-00538   Middle District of                                      Christopher J. DeCosta               chris@hmdlegal.com          Consumer      Yes by CTO - 1
                                                       Florida                                          HOLTZ MAHIE DECOSTA, PA
                                                                                                          1560 Matthew Dr., Suite E
                                                                                                             Ft. Myers, FL 33907
                                                                                                                 239-931-7566

Zamora v. Equifax, Inc., et al.    2:17-cv-07085    District of New                                             Philip L. Fraietta              pfraietta@bursor.com        Consumer           Yes
                                                         Jersey                                            BURSOR & FISHER, P.A.
                                                                                                    888 Seventh Avenue, New York, NY 10019
                                                                                                                 646-837-7150

 Zribi v. Equifax, Inc. et al.     3:17-cv-01710       District of       Koskoff, Koskoff &                     Kevin Sharp                  ksharp@sanfordheisler.com      Consumer      Yes by CTO - 1
                                                      Connecticut           Bieder, PC               SANFORD HEISLER SHARP, LLP-TN
                                                                                                        611 Commerce St., Suite 3100
                                                                                                            Nashville, TN 37203                 csmith@koskoff.com
                                                                                                               615-434-7001

                                                                                                               J. Craig Smith
                                                                                                     KOSKOFF KOSKOFF & BIEDER, P.C.
                                                                                                            350 Fairfield Ave.
                                                                                                           Bridgeport, CT 06604
                                                                                                               203-336-4421




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                                                                             Plaintiffs' Counsel Table
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       Case Name                    Case Number          Original           Local Counsel   Plaintiffs' Counsel & Contact Information    Email Addresses               Consumer,        Transfer
                                                          Court                                                                                                        Financial or      Status
                                                                                                                                                                      Small Business

Zweig et al v. Equifax Inc. et al    7:17-cv-07090   Southern District of                                   Jeremy Heisler              jheisler@sanfordheisler.com      Consumer      Yes by CTO - 1
                                                         New York                                           Andrew Melzer               amelzer@sanfordheisler.com
                                                                                                    SANFORD HEISLER SHARP, LLP
                                                                                                       1350 6th Avenue, Floor 31
                                                                                                         New York, NY 10019
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    Zweig v. Equifax, Inc.           1:17-cv-05366    Eastern District of                                  Samuel H. Rudman               srudman@rgrdlaw.com            Consumer
                                                     New York (Brooklyn                         ROBBINS GELLER RUDMAN & DOWD LLP
                                                          Division)                                  58 South Service Road Suite 200
                                                                                                           Melville, NY 11747
                                                                                                              631-367-1173




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